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                                 FEDERAL REGISTER
                                 Vol. 79                 Tuesday,
                                 No. 126                 July 1, 2014




                                 Part VIII


                                 Department of the Interior
                                 Fish and Wildlife Service
                                 50 CFR Chapter I



                                 Department of Commerce
                                 National Oceanic and Atmospheric Administration
                                 50 CFR Chapter II
                                 Final Policy on Interpretation of the Phrase "Significant Portion of Its
                                 Range" in the Endangered Species Act's Definitions of "Endangered
                                 Species" and "Threatened Species"; Final Rule




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DEPARTMENT OF THE INTERIOR                  1315 East-West Highway, Silver Spring,              J. Energy Supply, Distribution or Use (E.O.
                                            MD 20910; telephone 301-427-8469;                     13211)
Fish and Wildlife Service                   facsimile 301-713-0376. If you use a              I. Introduction
                                            telecommunications device for the deaf
50 CFR Chapter I                            (TDD], call the Federal Information                   On December 9, 2011, the Services
                                            Relay Service (FIRS) at 800-877-8339.              published a notice of a draft policy in
DEPARTMENT OF COMMERCE                      SUPPLEMENTARY INFORMATION:                         the Federal Register (76 FR 76987)
                                                                                               regarding the interpretation and
National Oceanic and Atmospheric            Table of Contents                                  application of the phrase "significant
Administration                              I. Introduction                                    portion of its range" (SPR) as it occurs
                                            II. Changes from the Draft Policy                 in the Act's definitions of ''endangered
50 CFR Chapter II                           III. Policy Explanation                            species" and "threatened species." The
                                                A. Purpose                                    Act defines the term "endangered
[Docket No. FWS-R9-ES-2011-0031;                B. The First Component: Consequences of       species" to mean any species which is
FXES11130900000C6-145-FF09E42000;                  a Species Being in Danger of Extinction
DOC Docket No. 110131072-4385-02]
                                                                                              in danger of extinction throughout all or
                                                   or Likely to Became Sa Thmughout a
                                                   Significant Portion of Its Range {SPR)     a significant portion of its range and the
RIN 1018-AX49; 0648-BA78                        C. Second Component: The Definition of        term "threatened species" to mean any
                                                   "Significant" as it Relates to SPR         species which is likely to become an
Final Policy on Interpretation of the           1. Circumstances under which a portion        endangered species within the
Phrase "Significant Portion of Its                 can be "significant"                       foreseeable future throughout all or a
Range" in the Endangered Species                2. Biological basis for "significant"         significant portion of its range. In the
Act's Definitions of "Endangered                3. The threshold for "significant"            December 9, 2011, Federal Register
Species'' and ''Threatened Species''            D. Range and Historical Range                 notice, we provided the background for
                                               E. Relationship of SPR to the Act's Distinct
AGENCIES: Fish and Wildlife Service,               Population Segment {DPS) Authority         our draft policy in terms of the statute,
Interior; National Marine Fisheries            F. Procedure for Implementing the Policy       legislative history, and case law. We
Service, NOAA, Commerce.                    IV. Summary of Comments and Responses             also explained different aspects of the
                                                A. The Policy is Not Needed, Needs            draft policy and discussed various
ACTION: Notice of final policy.                    Additional Process, or Legislation is      alternatives for interpreting the phrase
                                                   Required                                   ''significant portion of its range,''
SUMMARY:    We, the United States Fish          B. The SPR Language Provides an
and Wildlife Service (FWS) and the                                                            including defining "significant."
                                                   Independent Basis for Listing
National Marine Fisheries Service                                                             Finally, we discussed the effects the
                                                C. Apply Protections to Entire Species if
(NMFS) (collectively, the Services],               Listed Because it is Endangered or         draft policy would have with respect to
announce a policy to provide our                   Threatened Throughout an SPR               implementation of other sections of the
interpretation of the phrase "significant      D. The Biological Basis for "Significant"      Act.
portion of its range" in the Endangered        E. The Thresholdfor''Sigmficant"                  We intend this final policy to be
                                               F. Quantitative Approaches or Rebuttable       legally binding. It sets forth the
Species Act's (Act's) definitions of
                                                   Presumptions to Determine Whether a        Services' interpretation of ''significant
"endangered species" and "threatened               Portion is" Significant"
species." The purpose of this final             G. Range and Historical Range
                                                                                              portion of its range" and its place in the
policy is to provide an interpretation         H. Relationship with DPS Authority             statutory framework of the Act. In this
and application of "significant portion        I. Whethe1· a Species Can Be Both              final policy, we focus our discussion on
of its range" that reflects a permissible          Threatened Throughout All of Its Range     changes to the draft policy based on
reading of the law and minimizes                   and Endangered Throughout an SPR           comments we received during the
undesirable policy outcomes, while             f. Use of Best Available Science,              comment period. For background on the
fulfilling the conservation purposes of           Appropriate Analyses, Correct               statutory, legislative history, and case
                                                   Conclusions                                law relevant to this policy, as well as
the Act. This final policy provides a          K. Implementation in Listing
consistent standard for interpretation of                                                     alternatives we considered for
                                                  Detenninations
the phrase and its role in listing             L..Effects on Implementation of OtheT          interpreting the phrase "significant
determinations.                                   Portions of the Act                         portion of its range" and defining
                                               M. Pmceduml Requirements and                   "significant," we refer the reader to our
DATES: This policy is effective on July
                                                  Compliance with Laws                        draft policy and the environmental
31, 2014.                                                                                     assessment of the policy, which is
                                            V.Policy
ADDRESSES: This final policy is available   VI. Effects of Policy                             available at http://www.regulations.gov
on the Internet at http://                     A. Designation of Critical Habitat             under Docket No. FWS-R9-ES-2011-
wwHr.regulations.gov at Docket Number          B. Rules Promulgated Under Section 4{d)        0031.
FWS-R9-ES-2011-0031. Conunents                    oftlw Act
and materials received, as well as             C. Recovery Planning and Implementation        II. Changes From the Draft Policy
supporting documentation used in the           D. Sections 7, 9, and 10 of tho Act
                                            VII. Required Determinations                        This final policy differs from om draft
preparation of this policy, are also                                                          policy in one substantive respect and
                                               A. Regulatory Planning and Review {E.O.s
available at the same location on the              12866 and 13563)                           three editorial respects. Here we
Internet.                                      B. Regulatory Flexibility Act                  summarize those changes. They are
FOR FURTHER INFORMATION CONTACT: Gina          C. Unfunded Mandates Reform Act {2             explained in greater detail in section III.
Shultz, U.S. Fish and Wildlife Service,            U.S.C. 1501 et seq.)                       First, we modified the definition of
                                              D. Takings (E.O. 12630)                         "significant." The definition in the draft
Ecological Services Program, 4401 North
                                              E. Federalism {E.G. 13132)
Fairfax Drive, Room 420, Arlington, VA        F. Civil Justice Reform (E.O. 12988)
                                                                                              policy was: "A portion of the range of
22203; telephone 703-358-2171;                G. Government-to-Government                     a species is 'significant' if its
facsimile 703-358-1735; or Marta                 Relationship with Tribes                     contribution to the viability of the
Nammack, National Marine Fisheries            H. Paperwork Reduction Act                      species is so important that, without
Service, Office of Protected Resources,       I. National Environmental Policy Act            that portion, the species would be in

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danger of extinction." The definition in           protected throughout all of its range.            III. Policy Explanation
this final policy reads:                           Thus, we conclude that listings
                                                                                                       A. Pmpose
   A portion of the range of a species is          dependent on an SPR determination
'significant' if the species is not currently      still will be infrequent.                             The purpose of this policy is to
endangered or threatened throughout all of            Second, we made a nonsubstantive                 develop a joint interpretation of
its range, but the portion's contribution to the   change to the first section of the policy,          "significant portion of its range" to
viability of the species is so important that,     regarding the consequences of a species            reduce inconsistencies in applying the
without the members in that portion, the           being endangered or threatened                     phrase and to improve effective and
species would be in danger of extinction, or                                                           efficient implementation of the Act. The
                                                   throughout an SPR. The second
likely to become so in the foreseeable future,                                                         Services need to ensure that the policy
throughout all of its range.                       paragraph of the draft policy stated
                                                   (emphasis added):                                  is consistent with the plain language
    We explain in detail why we revised                                                                and mandates of the Act, is consistent
 the definition of "significant" in section          If a species is found to be endangered or
                                                                                                      with case law, provides clarity as to
                                                   threatened in only a significant portion of its
 III. C. In brief, the revised definition will:                                                       both the meaning and consequences of
                                                   range, the entire species is listed as
    1. Remove problems associated with                                                                the SPR phrase so that the Services will
                                                   endangered or threatened, respectively, and
 allowing a species to qualify as both             the Act's protections apply across the             be accorded deference when they apply
 threatened throughout its range and               species' entire range.                             the interpretation in making status
 endangered throughout an SPR. The                                                                    determinations, and furthers the
 change to the first part of the definition           In the final policy, we replaced
                                                                                                      conservation purposes of the Act.
 ensures that only one legal status is              "across the species' entire range" with              The relevant statutory provisions
 assigned to the species: If a species is           "to all individuals of the species                together create a variety of tensions and
 endangered or threatened throughout its           wherever found." This does not reflect             ambiguities, so there is no single best
range, no portions of its range can                a change in the intended meaning of the            interpretation. Here, we adopt a
qualify as "significant." We made this             language but instead simply clarifies              reasonable interpretation of these
change in response to numerous                     how protections will apply. As we                  statutory provisions. We conclude that
comments, which raised two issues.                 explain in section III.D., the protections         (1) if a species is found to be
First, commenters were concerned that              apply to the species itself, not the               endangered or threatened throughout a
a species simultaneously meeting the               "range" in which itis found. Further,              significant portion of its range, the
definitions of an "endangered species"             this change aligns our interpretation              entire species is listed as endangered or
and a "threatened species" would be                with our regulations at 50 CFR 17.11(e)            threatened, respectively, and the Act's
extremely confusing. Second, some                  and 17. 12(e) that state that once a               protections apply to all individuals of
commenters thought that it was                     species is determined to be an                     the species wherever found; (2) a
inappropriate to protect the entire range          endangered species or threatened                  portion of the range of a species is
of a species as endangered if the species,         species, the protections of the Act apply         "significant" if the species is not
viewed rangewide, met the definition of            "to all individuals of the species,               currently endangered or threatened
a "threatened species." This change                wherever found."                                  throughout all of its range, but the
eliminates these concerns.                            Third, we made a nonsubstantive                 portion's contribution to the viability of
    2. Lower and simplify the threshold            change to the last section of the policy,         the species is so important that, without
for "significant." Because we have                 reconciling the SPR and Distinct                  the members in that portion, the species
changed "the species would be in                   Population Segment (DPS) authorities.             would be in danger of extinction, or
danger of extinction" to "the species              ln the draft policy, this paragraph read          likely to become so in the foreseeable
would be in danger of extinction, or               (emphasis added):                                 future, throughout all of its range; (3)
likely to become so in the foreseeable                If the species is not endangered or            the range of a species is considered to
future," a portion of the range of a               threatened throughout all of its range, but it    be the general geographical area within
species would be significant if the                is endangered or threatened within a              which that species can be found at the
species would, without that portion, be            significanl portion of its range, and the         time FWS or NMFS makes any
either endangered or threatened. Many              population in that significant portion is a       particular status determination; and (4)
commenters requested this change, and              valid DPS, we will list the DPS rather than       if a vertebrate species is endangered or
we concluded that the change is                    the entire taxonomic species or subspecies.
                                                                                                     threatened throughout an SPR, and the
appropriate in combination with the                   In the final policy, we have deleted           population in that significant portion is
other change we made to the definition             the language in italics as redundant. It          a valid DPS, we will list the DPS rather
of ''significant.'' A lower threshold will         is no longer necessary to specify this as         than the entire taxonomic species or
further the conservation purposes of the           a prerequisite for when this provision            subspecies.
statute and more clearly avoid the                 will operate, in light of the revised                As discussed in the draft policy (76
appearance of similarity to the                    definition of "significant." Under the            FR 76987, pp. 76988-76990) and in
"clarification" approach. (The                     final policy, it will be a prerequisite to        more detail in the Department of the
clarification approach was rejected by             any SPR analysis that the Services first          Interior (DOl) (2010) and FWS and
the Ninth Circuit, as discussed in the             find that the species is neither                  NMFS SPR Working Group (2010), the
draft policy [76 FR 76987, p. 76991,               endangered nor threatened throughout              role of the SPR language in the context
section II.A].) Using this standard, we            all ofits range. Thus, the edit to this           of the entire statutory scheme is not
may list a few more species with                   paragraph does not represent a change             clear from the text itself or the
important populations that are facing              in meaning, but merely harmonizes the             legislative history. However, the Ninth
substantial threats. Nonetheless, this             language in this paragraph with the               Circuit's ruling in Defenders of Wildlife
relaxed threshold is still relatively high.        previously described edit.                        v. Norton, 258 F. 3d 1136 (9th Cir. 2001)
As discussed in the draft policy (76 FR               Fourth, we substituted "throughout"            (Defenders (Lizard]), indicates that, with
76987, p. 76995), this is desirable                for "in" or "within" in several places to         respect to the statutory language
because we have concluded that, if a               track the statutory language                      "throughout all or a significant portion
species is endangered or threatened in             ("throughout . . . a significant portion          of its range," we should give the words
a significant portion of its range, it is          of its range") more closely.                      on either side of the "or" operational

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 meaning (see Defenders (Lizard) 258           determination. In particular, we             we next turn to defining "significant" to
 F. 3d at 1141-42). We agree, and we           considered two alternative                   establish a standard for when such an
 have therefore developed a policy that        interpretations: individuals of a species    independent basis for listing exists. As
 gives operational effect to the SPR           that are endangered or threatened            we explained in our draft policy, we
 language instead of treating it as merely     throughout an SPR are protected              have broad discretion to interpret
 a clarification of the "throughout all"       wherever found, or individuals of a          "significant," particularly in the context
 language. Thus, under our policy, a           species that are endangered or               of creating a policy related to SPR after
 species will be able to qualify as an         threatened throughout an SPR are            notice and comment, as we have done
 "endangered species" in two different         protected only in that SPR. The legal       here (see 76 FR 76987, p. 76993). In this
 situations: (1) If it is in danger of         opinion issued by the Solicitor of the      final policy, we determine that a portion
 extinction throughout all of its range, or    DOl in 2007 (referred to as the "M-          of the range of a species is "significant"
 (2) if it is in danger of extinction          Opinion") (DOl 2007) took the latter        if the species is not currently
 throughout a significant portion of its       view (for additional discussion of the      endangered or threatened throughout all
range. The same is true for "threatened        M-Opinion, see our draft policy (76 FR      of its range, but the portion's
 species.''                                    76987, p. 76990)). We conclude that the     contribution to the viability of the
    This policy addresses two separate,        former view is the best interpretation of   species is so important that, without the
but interrelated, components to giving         the Act. As we explained in the draft       members in that portion, the species
the phrase "a significant portion of its       policy (76 FR 76987, pp. 76991-76993),      would be in danger of extinction, or
range" operational meaning. First, we         the statutory text and the most relevant     likely to become so in the foreseeable
establish the consequence of a species         case law strongly support our               future, throughout all of its range. Our
being endangered or threatened                 conclusion, while the purposes of the       definition of ''significant'' addresses
throughout an SPR. Second, we define          Act, the legislative history, and past ·     three questions: (1) Under what
 "significant," thereby providing a            agency practice are of little help in       circumstances can a portion be
standard for determining when a                answering this question. (We                significant? (2) what information is
portion of a species' range constitutes an     acknowledge that one of the district        relevant to determining whether a
SPR, and thus when that consequence           court opinions we discussed was              portion is significant? and (3) what is
may be triggered. (We address the             vacated after we published the draft         the threshold or level of importance
consequences issue first because the          policy: Defendei'S of Wildlife v. Salazar,   required for a portion to be significant?
Services have greater discretion in            729 F. Supp. 2d 1207 (D. Mont. 2010).
defining "significant," and those                                                         1. Circumstances Under Which a
                                               vacated, 2012 U.S. App. Lexis 26769       Portion Can Be "Significant"
consequences play an important role in         (9th Cir. Nov. 7, 2012). That opinion
the Services' decision as to how to           was vacated, however, not on the              As discussed in om· draft policy (76
exercise that discretion.) We address         merits, but solely because the pending     FR 76987, p. 76992), we have concluded
each of these components in turn.             appeal of the opinion became moot due      that we must give both the "all"
   We note that throughout this policy        to intervening congressional action.       language and the SPR phrase
when discussing SPR and "portion of           Thus, to the extent that this policy is    operational effect. In other words, there
the range" and similar phrases, we are        informed by the reasoning of the district  must be some circumstances in which
referring to the members of the species       court opinion, it is because we have       each provision results in listing species.
within that portion of the range. As          concluded that that reasoning is valid     The Act, however, does not specify the
explained further below, when                 notwithstanding the opinion's vacatur      relationship. between the two
analyzing portions of ranges we               for technical reasons.)                    provisions. Based in part on public
consider the contribution of the                 In addition, we note that our revised   comments on our draft policy, we now
individuals in that portion to the            definition of ''significant'' bolsters our conclude that a portion of the range of
viability of the species in determining       conclusion in the draft policy that our    a species can be "significant" only if the
whether a portion is significant, and we      interpretation does not render irrelevant  species is not currently endangered or
consider the status of the species in that    the "all" language in the definitions of   threatened throughout all of its range.
portion. Thus, when we refer to               "endangered species" and "threatened          We reach this conclusion for both
"portion of its range," we mean the           species" (76 FR 76987, p. 76992). As       textual and practical reasons. With
individuals of the species that occupy        discussed in our draft policy, the "all"   regard to the text of the Act, we note
that portion. However, for the sake of        language retains independent meaning       that Congress placed the "all" language
readability, in this policy we sometimes      via the practical way in which the         before the SPR phrase in the definitions
refer to "a portion of the range" or          Services actually determine the status of  of "endangered species" and
similar phrases as a short hand for the       a species. Our revised definition of       "threatened species." This suggests that
"members of the species in that portion       "significant" further reinforces the "all" Congress intended that an analysis
of its range."                                language by essentially stipulating that   based on consideration of the entire
                                              a portion can be significant only if we    range should receive primary focus, and
B. The First Component: Consequences                                                     thus that the agencies should do an SPR
                                              first find that the species is not
of a Species Being in Danger of                                                          analysis as an alternative to a rangewide
                                              currently endangered or threatened
Extinction or Likely To Become So                                                        analysis only if necessary. Under this
                                              throughout all of its range. Thus, the
Throughout a Significant Portion of Its                                                  reading, the Services should first
                                              ''all'' language will retain independent
Range (SPR)                                                                              consider whether listing is appropriate
                                              meaning and play an important role in
  Given that we have determined that a        status determinations.                     based on a rangewide analysis and
species may be an "endangered species"                                                   proceed to conduct an SPR analysis if
or "threatened species" if it is in danger    C. Second Component: The Definition of (and only if) a species does not qualify
of extinction (endangered) or likely to       "Significant" as It Relates to SPR         for listing according to the "all"
become so (threatened) throughout an             Having concluded that the phrase        language.
SPR but not throughout all of its range,      "significant portion of its range"            A practical consideration, as made
we considered what consequences               provides an independent basis for          clear by numerous commenters, is that
under the Act flow from such a                listing and protecting the entire species, interpreting the definitions of an

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 "endangered species" and a "threatened        can be expressed in terms of the four            threshold for "significant" in our draft
 species" in a way that a species could        viability characteristics used more              policy fmthered the conservation
 meet both definitions simultaneously          commonly by NMFS: abundance, spatial             purposes of the Act by adding an
 (i.e., threatened throughout all of its       distribution, productivity, and diversity        independent basis for listing. In other
 range and endangered throughout a             of the species.                                  words, under the draft policy we would
 significant portion of its range) would                                                        consider not only whether a species is
                                                3. The Threshold for "significant"
be extremely confusing to the public.                                                           endangered or threatened throughout its
Limiting significance to circumstances             As discussed in our draft policy (76         range, but also whether it is endangered
 in which the species is not currently          FR 76987, p. 76995) and below, we               or threatened throughout an SPR. This
 endangered or threatened throughout all        conclude that the threshold for                 final policy retains the additional,
 of its range eliminates that concern. A        "significant" should be high enough to          independent basis for listing and, by
related benefit of limiting the                 avoid dilution of conservation efforts          lowering the threshold for ''significant''
applicability of the SPR language is to         and unnecessary restrictions that may           to incorporate the threatened standard,
reduce the circumstances in which               result from listing a species based on its      may slightly increase (compared to the
additional legal determinations m·e             status throughout an SPR, but not so            draft policy) the number of species we
necessary. This will allow us to more           high as to make it indistinguishable            consider for listing. In other words, the
efficiently use our limited resources to        from the ''clarification interpretation'' in    lower threshold for "significant" in this
undertake additional actions required in        the M-Opinion (the clarification                final policy will further the
administering the Act to further its            approach was rejected by the Ninth             conservation purposes ofthe statute
conservation purposes.                          Circuit, as discussed in the draft policy).    beyond that already embodied in the
    As noted below (section VI. Effects of      After considering comments received on          draft policy because it will enable us to
Policy) and in the draft policy (76 FR          the draft policy, we have lowered the          provide protection under the Act to
77003), we·conclude that finding that a        threshold for ''significant'' somewhat by       species with important populations
species is an endangered species or a           incorporating the concept of being likely      facing significant threats that we might
threatened species based on its status in       to become in danger of extinction in the        not have otherwise listed.
an SPR will occur only under a limited         foreseeable future (the threatened                 Lower Threshold is More Clearly
set of circumstances and will be                standard) along with the standard for          Distinguishable from the "Clarification
relatively uncommon. Under the draft            endangered in the definition of                Interpretation": Although this final
policy, finding that a species is               "significant.'' Use of the somewhat            policy's definition establishes a
threatened throughout its range and also        lowered threshold furthers the                 threshold for "significant" that is
endangered in a significant portion of its      conservation purposes of the statute and       relatively high, lowering it somewhat
range is only one of the possible              more clearly avoids the appearance of           from what we described in the draft
circumstances (of that already limited         similarity to the "clm·ification"               policy will make it clearer that we are
set) that would have led to finding that       approach while striking a balance               giving the phrase ''a significant portion
a species is endangered or threatened in       between too high and too low a                  of its range" independent meaning.
an SPR, and thus would have been               threshold. At the same time, use of the         Specifically, we have not set the
relatively uncommon even within that           endangered and threatened standards in          threshold as high as it was under the
set of limited circumstances. Moreover,        the definition of "significant"                 interpretation presented by FWS in the
in no circumstance should the                  minimizes the intmduction of                    Defenders (Lizard] litigation (termed the
interpretation in this final policy lead to    complicating new concepts into the              ''clarification interpretation'' in theM-
a reduction in protections that the            status-determination process.                   Opinion). As discussed in the draft
Secretaries deem to be necessary and              Use of Endangered and Threatened             policy (76 FR 76987, p. 76989), under
advisable, as the Secretaries have the         Standards: We used the endangered and           that interpretation, the portion of the
authority under section 4(d) to apply the      threatened standards from the Act to            range must be so important that current
full protections of the Act to threatened      define the threshold for "significant"          imperilment there would mean that the
species.                                       because they are well-understood                species would be currently imperiled
                                               concepts that are directly linked to the        everywhere. Under this final policy, the
2. Biological Basis for "significant"          conservation status of the species, and         portion of the range need not rise to
   As we explained in our draft policy         are within the expertise of the Services.       such an exceptionally high level of
(76 FR 76987, p. 76994), we conclude           Lowering the threshold further, beyond          biological significance. (Note that if the
that a definition of ''significant'' that is   the endangered and threatened                   species is imperiled in a portion that
biologically based best conforms to the        standards, would require that we define         rises to the high level of biological
purposes of the Act, is consistent with        new standards that would complicate             significance required under the
judicial interpretations, and best             the understanding, and analysis, of how         clarification interpretation, then we
ensures species' conservation. This            or whether a species meets the                  should conclude that the species is in
policy's definition emphasizes the             definitions of the Act. We also                 fact imperiled throughout all of its
biological importance of the portion of        considered using another well-known             range-and we need not conduct an SPR
the range to the conservation of the           standard-the definition of significance         analysis.) Rather, under this final policy
species as the measure for determining         in the DPS policy-as a threshold for            we ask whether the species would be in
whether the portion is ''significant.'' For    "significant" in this policy. We rejected       danger of extinction or likely to become
that reason, it describes the threshold        this option, however, because it would          so in the foreseeable future without that
for "significant" in terms of an increase      result in all DPSs being SPRs, rendering        portion, i.e., if the members of that
in the risk of extinction for the species.     the DPS language in the Act                     portion were not just currently
We evaluate biological significance            meaningless. We concluded that the              imperiled, but already completely
based on the principles of conservation        threshold for significance must be              extirpated.
biology using the concepts of                  higher than that in the DPS policy in              Unlike the clarification interpretation
redundancy, resiliency, and                    order to avoid this outcome.                    at issue in Defendel's (Lizanf), this final
representation (the three Rs) (Schaffer           Lower Threshold Furthers the                 policy does not, by definition, limit the
and Stein 2000). These concepts also           Conservation Purposes of the Act: The           SPR phrase to situations in which it is

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  unnecessary. The clarification                 due to chance) event could devastate             portion of its range). This policy's
  interpretation defined "significant" in        that entire area and the population              threshold for determining biological
  such a way that a portion of a species'        inhabiting it. Therefore, if it were the         significance will give meaning to all
  range could be significant only if the         only population, the species would be            foUl' discrete bases for listing. Under our
  current status of the species throughout       so vulnerable to stochastic events that it       interpretation, there is at least one set of
  its range were endangered or threatened        would be in danger of extinction. (With          facts that falls uniquely within each of
  (in particular, as a result of the             two main populations, it is unlikely that        the four bases (without simultaneously
  endangered or threatened status of the         both would be affected by the same               fitting the standard of another basis).
 species throughout that portion of its          stochastic event. The severity of the               Lower Threshold Is Still High Enough
 range). But if the current status of the       threats posed by the stochastic event             to Be Compatible with Listing the
 species throughout its range is                 would therefore be smaller because               Species Throughout its Range: Given
 endangered or threatened, then the              there could be exchange between the              that the consequence of finding a
 species could be listed even without the        populations following the stochastic             species to be endangered or threatened
 SPR phrase. Thus, that definition of            event-and this exchange could help to            throughout an SPR is listing the species
 ''significant'' inherently made the            stabilize the population that has                 throughout its entire range, it is
 statutory SPR phrase unnecessa1·y and          suffered declines.) Thus, without the            important not to use a threshold for
 redundant. In contrast, the definition in       portion of the range currently occupied          "significant" that is too low (e.g., the
 this policy does not render the statutory      by the second population (Portion X),            threshold described by the definition of
 phrase redundant. In fact, this policy's       the species would be in danger of                significance in the DPS policy, or that
 definition of "significant" itself makes it    extinction. But, as long as Portion X            a portion of the range is "significant" if
 clear that a portion can only be               contained an extant population, the              its loss would result in any increase in
 significant if the species is not currently    resiliency and redundancy of the two             the species' extinction risk, even a
 endangered or threatened throughout all        portions combined would be sufficient            negligible one). Although we recognize
 of its range. Moreover, a portion of a         that the species would not be in danger          that most portions of a species' range
 species' range is significant when the         of extinction, or likely to become so in         contribute at least increment8Jly to a
 species would be in danger of extinction       the foreseeahle future, throughout all of        species' viability, use of such a low
 or likely to become so in the foreseeable      its range, even in the face of severe            threshold would require us to impose
 future rangewide if the species were           threats to Portion X. Under these facts,         restrictions and expend conservation
 extirpated in that portion, but that will      Portion X would not be an SPR                    resources disproportionately to
 not be the case at the time of the             according to the clarification                   conservation benefit; listing would be
 analysis because, by definition, an SPR        interpretation. Under this final policy,         rangewide, even if a portion of only
is a portion of the current range of the        we first determine whether the species           minor conservation importance to the
species, and therefore the species              is endangered or threatened throughout           species is imperiled. In such a situation,
cannot yet be extirpated there. In other        all of its range and, if so, list the species    a proportion of limited conservation
words, this policy's definition leaves          accordingly. If the species is not               resources would be diverted away from
room for listing a species that is not          endangered m threatened throughout all           the conservation of species most
currently imperiled throughout all of its       of its range, then we look further to            vulnerable to extinction and used for
range.                                          determine whether it is endangered or            species that might arguably better fit a
    Two examples illustrate the difference                                                       lesser standard if viewed solely across
                                               threatened throughout a significant
between the policy's definition and the                                                         their ranges. The threshold defined in
                                               portion of its range. Under these facts,
clarification interpretation. First, a                                                          this policy strikes a balance between
                                                and in contrast to the clarification
species might face severe threats only in                                                       being high enough to avoid these
                                                interpretation, Portion X would be an
the portions of the range it uses in one                                                        negative consequences, and low enough
                                                SPR under this policy because the
part of its life cycle (Portion A). Because                                                     to give the SPR phrase independent
                                               species would not currently be
the species cannot complete its life                                                            meaning.
cycle without Portion A, threats in            endangered or threatened throughout all              Application of the Threshold: Under
                                               of its range, but the hypothetical loss of       this policy, after having determined that
Portion A affect all individuals of the
species even if other portions of the          Portion X would cause the species to             the species is neither endangered nor
species' range are free of direct threats.     become endangered. Therefore, we                 threatened throughout all of its range,
In other words, if the species is              would need to consider whether the               we will determine if a portion of a
endangered in Portion A, it is in fact         species was endangered or threatened in          species' range is significant. To do so,
endangered throughout all of its range.        Portion X, and, if so, we would list the         we will ask whether, without that
Portion A would be an SPR under the            species.                                         portion, the three Rs of the species-or
clarification interpretation. Under this           More broadly, and as a logical               the four viability characteristics used
policy's interpretation, we would still        corollary to the reasoning of Defenders          more commonly by NMFS-would be so
list this species, but its listing would be    (Lizard}, any interpretation of the              impaired that the species would have an
based on its status throughout all of its      definitions of "endangered species" and          increased vulnerability to threats to the
range rather than its status throughout a      "threatened species" must afford                 point that the overall species would be
significant portion of its range. We           practical meaning to each part of the            in danger of extinction (i.e., would be
would not go further to consider the           statutory language. Thus, an                     "endangered") or likely to become so in
status in any potentially significant          interpretation must not rend or irrelevant       the foreseeable future (i.e., would be
portion of its range.                          any of the four discrete bases, or               "threatened"). If so, then the portion in
    In contrast, another species may have      categories, for listing set forth in the         question is significant, and we will
two main populations. The first of those       plain language of the statute (that a            undertake an analysis of the th.Teats to
populations (found in Portion Y)               species is: endangered throughout all of         the species in that portion to determine
currently faces only moderate threats,         its range; threatened throughout all of          if the species is endangered or
but that population occurs in an area          its range; endangered throughout a               threatened there. That analysis
that is so small or homogeneous that a         significant portion of its range; or             evaluates current and anticipated
stochastic (i.e., random, unpredictable,       threatened throughout a significant              threats facing the species in that portion

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 now and into the foreseeable future, the      areas appropriate for the establishment                  range contracts due to continuing
 impacts these threats are expected to         of experimental populations. In                           threats or expands as a result of
 have, and the species' anticipated            contrast, the concept of "range" plays                   recovery efforts). The protections can be
 responses to those impacts. If, on the        no direct role in implementation of the                   modified only tlll'ough rules
 other hand, the answer is negative, that      key operative provisions of the Act that                 promulgated under sections 4(d) and
 is the end of the inquiry-the portion in      protect species that we determine are                    10(j) of the Act, or completely removed
 question is not significant and the           endangered or threatened. (We note that                  through delisting and removal of the
 species does not qualify for listing.         it would be possible to interpret the use                species from the List of Endangered and
    There are a number of circumstances        of "range" in section 4(c)(1) of the Act                 Threatened Wildlife or the List of
 in which we might determine that a            in isolation to control the scope of the                 Endangered and Threatened Plants.
 portion of the range of a species is          operative protections under the Act.                        Thus, the term "range" is relevant to
 "significant." For example, the               However, as discussed in our draft                       whether the Act protects a species, but
 population in the remainder of the           policy (76 FR 76987, pp. 76991-76992,                     not how that species is protected.
 species' range without the population in     section II.B.), the interpretation of                     Having concluded that the term ''range''
 the SPR might not be large enough to be      section 4(c)(l) that best harmonizes the                  is used primarily in determining
resilient to environmental catastrophes       various parts of the Act and relevant                     whether a species qualifies as an
 or random variations in environmental        case law is to treat section 4(c)(1) as an                endangered species or threatened
conditions. Or, if the viability of the       informational rather than a substantive                   species, we must still consider its
species depends on the productivity of        provision.)                                               meaning in that context. The Services
 the population in the SPR, the                   Once we determine that a species is                   interpret the term "range" to be the
population in the remainder of the range      an ''endangered species'' or "threatened                  general geographical area within which
might not be able to maintain a high-         species," the protections of the Act are                  the species is currently found, including
enough growth rate to persist in the face     applied to the species itself, not the                    those areas used throughout all or part
of threats without that portion. Further,     "range" in which it is found.t For                        of the species' life cycle, even if not
without the population in the SPR, the        example, sections 7 and 9 of the Act                      used on a regular basis. We consider the
spatial structure of the entire species       contain no reference to "range" and                       "current" range of the species to be the
could be disrupted, resulting in              their provisions are applied to the                       range occupied by the species at the
fragmentation that could preclude             species or individuals of the species,                    time the Services make a determination
individuals from moving from degraded         rather than a specified "range." In other                 under section 4 of the Act.
habitat to better habitat. If habitat loss    words, as explicitly acknowledged in                         We reach this conclusion based on the
is extensive, especially in core areas,       the regulations governing the Lists of                   text of the Act. As defined in the Act,
remaining populations become isolated         Endangered and Threatened Wildlife                       a species is endangered only if it "is in
and fragmented, and demographic and           and Plants, the protections of the Act                    danger of extinction'' throughout all or
population-dynamic processes within           are applied "to all individuals of the                   a significant portion of its range. The
the species can be disrupted to the           species, wherever found" (50 CFR                         phrase "is in danger" denotes a present-
extent that the entire species is at higher   17.11(e), 17.12(e)). As long as a species                tense condition of being at risk of a
risk of extinction (e.g., Waples eta].        is listed, these protections apply to all                current or future undesired event.
2007), such that those remaining              populations and individuals of the                       Hence, to say a species "is in danger"
populations might then warrant listing.       species regardless of how that species'                  in an area where it no longer exists-i.e.,
Finally, if the population in the SPR         range changes over time (whether the                     in its historical range where it has been
contains important elements of genetic                                                                 extirpated-is inconsistent with
diversity, without that population the           1 We note that for species listed as DPSs, because    common usage. Thus, "range" must
remaining population may not be               individuals in a distinct population segment are         mean "current range," not "historical
genetically diverse enough to allow for       most often not morphologically or visually distinct      range."
adaptations to changing environmental         from other mombors of their taxonomic species or             Some have questioned whether lost
                                              subspecies, tho population ("species" as defined by      historical range may constitute a
conditions. Diversity is generally            the Act) is often defined geographically. This
thought to buffer a species against           geographic description (except in the caso of            significant portion of the range of a
environmental fluctuations in the short       international boundaries) is intended to define the      species, such that the Services must list
term and to provide evolutionary              "spocios" by indicating the area within which it is      the species rangewide because of the
                                              highly likely that individuals are members of the        extirpation in that portion of the
resilience to meet future environmental       listed DPS rather than members of other
changes (e.g., Hilborn et al. 2003).          populations of the same taxonomic specios or             historical range. We already take into
                                              subspocios. It may include areas that are generally      account in our determinations the
D. Range and Historical Range                 not occupied by the species but where an                 effects that loss of historical range may
   When considering an interpretation of      individual of the specios, if found, is most likely a    have on the current and future viability
                                              member of the DPS. Geographic descriptions are
the SPR phrase, we must also consider         meant to aid in identification of individuals of the     of the species. We conclude that this
the meaning ofthe term "range." The           listed entity rather than limit protections. In other    consideration is sufficient to account for
term is not defined in the Act. Indeed,       words, tho geographic description can define the         the effects of loss of historical range
it is used only six times, two of which       species. It is oflen tme that individuals of the         when evaluating the current status of
                                              taxonomic species or subspecies found outside the
are in the SPR phrases of the definitions     geographic area defining the listod DPS are
                                                                                                       the species, and a specific consideration
of "endangered species" and                   considered to belong to other populations of the         of whether lost historical range
"threatened species." None of these           species (unless identity can be established by other     constitutes a significant portion of the
uses sheds much light on precisely what       means) and aro thus not protected. Within the area       range is not necessary. In other words,
                                              defining tho species, all members are assumed to
Congress meant by the term "range."           belong to the DPS and protections of the Act apply
                                                                                                       we do not base a determination to list
The context in which Congress used the        to ''all individuals of the species.'' It is important   a species on the status (extirpated) of
term is, however, instructive. In the Act,    to note that, while the geographic description of        the species in lost historical range. We
"range" is used as a conceptual and           some listed DPSs (e.g,, Pacific salmon) do not           base this conclusion on the present
                                              explicitly stato that the boundaries of the DPS
analytical tool related to (1) identifying    include tho marine range of the DPS, individuals of
                                                                                                       tense language of the Act and on the fact
endangered and threatened species             these DPSs are protected wherever they go (to the        that considering the status of the species
under section 4, and (2) identifying          extent that they can be identified}.                     in its current range is in fact applying

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the test required by our SPR definition       with a reduced range is at greater risk        reclassification, proposed listing or
as explained below.                            of all or most of its populations being       delisting rule, 5-year review, and so
   Given our definition of SPR, we will        affected by a catastrophic event such as      forth). For example, if we are petitioned
arrive at the appropriate status               a hurricane or fire. We collectively          to reclassify an already listed species,
conclusion by considering the effects of       evaluate all the current and potential       we examine the status of the species in
loss of historical range on the current       threats to a species, including those that    the range it currently occupies, not the
status of the species even though we do       result from past loss of historical range.     range it occupied at the time of listing.
not explicitly consider whether lost          For example, the loss of historical range     As explained above, examining the
historical range is itself an SPR. In other   may have resulted in a species for            current status of the species in its
words, considering the status of the          which distribution and abundance is           current range in no way constrains or
species in its current range is in fact       restricted, gene flow is inhibited, or         limits use and application of the tools
applying exactly the test envisioned by       population redundancy is reduced to           of the Act to only the species' current
our definition of SPR, with the               such a level that the entity is now           range. Protections of the Act (except as
difference that the scenario is actual        vulnerable to extinction or likely to         modified through sections 10(j) and 4(d)
rather than hypothetical. Under this          become so within the foreseeable future       of the Act) apply "to all individuals of
policy's definition, we consider              throughout all or a significant portion of    the species, wherever found" {50 CFR
whether, under a hypothetical scenario,       its current range. The effect of loss of      17.11(e] and 50 CFR 17.12(e)], even if
a species would be endangered or              historical range on the viability of the      the range of the species changes over
threatened without the portion in             species could prompt us to list a species     time. In fact, reducing a species'
question. When we consider the status         because the loss of historical range has      vulnerability to threats and ultimately to
of a species in its current range, we are     contributed to its present status as          extinction often requires recovering the
considering whether, without that             endangered or threatened throughout all       species in some or all ofits lost
portion {i.e., lost historical range) the     or a significant portion of its range. In     historical range. Indeed, the Act's
species is endangered or threatened. If       such a case, we do not list a species         definitions of "conserve" and "critical
lost historical range had indeed been an      because it is endangered or threatened        habitat," and the provisions of section
SPR prior to its loss, then, with the loss    in its lost historical range, but rather      10(j] of the Act, all indicate that
having occurred, the species should           because it is endangered or threatened        Congress specifically contemplated that
currently be endangered or threatened         throughout all or a significant portion of    recovering species in lost historical
in its remaining current range. When          its cUITent range because that loss of        range may be needed to bring a species
considering the status of a species that      historical range is so substantial that it    to the point that it no longer needs the
has lost historical range, the scenario is    undermines the viability of the species       protections of the Act. Thus, examining
no longer hypothetical but actual, and        as it exists today. Conversely, a species     a species' status in its current range
the status of the remaining portion is no     suffering a similar loss of historical        does not set the bar for recovery; rather,
longer hypothetical but is determined         range would not be listed if viability of     it is simply the approach that the Act
by examining the species in its current       the remaining individuals was not             requires us to apply when we examine
range. Thus, we conclude that the             compromised to the point of                   a species' current and future
appropriate focus of our analysis is the      endangering or threatening the species.       vulnerability to extinction.
status of the species in its current range.   (We also note that a species that has not
   While we conclude that it is not                                                            We acknowledge that the Ninth
                                              experienced any loss of historical range
necessary to separately consider                                                            Circuit Court of Appeals has held that
                                              may still be vulnerable to a wide variety
whether lost historical range is an SPR,      of threats and in fact meet the definition    FWS must consider whether lost
evaluating the effects of lost historical     of an "endangered species" or a               historical range is a significant portion
range on the viability of the species is      "threatened species." Thus, loss of           of a species' range (Defendel"s (LizaTd},
an important component of evaluating          historical range is not necessarily           258 F.3d at 1145) ("where . . . it is on
the current status of the species. Past       determinative of a species' status, but       the record apparent that the area in
range reduction can stem from habitat         must be considered in the context of all      which the lizard is expected to survive
destruction or degradation, or from           factors affecting a species.)                 is much smaller than its historical
factors that cause displacement of the           In addition to considering the effects     range, the Secretary must at least
species from an area they once                that loss of historical range has had on      explain her conclusion that the area in
occupied. Range reduction may result in       the current and future viability of the       which the species can no longer live is
reduced numbers of individuals and            species, we must also consider the            not a 'significant portion of its range"').
populations, changes in available             causes of that loss of historical range. If   This appears to have been based at least
resom·ces and carrying capacity,              the causes of the loss are still              in part on a misunderstanding of FWS's
changes in demographic characteristics        continuing, then that loss is also ·          position, which the Ninth Circuit Court
(survival, reproductive rate,                 relevant as evidence of the effects of an     interpreted as a denial of the relevance
metapopulation structure, etc.), and          ongoing threat. Loss of historical range      of lost historical range (see Tucson
changes in genetic diversity and gene         for which causes are not known or well        He1petological Societyv. Salazar, 566
flow, which in turn can increase a            understood may be evidence of the             F.3d 870, 876 (9th Cir. 2009) ("On
species' vulnerability to a wide variety      existence of threats to the remaining         appeal, the Secretary clings to his
of threats, including habitat loss. In        range.                                        argument that lost historical habitat is
other words, past range reduction can            In implementing listing                    largely irrelevant to the recovery of the
reduce the redundancy, resiliency, and        determinations {including                     species, and thus the [Act] does not
representation of a species in its            reclassifications and delistings), the        require him to consider it.")). As
remaining range. Additionally, factors        Services use the best scientific and          explained above, the fact that historical
other than habitat loss may become            commercial data available, including          range has been lost can be highly
important as a species loses its range,       data on the species' current range,           relevant to the conservation status of the
and these factors that result from past       regardless of the point in time at which      species in its current range. The
range reduction are evaluated as current      we examine the status of the species          Services also consider historical range
or fu~ure threats. For example, a species     (12-month listing finding,                    during recovery planning. For the

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 reasons described above, however, we         the Services must determine whether             of the species to protect when a DPS
 respectfully disagree with this holding      those areas constitute a significant            also constitutes an SPR. This final
 of the Ninth Circuit, and conclude that      portion of its range, and, if so, list the      policy includes what we conclude is the
the status of lost historical range should    species in its entirety.                        most reasonable approach.
 not be separately evaluated; ultimately,     E. Relationship of SPR to the Act's             F. ProceduTe for Implementing the
 it is the conservation status of the then-   Distinct Population Segment (DPS)
 current range at the time of the listing
                                                                                              Policy
                                              AuthDl'ity
 determination in question that must be                                                           This policy will be applied to all
 evaluated (see Ctr. for Biological              As we explained in our draft policy
                                              (76 FR 76987, p. 76998), the definition          status determinations, including
Diversity v. Nol'ton, 411 F. Supp. 2d                                                          analyses for the purposes of making
                                              of "significant" for the purpose of SPR
 1271 (D.N.M. 2005), vacated by No. 06-                                                        listing, delisting, and reclassification
                                              analysis differs from the definition of
 2049 (loth Cir. May 14, 2007); Ctr. for                                                       determinations. The procedure for
                                              "significant" found in our DPS policy
Biological Divel'sityv. U.S. Fish &           and used for DPS analysis. We expect,           conducting analyses of whether any
 Wildlife Serv., 2007 U.S. Dist. LEXIS        based on our experience in applying the         portion is an SPR is similar, regardless
16175 (D. Colo. Mar. 7, 2007), vacated        DPS policy, that the differences between        of the type of status determination we
by No. 07-1203 (lOth Cir, Oct. 22,            the two standards, the specific                 are making. The first step in our
2007)). Thus, if a species "is expected       circumstance described by the                   analysis of the status of a species is to
to survive [in an area] much smaller          definition of ''significant portion of its      determine its status throughout all of its
than its historical range," we undertake      range," and the high bar this policy sets       range. If we determine that the species
an analysis different from that               will seldom result in situations in             is in danger of extinction, or likely to
apparently contemplated by the Ninth          which the population within an SPR for          become so in the foreseeable future,
Circuit. In fact, two different analyses      a taxonomic species or subspecies might         throughout all of its range, we will list
may be required. First, if the species has    also constitute a DPS. In those rare            the species as endangered (or
already been extirpated in some areas,        circumstances, under this policy we             threatened) and no SPR analysis will be
the Services must determine whether           will consider the DPS to be the proper          required. If the species is neither
the loss of those areas makes the species     entity for listing. Please refer to our draft   endangered nor threatened throughout
endangered or threatened throughout all       policy for a discussion of various issues       all of its range, we will determine
of its current range. Second, if the          we considered in choosing an                    whether the species is endangered or
species is not endangered or threatened       appropriate relationship between the            threatened throughout a significant
throughout its current range, but there       SPR language and the Act's DPS                  portion ofits range. If it is, we will list
are areas in its current range in which       authority, including: (1) The differing         the species as endangered or threatened,
the species has not been extirpated, but      definitions of "significant" in each            respectively; if it is not, we will
is in danger of extirpation (or is likely     context; (2) the overlap between SPR            conclude that listing the species is not
to become so in the foreseeable future),      and DPS analyses; and (3) the portions          warranted. (Figure 1)




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                                                       Endangered                         List as an
                                                        throughout all its         lYs-E~ Endangered
                                                                                   I-"'
                                                       r.mge?                             species
               Endangered or
               Threatened
               throughout all its
               r.mge?
                                    s                  Threatened                                          List as a
                                                        throughout all its         I   Yes-T        I      Threatened
                                                       r.mge?                      I_"' I                  .species



                  l=!t I                                                                        .          List as an
                                                                                                           Endangered
                                                                                            I

                                                       Is there any SPR
                                                                                   I   Yes-Em
                                                                                       mSPR
                                                                                                    I
                                                                                                           species


                                                       thatisTorE?(see
                                                       Fignre2)                             I
                                                                                   I   Y£1'5-TiD.
                                                                                       mSPll        I      List as a
                                                                                                           Threatened
                                                         I~-NotTJR I
                                                           mmSPll
                                                                                                           species



                                                                                                           Not
                                                                                                           warranted-
              Figure 1. Analysis steps                                                                     Do not list


   If we conclUde a species is neither      portions that warrant further                   of this analysis will be whether the
endangered nor threatened throughout        consideration, we will determine                threats are geographically concentrated
all of its range, we must examine           whether there is substantial information        in some way. If the threats to the species
whether it is endangered or threatened      indicating that (1) the portions may be         are affecting it uniformly throughout its
throughout a portion of its range. When significant and (2) the species may be in           range, no portion is likely to warrant
we conduct an SPR analysis, we will         danger of extinction in those portions or       further consideration. Moreover, if any
first identify any portions of the species' likely to become so within the                  concentration of threats apply only to
range that warrant further consideration. foreseeable futlll'e. We emphasize that           portions of the range that clearly do not
The range of a species can theoretically    answering these questions in the                meet the biologically based definition of
be divided into portions in an infinite     affirmative is not a determination that         "significant" (i.e., the loss of that
number of ways. However, there is no        the species is endangered or threatened         portion clearly would not be expected to
purpose to analyzing portions of the        throughout a significant portion of its         increase the vulnerability to extinction
range that are not reasonably likely to be range-rather, it is a step in determining        of the entire species}, those portions
significant and endangered or               whether a more detailed analysis of the         will not warrant fu.rther consideration.
threatened. To identify only those          issue is required. In practice, a key part      (Figure 2)




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                                                                                                        Ustasan
            Figure 2. Identifying and analyzing portiofl5                                               endangered species
                                                                                                I       or threatened species
                                                                            Is the             Yes
                                                                            species Tor
                                                                            Ein the
                                                                            SPR?
                                                 ·BiuDilitaDI:        Yes                      No
                                                                                                Ll-~)[ Notwammtoo-do
                                        ;-l
                                                 guestion
                                                 Is the
                                                 porlion an
                                                            1st:
                                                                   ~
                                                                                                       . not Hst                )
            If species is neither                SPR?                            No                                f
            T nor E througDout
            all jt$ r;mae: Js
            there substantial
            iniDnnation                                                                                 Ustas an
            indlcanng that a
                                    1- Yes                                                              endangered species
                                                                                                I
            portion of the                                                                     Yes      or threatened species
            species r.mge may                                               Is the TorE
            be both signillcant                                             portion an
          '\and either Tor E7                    status
                                                                      Yes   SPR?
                                                 gyestioi116t:                                 No
                                                 Is the
                                                 speciesT
                                                                                                L--~)[ ::,:rrnnte<l-do          ]
                                                 arE in that
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                     No


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                                             )              SPR 1 -                                   '-·_not_li_st_ _ _ _ _J.
                                                                                                                                J


   If we have identified any portions that        threatened. We must go through a         from State and local governments,
may be both (1) significant and (2)               separate analysis to determine whether   tribes, commercial and trade
endangered or threatened, we will                 the species is endangered or threatened  organizations, conservation
engage in a more detailed analysis to             in the SPR. Depending on the biology of  organizations, nongovernmental
determine whether these standards are             the species, its range, and the threats it
                                                                                           organizations, private citizens, and
indeed met As discussed above, to                 faces, it may be more efficient to address
                                                                                           others. The range of comments varied
determine whether a portion of the                the "significant" question first, or the from those that provided statements of
range of a species is significant, we             status question first. Thus, if we       support or opposition to the draft policy
consider whether, under a hypothetical            determine that a portion of the range is with no additional explanatory
scenario, the portion's contribution to           not "significant," we will not need to   information, to those that provided
the viability of the species is so                determine whether the species is         extensive comments and information
important that, without the members in            endangered or threatened there; if we    (supporting or opposing the draft policy
that portion, the species would be in             determine that the species is not        or specific aspects of the policy) and
danger of extinction or likely to become          endangered or threatened in a portion of suggestions for revisions. Some
so in the foreseeable futUl'e throughout          its range, we will not need to determine comments were strictly editorial and
all of its range. This analysis will              if that portion was "significant."       included suggested specific line edits or
consider the contribution of that portion                                                  word usage, which we addressed as
                                                  IV. Summary of Comments and
to the viability of the species based on                                                   appropriate in this document.
                                                  Responses                                   All substantive information provided
principles of conservation biology.                 The notice announcing our draft        during the comment period has been
Contribution would be evaluated using             policy (76 FR 76987) requested written   considered in this final policy and,
the concepts of redundancy, resiliency,           comments and information from the        where appropriate, has been
and representation. (These concepts can           public. That notice established a 60·day incorporated directly into this final
similarly be expressed in terms of                comment period ending February 7,        policy or is addressed below. Comments
abundance, spatial distribution,                  2012. We received several requests to    received were grouped into general
productivity, and diversity.)                     extend the public comment period and     issues specifically relating to the draft
  To determine whether a species is               subsequently published a notice (77 FR policy, and are presented below along
endangered or threatened throughout a             6138) that extended the comment period with our responses to these comments.
portion of its range, we will use the             an additional 30 days, from February 7,
same standm·ds and methodology that               2012, through March 8, 2012.             A. The Policy Is Not Needed, Needs
we use to determine if a species is                 During the public comment period,      Additional Process, or Legislation Is
endangered or threatened. The                     we received approximately 42,000         Required
identification of an SPR does not create          comments, of which approximately            Comment (1): The Services should
a presumption, prejudgment, or other              41,500 were form letters and             amend the Act to exclude the phrase
determination as to whether the species           approximately 100 were duplicate         "throughout a significant portion of its
in that identified SPR is endangered or           submissions. We received comments        range.''

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   Response: Amendments to the Act are        as the Act advises the Services to do in     parties." They further suggested that a
 outside the scope of this policy. Only       section 4(b)(5](C) with regard to listing    task force should develop and analyze
 Congress has the authority to amend the      decisions.                                   alternatives and present them to the
 Act.                                            Response: As the commenters               public for comment.
   Comment (2): One commenter stated          acknowledge, section 4(b)(5)(C) of the          Response: The draft policy presented
 that the internal review process did not     Act applies only to particular               a detailed discussion of alternatives.
 involve enough pragmatic review.             determinations under section 4(a); it        The notice-and-comment opportunity
   Response: We disagree. A team of           does not apply to generic policies and       provided on the draft policy allowed for
 experienced, informed staff within both      rules promulgated by the Services to         adequate development and review of
 Services spent many hours reviewing          guide implementation of the Act In any       alternatives by affected parties.
 the statutory language, legislative          case, section 4(b)(5)(C) simply states
 history, and case law relating to SPR.                                                     B. The SPR Language PTovides an
                                              that we should give notice of a proposed
The team looked at every practical                                                          Independent Basis for Listing
                                              regulation to such professional scientific
 option of how to address SPR before .        organizations as the Secretary deems             Comment (7): Most commenters who
 developing the draft policy, including       appropriate. We notified professional         addressed this topic agreed that the SPR
 detailed discussion of pragmatic             scientific organizations of our draft         language provides an independent basis
considerations. The team's                    policy and accepted public comments           for listing. One commenter asserted that
 recommendations were reviewed more           from those organizations, as well as all      this interpretation is more consistent
broadly by practitioners and officials at     other interested parties, during the          with both the statutory language and the
both agencies. These reviews took             public comment period.                        spirit of the Act, and will help facilitate
pragmatic considerations into account.          Comment {5): AFWA, the Hawaii               resource adaptation and provide the
Nonetheless, the Services' ultimate           Department of Land and Natural                protections of the Act to more species
decision is also constrained by legal         Resources, the Florida Fish and Wildlife      that need it.
considerations, as detailed above and in      Conservation Commission, and the                 Response: We appreciate the
the draft policy-implementation of the        Washington Department of Fish and             commenters' feedback.
statutory language that is ''pragmatic''      Wildlife recommended that the draft              Comment [8): The Wisconsin
but likely to be rejected by the courts as    policy be referred to the joint Federal/     Department of Natural Resources stated
inconsistent with the statute is not truly    State Task Force on Endangered Species        that interpreting the SPR language as
pragmatic.                                    Act Policy (fTF) for review.                  providing an independent basis for
   Comment (3}: Several commenters,             Response: The Services acknowledged         listing may not be appropriate, and
including the Association of Fish and        the special and unique relationship            suggested (without further explanation]
Wildlife Agencies (AFWA], stated that        between the States, FWS, and NMFS             that other alternatives, such as equating
the draft policy needs significant work      through the formation of the JTF in           the SPR language with the "distinct
and that it is neither necessary nor          2011. However, we had substantially          population segment" language, may be
timely for finalizing at this time. They     formulated the draft SPR policy (the          more appropriate, understandable, and
urged it be given no further                 culmination of a multi-year effort on the     simpler to implement and defend.
consideration until a determination of       parts of the Services, DOl, and DOC)              Response: As indicated in the draft
need and timeliness is concluded.            prior to the formation of the JTF. While      policy (76 FR 76987, pp. 76997-76999),
Another commenter stated there is no         formulating the draft policy predated         we considered a number of other
compelling need to advance a revised         the JTF, we nevertheless briefed the JTF      alternatives, including equating the SPR
definition at this time because the          on development of the draft SPR policy        language with the DPS language. For the
Services have acknowledged that the          prior to its publication, and through the     reasons described there and elsewhere
SPR definition would be only sparingly       JTF and AFWA, we hosted webinars in           in this final policy, we have determined
used.                                        2011 and 2012 with State fish and             that interpreting the SPR language to
   Response: The SPR phrase is integral      wildlife agencies during the public           provide an independent basis for listing
to the Act's definitions of "endangered      comment period to inform the States           is the most appropriate interpretation;
species" and "threatened species,"           and provide opportunities for feedback.       the Wisconsin Department of Natural
terms that are relevant to all listing       The open comment period provided an           Resources comments presented no
determinations. We have not previously       additional opportunity for the States to      analysis that rebutted this conclusion.
provided a joint interpretation of the       comment. We have considered and                   Comment (9): One commenter thought
phrase. In part as a result, we have faced   addressed comments we received from           that separate analyses with respect to
an increasing amount of litigation           the States in the development of this         significant portions of the range would
related to our application of the phrase.    final policy. In light of our ongoing need    create an arbitrary process that is
Therefore, we have determined that we        to have established guidance on this          difficult to understand and explain. The
need to promulgate a binding                 important policy matter to guide our          commenter recommended that the
interpretation of the SPR phrase. This       listing determinations, and in the            Services return to a simpler definition
policy will allow us to more efficiently     absence of discrete concerns raised by        and stated that Congress intended
and consistently carry out our               the States that have not already been         species should be listed when threats
responsibilities under section 4 of the      thoroughly considered, we have                reach a large-enough portion of the
Act and reduce litigation. Although we       determined that the most appropriate          range to affect the entire species.
anticipate that the policy will affect the   course of action is to proceed with              Response: This appears to be an
outcome of only relatively few               finalizing this policy. We will continue      argument in favor of the clarification
determinations, the policy itself will be    to coordinate with the States on              interpretation, which FWS had
relevant to numerous determinations.         application of this policy as needed.         unsuccessfully advanced in the
   Comment (4}: Several commenters              Comment {6): The Arizona Game and          litigation that culminated in the Ninth
recommended that we refer the draft          Fish Department questioned whether            Circuit's Defenders (Lizard) decision. As
SPR policy to a panel comprised of           this policy is necessary in the absence       discussed in the draft policy (76 FR
representatives nominated by scientific,     of ''thorough development and review          76987, pp. 76989-76990) and elsewhere
professional, and conservation societies     of alternatives conducted by the affected     in this final policy, that interpretation

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has been rejected by most courts, and        "portion of its range" language in              the relevant cases have rejected it (76 FR
we have accepted those judicial              section 4(c)(1) meaningless, as such            76987, p. 76992). Also, as discussed
determinations as correctly interpreting     information can, for example, help focus        above, the revised definition of
the statute's language.                      recovery efforts. Moreover, even if it          "significant" in this final policy accords
                                             would have been reasonable to interpret         particular weight to the "all" language
 C. Apply Protections to Entire Species if
                                             the 1972 bill as using the SPR language         because it prescribes that the rangewide
 Listed Because It Is Endangemd or                                                           analysis be done first.
                                             to authorize listings of significant
 Threatened Throughout an SPR                portions of the ranges of species (as             Comment (14): Several commenters
    Comments on the topic of whether to      opposed to entire "species"), the final         agreed with the Services' conclusion
 list the whole species or instead apply     language of the 1973 Act moved the SPR          that the SPR language provides an
 protections only to a portion of the        language to the definitions of                  independent basis for listing, but
 range were split almost entirely by         "endangered species" and "threatened            asserted that adherence to that principle
group affiliation: Environmental groups species," and added the precursor to the            required listing something other than
 asserted that this result was required by DPS language to. address the issue of             the entire species when the species is
the Act and will increase the likelihood listings of less than a species or                  endangered or threatened throughout an
 that the species will be conserved and      subspecies. This revised structure              SPR. They did not explain the basis for
restored; the regulated community and        simply cannot support the                      this assertion.
 States asserted that either the Act        interpretation preferred by these                  Response: We disagree. There is
requires the opposite result, or that it is  commenters, notwithstanding the fact           nothing inherently inconsistent with the
unwise policy to interpret the Act in       that the 1973 Act carried over the               SPR language providing an independent
this way. Responses to more specific        language in section 4(c)(1) referring to        basis for listing and the result being
comments follow.                             "portion of its range." Finally, despite       listing the entire species. In other
    Comment {10): One commenter, while the claim about lack of authority and                words, the SPR language provides an
admitting that the Act and relevant case reasoning, the draft policy cited relevant         independent basis for listing the entire
law prohibits listing distinctions below    case law and provided the Services'             species; there are some circumstances
the subspecies or DPS level, argued that reasoning (see 76 FR 76991-76992). No              covered by each basis that are not
the definition of "species" governs only commenter advanced a clear or                      covered by the other. We discussed our
the taxonomic level of what can be          persuasive explanation of their view            reasons for choosing this interpretation
listed, not where a "species" can be        that our interpretation of any of these         in detail in the draft policy (76 FR
listed.                                     sources or case law is in error.                76987, pp. 76991-76993 and 76999-
   Response: We disagree. The Act's            Comment (12): One commenter                  77000).
limitation of listing solely "species"      asserted that the draft policy was                 Comment (15}: Several commenters
would have no meaning if we                 inconsistent with the requirement of            argued that it is contradictory for us to
interpreted the Act to allow "species" to section 4(b)(1) that listing                      determine that a species does not
be listed or protected only in certain      determinations take into account State          warrant listing rangewide, and then to
places.                                     and local governmental efforts to protect       list it rangewide because it is
   Comment {11): Numerous                   species.                                        endangered or threatened throughout an
commenters opposed to this                     Response: We disagree. Under this            SPR.
interpretation pointed to section 4(c)(1)   policy, those protection efforts still will        Response: Determining that a species
of the Act for support, with at least one   be considered. Those efforts are, of            is not in danger of extinction throughout
arguing that we have misinterpreted the course, relevant to the rangewide                   all of its range is not the same thing as
district court's decision in Defenders of analysis, but they are also highly                determining that there is an absence of
Wildlife v. Salazar. They argued that the relevant to both the questions of                 risk to the species. The species still may
language about specifying "with respect significance of a portion of a range, and           face a sufficient level of risk in portions
to each species over what portion of its    the status of the species throughout that       of its range to warrant listing rangewide.
range it is threatened or endangered"       portion. For example, the Services              This policy conclUdes that, under the
means that a species can be listed and      would consider whether local                    properly construed definitions of the
protected in only a portion of its range.   governmental protections in the portion         Act, a species that is in danger of
They further argued that the                at issue prevented the species from             extinction throughout an SPR does
interpretation in the draft policy writes   being endangered or threatened                  warrant listing rangewide, because it
this language out of the statute. One       throughout that portion, and whether            meets the definition of an "endangered
commenter claims that the Services'         local governmental protections in the           species."
treatment of section 4(c)(1) is "without    remainder of the range would make the              Comment (16}: Two commenters
authority or even reasoning."               population throughout the remainder             sought to analogize to the Act's
   Response: As we indicated in the         sufficiently robust that the portion of         provisions for designation of critical
draft policy, it is a challenge to          the range at issue cannot meet the              habitat as a basis for urging the Services
harmonize the various relevant              standard for being a ''significant              not to apply protections throughout a
provisions of the Act. However, we have portion."                                           species' range. Specifically, they
concluded that section 4(c)(1) of the Act      Comment (13): One commenter                  pointed to the Act's provisions dividing
is a bookkeeping provision, and should      asse:r:ted that our interpretation rendered     potential critical habitat into areas
not be interpreted to change the            meaningless the "all" language in the           occupied at the time of listing and areas
otherwise plain meaning of the              definitions of "endangered species" and         not occupied, and requiring that
operative and definitional provisions of ''threatened species.''                            unoccupied areas be included only if
the Act. The type of information to be         Response: We directly addressed this         the areas themselves are found
conveyed may include, for example,          argument in the draft policy, noting that     , "essential for the conservation of the
whether the species was listed on the       (1) the argument fails to take into             species," as well as the proclamation
basis that it is endangered or threatened account the fact that the Services as a           that critical habitat generally shall not
in a portion of its range, and if so, which practical matter consider a species'            include the entire geographical area
portion. This does not render the           status throughout its range first, and (2)      which can be occupied by the species

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  (see 16 U.S.C. 1532(5)). These                WildEarth Guardians v. Salazar, 2010           for not sufficiently analyzing the
  provisions, they suggested, evince            U.S. Dist. Lexis 105253 (D. Ariz. Sept.        legislative history.
  congressional recognition that it is          30, 2010)), rather than two circuit court        Response: As discussed in the draft
 possible and sometimes necessary to           opinions (Defenders of Wildlife v.              policy (76 FR 76987, p. 76989) and FWS
 limit protections for listed species to       Norton, 258 F. 3d 1136 (9th Cir. 2001),         (2011], aspects of the legislative history
 only certain areas throughout their           and Roosevelt Campobello Inti. Park             support different conclusions. And
 ranges. They urge the Services to              Comm'n v. U.S. Envt'l Protection               although there is some legislative
 conclude from this structure that             Agency, 684 F.2d 1041 (1st Cir. 1982)).         history that suggests that Congress
 Congress would similarly intend for the       Idaho specifically asserted that,               intended to give the Secretaries
 Services to have the ability to tailor the    although the Services referred to               discretion to list less than full biological
 effect of a listing.                          Defenders of Wildlife v. Norton as the          species, it is unclear how that intention
    Response: While it is true that            seminal case, we did not discuss that          relates to the various statutory
 Congress specifically provided that           case's analysis of the legislative history,    provisions (e.g., the definition of
 critical habitat need not be coextensive      which Idaho further asserted supports           "species" versus the definitions of
 with the entire geographical area where       protecting species only in portions of         "endangered species" and "threatened
 a species can exist (except in                their ranges. Commenters also criticized       species") and to the restructuring ofthe
 circumstances where the Secretary             the reasoning of the district court            operative provisions and definitions
 determines that it should), 16 U.S.C.         decisions. Several commenters,                 between the 1972 Nixon Administration
 1532(5)(C], Congress did not include          including Idaho, suggested reinstating         bill and the 1973 Act as passed.
 such specific direction in the provisions     theM-Opinion at least until an appeals         Ultimately, we concluded that it would
 governing listings. Nor does Congress'        court has directly addressed the issue.        not be necessary or particulm·ly helpful
recognition that critical habitat need not        Response: As discussed in the draft         to the public to include in the draft
 cover the full range of a species imply      policy (76 FR 76987, p. 76990) the              policy itself a detailed written analysis
 that the geographic parameters of a          district court opinions represent the           of the legislative history, but we have
 listing also should be flexible; listing     most recent and detailed judicial               made the summary available for public
 provides the fundamental level of            analyses of the precise point at issue.         review.
 protection to the species, whereas           We find the reasoning of these cases to            Comment (21}: Several commenters
 critical habitat's direct legal effect is    be persuasive. In contrast, the language        asserted that FWS has a historical
 limited to application of the destruction    in the circuit court opinions that lends        practice of protecting only portions of
 or adverse modification standard to          some support to the commenters'                 the range of species, citing the examples
Federal agency actions through section        position (that the Secretaries have the         listed in Defenders of Wildlife v. Norton,
 7 of the Act. It is also important to note   authority to list or protect species in         258 F.3d 1136 (9th Cir. 2001); the Idaho
that the SPR analysis is not based on the     only a portion of their range) is dicta         Office of Species Conservation asserted
physical and biological features of the       and appears to be based in part on a           that the draft policy completely ignored
area and is not designed to protect the       misunderstanding of the basis for some         this history. One commenter :fmther
area. Rather, it is based on an               ofFWS' earlier listings. We conclude           stated that if the authority for these
assessment of the biological importance       that both the·First and Ninth Circuits         listings was not section 4(c](1) (with
of the members of the Species in an area      would likely adopt conclusions                 respect to SPRs) of the Act, the Services
to the overall listed entity.·                consistent with the district court             must explain what statutory basis other
    Comment ( 17): One commenter              opinions, were the issue now directly          than section 4(c)(1) of the Act
asserted that the import of the 1978 and      presented to them. The Department of           authorized the partial protections
1979 amendments to the Act and the            the Interior has withdrawn and no              provided in those examples.
wolf and Gunnison's prairie dog district      longer supports the reasoning of theM-             Response: Contrary to Idaho's
court opinions was that the Act does not      Opinion. For this reason, we think it          assertion, we directly referred to the
allow listing of something ''smaller''        would be wasteful, inefficient, and            examples listed in Defenders in
than a DPS-doing so would render the          unwise to pursue further litigation in         explaining that the draft policy did not
DPS language superfluous. The                 support of this aspect of the M-Opinion.       conflict with established agency
commenter suggested, however, that the           Comment (19): One commenter                 practice. The draft policy concluded
Services could still limit a listing to an    suggested that two additional district         that those listings could also be
SPR if that SPR was "larger" than the         court cases support this aspect of the         explained as relying on the authority of
range occupied by a DPS.                      draft policy: In m Polar Bear                  the DPS language in the definition of
    Response: The SPR and DPS                 Endangemd Species Act Listing and              "species" or the precursor to that
authorities m·e distinct: DPSs do not         §4(d]RuleLitigation, 794 F. Supp. 2d           language (76 FR 76987, pp. 76992-
have to be a particular size, and             65, 96 n.38 (D.D.C. 2011], and Center for      76993]. The draft policy (76 FR 76987,
therefore we cannot mathematically            Native Ecosystems v. Salazar, 795 F.           p. 76988) also explained that prior to
compare the size of an SPR to that of a       Supp. 2d 1236, 1240 (D. Colo. 2011).           and in the years following the issuance
DPS. As discussed elsewhere, however,            Response: We agree, but because these       of the DPS Policy (61 FR 4722, February
if the population within the SPR              cases cite the cases we discussed              7, 1996) the Services had generally
qualifies as a valid DPS, we will list the    without additional analysis, we focused        understood (although not expressly
DPS, rather than the entire "species" of      on the other cases.                            articulated) that, given the Act's
which the SPR is a part.                         Comment (20): Several commenters            definition of "species," the only way to
    Comment (18): Several commenters,         argued that the legislative history            list less than a taxonomic species or
including the Idaho Office of Species         clearly supports interpreting the Act to       subspecies was as a DPS. For example,
Conservation, questioned the propriety        allow the Services to list just a portion      on April 28, 1976, FWS listed the U.S.
of the Services relying on two district       of tho range of a species. Other               population of a subspecies of the
court opinions (Defenders of Wildlife v.      commenters pointed to legislative              Bahama swallowtail butterfly (41 FR
Salazar, 729 F. Supp. 2d 1207 (D. Mont.       history that supports the contrary             17736). When the Act was amended in
2010), vacated, 2012 U.S. App. Lexis          position. The Idaho Office of Species          1978 to limit population listings only to
26769 (9th Cir. Nov. 7, 2012), and            Conservation criticized the draft policy       vertebrates, the Service removed the

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population because it did not qualify as  Fish and Game given its isolation from        throughout all of the range may lead to
a "species" under the revised definition the contiguous 48 States.                      recovery. This may occur if the
 (49 FR 34501, August 31, 1984). Thus,       Response: A species would only be          conservation status of the members in
past practice indicates FWS did not       listed because of its status throughout      the remainder of the range is improved
believe the Act allowed listing units     an "isolated area" if that area was           such that the endangered or threatened
below taxonomic species or subspecies,    "significant" (i.e., the contribution of     portion of the range loses its
except (after 1978) in the case of        the members ofthe species in that             significance. For instance, the resiliency
vertebrate DPSs.                          portion of its range to the viability of the and redundancy of the remainder of the
   Comment (22}: Several commenters,      species was so important that, without       range may be increased through
including several States, argued against  that portion, the species would be in        conservation actions to the point that
a one-size-fits-all approach, noting that danger of extinction or likely to become the endangered or threatened portion of
various provisions of the Act provide     so within the foreseeable future). In that the range's relative contribution to the
the Services with flexibility. They noted unlikely circumstance, listing the           viability of the species is reduced, and
that the flexibility provided by allowing species throughout its range is              the status of the species in the
the listing of a species in a portion of  appropriate and consistent with the          remainder of the range is not dependent
its range (with the remainder unlisted)   statutory language. Similarly, if a          on the portion of the range in which the
would also recognize the States' role in  species is "thriving and well managed"       species is endangered or threatened. In
managing fish and wildlife populations    in some portion of its range, in most        other words, the remainder of the range
within their borders, and would provide circumstances the other parts of its           may become secure enough that it
an incentive for States to conserve       range would not be "significant" as          would not qualify as endangered (or
imperiled species. In contrast, the       defined in this policy, and would be         threatened) even in the absence of the
approach in the draft policy was          listed, if at all, only under om· authority  portion   of the range that was
described by one commenter as "heavy      to list DPSs.                                endangered or threatened at the time of
                                             Comment (24): Several commenters,         listing.
handed" and likely to generate
                                          including the Hawaii Department of              Comment (26): One commenter agreed
increased animosity towards the Act.
                                          Land and Natural Resources, suggested        that the issue is a difficult one, and
Another commenter suggested that
                                          that listing only the endangered or          expressed no opinion as to the right
being endangered or threatened            threatened portions of the range of a        interpretation. The commenter did
throughout an SPR should result in a
                                          species would allow the Services to          suggest that listing the species
rangewide listing only if protective      focus their limited resources where they rangewide would be consistent with the
actions anywhere in the range would       can be most effective in furthering the      "precautionary principle" and scientific
reduce the threat of extinction in the    purposes of the Act, and that listing        principles of conservation biology, but
SPR, an assumption that may not be        rangewide would be inequitable to            recognized that rangewide listing ''will
valid in all cases.                       stakeholders in the remainder of the         likely result in unintended
   Response: Although we agree that in    range.                                       consequences that may be contrary to
a number of areas Congress provided the      Response: Although we acknowledge         congressional intent . . . and may result
Services with administrative flexibility, that focusing conservation efforts on the in the [Act) being applied to protect
that flexibility derives from particular  most imperiled portions of a species         populations where those protections are
statutory language. As discussed in the   range is one of the benefits of              not needed." The commenter, however,
draft policy, here the better reading of  interpreting the Act to allow for listings   expressed the opinion that the Services
the relevant statutory language (and the  of portions of ranges, there are also        should not even attempt to answer this
only one permissible under prevailing     benefits of the contrary interpretation      question in a policy defining
case law, as discussed previously) is     (76 FR 76987, pp. 76991-76993].              "significant," as doing so injects
that Congress did not intend to allow     Moreover, as discussed elsewhere (76         considerations of economic and
partial listing of "species." Regarding   FR 76987, p. 76992], we have concluded regulatory consequences in conflict with
providing an incentive to States to       that requiring rangewide listings is the     the mandate of section 4(b] of the Act
conserve imperiled species, we            best way of harmonizing the various          that listing decisions be based solely on
recognize that in some circumstances      provisions of the Act. And, as also          the best scientific and commercial data
allowing protection only in certain       discussed elsewhere (76 FR 76987, p.         available. Therefore, the commenter
portions of the range would provide a     77004), we will use what discretion is       suggested removing this section of the
stronger incentive to States. However,    available to us to focus conservation        draft policy.
under this policy States will have an     efforts on the areas where those efforts        Response: Section 4(b)(1) of the Act
incentive to conserve species, as State   are most likely to lead to recovery of the requires the Services to "make
conservation efforts are relevant to both species.                                     determinations required by subsection
listing and delisting determinations         Comment (25): One commenter stated (a)(1) solely on the basis ofthe best
under section 4(b)(1) of the Act.         that interpreting the Act to tie the hands scientific and commercial data
   Comment (23): One commenter            of the Secretary to impose protections       available." Section 4(a](1) governs
suggested that, taken to its logical      that apply no additional benefit is          indiVidual listing determinations. The
conclusion, the draft policy would mean indefensible.                                  commenter failed to recognize that
that any time a species is endangered or     Response: We disagree that rangewide defining "significant" is not itself a
threatened "in some isolated area," it    listing will provide no additional           listing decision; rather, it is an
could be listed throughout its current    benefit. We recognize that, in most          interpretive exercise with legal, policy,
range. The Florida Fish and Wildlife      cases, the key to recovery of a species      and biological components. In other
Conservation Commission expressed         listed because it is endangered or           words, the policy is not a
concern that listing would be required    threatened throughout a significant          ''determination[] required by subsection
eVen if a species is "thriving and well   portion of its range will be to reduce the (a](1]," and therefore section 4(b)(1)
managed in some portion of its range."    threats in that portion, so that it is no    does not by its own terms apply to the
Other States expressed similar concerns, longer endangered or threatened there.        policy. In resolving ambiguities in the
particularly the Alaska Department of     But, in some cases, protections              Act and providing guidance for its

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 implementation, it is lawful and              should issue a separate policy for         questioned how the Services will make
 completely appropriate for the Services       foreign species to take into account      these determinations. For example, the
 to consider a wide variety of factors.        foreign programs and practices and        Nevada Department of Wildlife
    Comment (27): One commenter                congressional language not to list areas  questioned whether decisions based on
 suggested that if the final policy also       that do not themselves warrant being      an analysis of biological significance
 concluded that an entire species must         listed.                                    (based on the principles of conservation
 be listed if endangered or threatened            Response: We disagree. The standards   biology using the concepts of
 throughout an SPR, then that authority        for listing are the same for domestic and representation, resiliency, and
 should be used sparingly.                     foreign species, although the nature of   redundancy (the three Rs)) can be
    Response: We agree that rangewide          the data to be analyzed can differ.       articulated and supported in a manner
 listings should not be made lightly, and     Moreover, as discussed in the draft        that will be able to withstand
 as discussed in the draft policy (76 FR       policy, our policy stipulates that if an  challenges. The Idaho Department of
 76987, p. 76995) and above in the II.        endangered or threatened SPR of a          Fish and Game found it difficult to
 Changes from the Draft Policy section,       species also qualifies as a DPS, we will   imagine the multitude of potential
 part of our reasoning for adopting the       list the DPS rather than the entire        analyses of different geographically
 relatively high standar·d of this final      taxonomic species or subspecies. This      based configurations of how much of
 policy for the definition of "significant"   treatment is consistent with the           the taxonomic species' range is required
is to avoid unnecessary regulatory            commenters' examples and maintains         to meet the threshold of "significance."
burdens. However, we have a duty to           the full flexibility of the DPS authority  The Hawaii Department of Land and
apply the Act's definitions in the            to apply differing statuses across the     Natural Resources was concerned that
context of the best available scientific      range of a vertebrate taxon comprising     the biological basis may be too
and commercial information in each            multiple DPSs, including those that        subjective. It was unclear to another
case and must not hesitate to use the         qualify as DPSs based on different         commenter how a species with a
authority where appropriate.                  management across international            metapopulation structure throughout all
    Comment (28): One commenter               boundaries. Thus, our SPR policy           of its extant range would be affected by
suggested that when a species is              honors congmssional intent that            the proposed interpretation.
endangered or threatened throughout an        suggests we should apply differing            Response: Although these
SPR outside of the United States, that        statuses for species across international  determinations are necessarily
the U.S. population should not be             boundaries if there are differepces in     subjective to some degree, we will make
included in the listing.                      management.                               them based on the best available
   Response: As the commenter pointed             Comment (30): Colorado Parks and       scientific and commercial data. Our
out, the draft policy is silent as to the     Wildlife commented that it would be       expertise and experience uniquely
effect of jurisdictional boundaries on the    unreasonable to list the Gunnison's       qualify us to make these sorts of
operation of the SPR language. There is,      prairie dog rangewide if the prairie      determinations. The biologically based
however, a good reason for this: Section      portion of its range does not warrant     definition of "significant" requires the
4 of the Act makes no reference to any        listing itself, and if adequate           same types of analyses that we already
different treatment of species found          mechanisms do not exist for the           conduct, and we are confident that we
outside of the United States. Rather, it      recovery of the montane population,       can apply this standard in a manner that
only specifies notification requirements      which is subject to much greater threats. will be able to withstand challenges.
to foreign governments, and clarifies            Response: On November 14, 2013,        With regard to the concern about the
that the conservation efforts of those        FWS published (78 FR 68660) a not-        multitude of potential analyses that
governments should be considered in           warranted finding for Gunnison's prairie  would be required, we acknowledged
making listing determinations. That           dog consistent with application of the    this in the draft policy, and explained
said, as indicated in the draft policy (76    principles laid out in this policy.       how our process for considering SPRs
FR 76987, p. 77003) and elsewhere here,                                                 would address that concern (76 FR
if an SPR that warrants listing also          D. The Biological Basis for "Significant" 76987, p. 77002). The process we
qualifies as a DPS, we will list the DPS,        Comment (31): Most commenters,         outlined is appropriate for species with
including those with boundaries that          including the Wisconsin Department of a metapopulation structure throughout
correspond with international                 Natural Resources and Idaho Office of     all of its extant range, since a
boundaries.                                   Species Conservation, supported the       metapopulation is a group of spatially
   Comment (29): One group of                 biological basis for the definition of    separated populations of the same
commenters opposed application of the         "significant." One noted that a           species that interact at some level. One
policy to foreign species. The                percentage-of-range test departs from     or more of these populations can
commenters asserted that the                  the biological conservation of listed     constitute an SPR.
conservation considerations for foreign       species and the "best science" features       Comment (33): Several commenters
species are very different than those for     of the Act, and moves away from the       supported the biological basis of the
domestic species. The commenters were         areas of expertise of Service biologists. definition of ''significant,'' but asked
particularly concerned that rangewide         Another thought size of the portion       how we will determine that the threats
listing resulting from application of the     would be most straightforward, but        in a portion are so "significant" as to
draft policy would interfere with sport-      acknowledged that size will not always    warrant a listing determination based on
hunting programs in countries that            be directly related to biological/        an SPR.
manage a species well, and provided           conservation importance, which matters       Response: The commenters' question
several existing examples of FWS              most when trying to conserve              goes to the second step of the SPR
providing a species with different listing    endangered and threatened species.        analysis, which asks whether a species
statuses in different countries. The            Response: We appreciate the             is endangered or threatened throughout
commenters also asserted that the DPS         commenters' constructive feedback.        an SPR. We will make these
concept is not an adequate safeguard to         Comment (32): Several commenters        determinations in the same way we
prevent that interference. One                supported the biological basis for the    determine whether any species is
commenter stated that the Services            definition of "significant," but          endangered or threatened. The only

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 difference in these determinations is           In evaluating the status of species, the      biological principles that we will
 that they will be made with reference to        Services encounter species with a wide        consider when evaluating whether a
 the members in a smaller portion of the         range of life histories, circumstances,       portion's contribution to the viability of
 species' range. We do not ask whether           and varying levels of data quality and        a species is so important thatr-without
 the threats acting on the portion aJ'e          quantity. Because of this, it is not          the members in that portion, the species
 ''significant,'' but whether they cause         possible to lay out a single set of           would be in danger of extinction or
 the species to be either in danger of           specific criteria in this policy. Analyses    likely to become so within the
 extinction or likely to become so within        will necessarily be species-specific and      foreseeable futme already incorporate
 the foreseeable future throughout that          will rely on the best scientific and          the concepts suggested by these
 portion.                                        commercial data available for that            commenters because it is impossible to
    Comment (34): One commenter                  species. However, as explained in the         separate these habitat concepts from the
 suggested that we include the more              draft policy (76 FR 76987, p. 76994), the     species' needs. These concepts will be
 detailed language about the three Rs and        framework of the three Rs and four            reflected in the viability of the species.
 four viability criteria (abundance,             viability criteria include considerations        Comment (39}: A number of
 spatial distribution, productivity, and         such as spatial distribution, abundance,      commenters argued in favor of using
 diversity) in the definition itself, instead    and genetic diversity. Where we have          other factors (e.g., size, esthetic,
 of only in the preamble, to ensure that         quantitative data, we may be able to use      ecological, educational, recreational,
the definition is more specific and less        PVAs or population modeling. In less           cultural, U.S. presence) to define
 open to interpretation and debate.              data-rich situations, we will use             "significant" instead of applying a
 Otherwise, "in danger of extinction"            qualitative methods. In the response to       purely biological/conservation
 will be difficult to apply consistently.        Comment 84 below, we provide an               approach. For example, South Dakota
    Response: We disagree. A succinct            example of the application of this            Game, Fish and Parks suggested that we
policy statement is beneficial both to the       framework to the Queen Charlotte              include both the options of conservation
 Services and the public, and additional        goshawk. In that analysis, we                  value and size for defining
guidance is available by referring to the       specifically considered geographic             "significant," and another commenter
preamble. If we determine that it would         barriers and genetic diversity in our          stated that percentage of range and
be helpful to do so in the future, the           evaluation of whether portions of the         percentage of population should be
 Services may develop internal guidance         species' range could be "significant."         required components of a science-based
that would include such details to help            Comment {37): A few commenters,            SPR analysis throughout all ecotypes
their biologists implement the policy.          including the Alaska Department of Fish        within the species' current and
    Comment {35): One ·commenter was            and Game, recommended changing the             historical range. Other commenters
concerned about the emphasis placed             definition of significant to read, ''A        preferred that we base our approach on
on the term "viability" because this            portion is 'significant' in the context of    the "Values ofthe Act" so that we can
term is not defined.                            the Act's 'significant portion of its         retain broad discretion to determine that
    Response: We use the term to describe       range' phrase if its contribution to the      a particular portion of a species' range
conservation biology principles, as it is       viability of the species is so important      should be deemed significant based on
a common term in the field of                   that, without the individuals in that         the specific national "values" set forth
conservation biology. "Viability" is the        portion, the species would be in danger       in the Act itself.
ability of a population to persist and          of extinction." The commenters                   Response: We considered these
avoid extinction. The viability of a            suggested that this would eliminate           factors as well as other factors when we
population will increase or decrease in         confusion that could arise from the fact      were developing the draft policy (76 FR
response to changes in the rates of birth       that "range" usually refers to a               76987, pp. 77000-77002). However, we
(or germination), death, immigration,           geographic area rather than the               concluded that a biological/
and emigration of individuals.                  individuals in that area.                     conservation importance approach
    Comment {36): One commenter                    Response: The commenters are correct       would result in us applying protections
wondered how the Services will                  that Olil' determinations are made with       and resources to portions that are
determine what will constitute a                reference to the biological organisms,        biologically important and in need of
significant portion of the range for            not the geographic area. Therefore, we        conservation, consistent with the
plants with disjunct distributions. What        changed the definition of "significance"      purposes of the Act. An approach that
criteria will we use (genetic data,             to clarify that "that portion" refers to      is based on biological importance
population viability analysis (PVA),            members of the species in the portion of      necessarily includes consideration of
population modeling, or other                   the range.                                    factors such as size of the population,
methods)? The commenter was                        Comment {38): Two commenters               spatial distribution across ecotypes, etc.
concerned that genetic diversity may be         suggested the following modification to       Such a biological approach is most
lost if the "significance" of a portion of      our definition of "significant": "In          appropriate because the Act focuses on
a plant species' range or genetic               implementing the assessment of a              protecting species, and to protect
diversity or both across its range is not       portion of a range's ·contribution to the     species requires that we assess whether
adequately investigated and understood.         viability of a species, the Services shall    they are biologically viable. The
The commenter also opined that climate          identify and explain those physical           commenters did not present a clear
change (changing precipitation patterns         attributes and biological elements that       explanation or rationale for why or how
and temperature regimes) may increase           are present in the species' occupied          non-biologically based factors would be
the significance of populations located         range and are so integral to the life cycle   better than a biological/conservation
at the extremes of a species' range             of the species that they make a unique        approach.
because those populations may make              and irreplaceable contribution to the            Comment (40}: The Kalispel Tribe of
disproportionately high contributions to        species' ability to survive."                 Indians suggested a hybrid approach,
the total adaptive capacity of species.            Response: The biologically based           incorporating both the biological/
    Response: All of these considerations       definition in our draft policy refers to      conservation importance and the values
are subsumed within om evaluation of            the biological organisms, not the             identified in section 2 of the Act Under
the three Rs and fom viability criteria.        geographic area. Regardless, the              this approach, if a portion is

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 "significant" for biological or                Another commenter recommended that            parts of its range to the species and the
 conservation reasons, the portion would        we revise the draft policy by defining         ecosystem, and consider its resilience or
 be a "significant portion of [the species']    the word "significant" in a way that          potential to adapt in response to rapidly
 range"; if not, the Services would, in         recognizes the ecological significance of·    changing environmental conditions;
 consultation with the affected Tribe,          various parts of a species' range to the      there is no need to revise the draft
 look to whether that portion is                species and the ecosystem, does not           policy to recognize this. In response to
 ''significant'' because of the values          diminish the species' resilience or           this commenter's recommendation that
 articulated by tbe Act (e.g., cultW'al,        potential to adapt in response to rapidly     we consider the possibility for low-
 historical, educational). If the portion is    changing environmental conditions, and        quality areas to become good habitat,
 important because of any of these              does not fule out the possibility that        nothing in our policy precludes us from
 values, it would then be "significant."        areas that do not now constitute good         considering the dynamic ecological and
    Response: All of the reasons we gave        habitat might become so as a                  evolutionary processes that lead to these
in the draft policy (and in response to         consequence of the same processes that        changes in habitat quality when
 Comment (39}, above) for not applying          are causing the loss or degradation of        determining whether a portion of the
 a values approach (76 FR 76987, p.             presently occupied areas. As an               range of a species is significant.
 77001) apply as well to tbe hybrid             example, this commenter suggested that           Comment (43}: One commenter stated
 approach suggested by the Kalispel             the loss of a large whale population          that the draft policy equates
Tribe. Therefore, we concluded that the         from an ecosystem (i.e., Gulf of Alaska,      ''significant'' only with ''biological
biological/conservation approach                Bering Sea, or Sea of Okhotsk) would be       viability" when it should be focusing on
 should be used alone in determining            significant at the species and ecosystem      viability and geographic representation.
whether a portion of the range of a             level, and therefore, this loss could be      Another commenter stated that
species is significant.                         considered a loss from an SPR.                "significant" should be defined to
    Comment (41): One commenter                 Similarly, this commenter argued that         include a geographic component that is
suggested that a variety of factors should     portions of a species' range that are         related to but not subsumed by viability,
be used to determine the significance of       important for supporting vital functions      citing Congressional Report No. 93-412,
a portion of the range of a species,           such as reproduction, feeding, and            historical application of the Act, and
including whether that portion supports        refuge from predators could reasonably        peer-reviewed assessments (yucetich et
unique habitats or adaptations for the         be considered SPRs. This commenter             a!. 2006 and Carroll eta/. 2010) to
species, and whether its loss would             emphasized the importance of                 support its claim. Another commenter
result in a significant gap in the species'    preserving the populatiOns' capacity to       notes that species cannot be effectively
range.                                         adapt to changing environmental               protected without protecting the
    Response: Unique adaptations are                                                         habitats and ecosystems on which they
                                               conditions by not allowing a population
incorporated in the three Rs or four                                                         depend and without considering the
                                               to decline as a result of human impacts
viability criteria. Since the Act is a                                                       species' integral ecological processes;
                                               tluoughout an SPR.
species-focused law (rather than                                                             this commenter supported the use of the
ecosystem-focused), incorporating the             Response: We explained our rationale       conservation-biology principles of
concept of "unique habitats" is not            for choosing a biologically based             resilience, representation, and
appropriate unless the species' presence       definition of "significant" in detail in      redundancy, but believed that our focus
in that habitat contributes to its             the draft policy (76 FR 76987, pp.            on species viability as the sole criterion
resilience. Evaluating whether the loss        76993-76994 and 77001). A biologically        for listing contradicts these three
of the portion would result in the             based definition best conforms to the         principles. As an example, this
species being endangered or threatened         purposes of the Act, is consistent with       commenter argued that misinformed
already captures the commenter's               judicial interpretations, and best            and harmful ''mitigation'' for a proposed
suggestion of evaluating whether its loss      ensures species' conservation. While          groundwater-pumping-and-exportation
would result in a significant gap in the       one of the purposes of the Act is to          project would be allowed under the
species' range. We deliberately chose          provide a means whereby the                   species-viability focus in our proposed
not to use the phrase, "significant gap        ecosystems upon which endangered              approach.
in the species' range" because that is a       species and threatened species depend             Response: As we discussed in the
factor in the DPS Policy, and                  may be conserved, the Act provides for        draft policy, we consider the
"significant" in the SPR phrase is not         protecting listed species and their           conservation-biology principles (three
the same as "significant" in the DPS           critical habitat, not ecosystems.             Rs or four viability criteria) when
Policy.                                        Therefore, we declined to reword our          evaluating whether a portion is
    Comment (42): Several commenters           draft policy to incorporate ecoregions or     significant (76 FR 76987, p. 76994).
recommended that we incorporate                ecosystem units, although we note that        Consideration of these principles
ecosystem principles into our definition       extirpation of a species from an              necessitates an evaluation of geographic
of "significant." For example, one             ecoregion or ecosystem unit can be a          representation as all of the three Rs
commenter recommended rewording                relevant consideration under the policy,      (resilience, representation, and
the definition of ''significant'' so that      even if not dispositive. With regard to       redundancy) and the spatial distribution
when the loss of a portion of a species'       the comment that an ecosystem-unit            criterion (one of the four viability
range would result in the extirpation of       assessment provides for a meaningful          criteria) include geographic
that species from a defined ecoregion or       distinction between the concept of            components. While one of the Act's
ecosystem unit, then that portion is           endangered throughout an SPR and              purposes is to provide a means whereby
significant to the species and the species     threatened throughout an SPR, the             the ecosystems upon which endangered
must be protected under the Act. The           commenter did not explain how this            and threatened species depend may be
commenter further argues that an               would be provided, and therefore, we          conserved, the actual, operational
ecosystem-unit assessment provides for         cannot offer a response. When                 provisions of the Act are explicit! y
a meaningful distinction between the           determining whether a species is              species-focused and do not specifically
concept of endangered throughout an            endangered or threatened, we recognize        provide for protection of ecosystems
SPR and threatened throughout an SPR.          the ecological significance of various        (though critical habitat designation

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  offers some protection). However, the        populations that are facing significant   of the threatened standard in the
  species' integral ecological processes are threats receive protection under the Act,   definition of "significant," in our draft
  considered in any evaluation of the          but we do not believe ''meaningfully      policy we also concluded that the use of
  status of a species. With regard to the      compromise the redundancy, resiliency,    the endangered standard was more
  comment expressing concern about             or representation for the species as a    straight-forward. However, for the
  harmful ''mitigation'' resulting from our whole" is an appropriate and clear           reasons discussed in sections II. and
  draft policy, the commenter did not          standard. In addition to its ambiguity,   IILC.3., above, we now conclude that it
  explain the connection between this          the recommended threshold would           is more appropriate to include the
  concern and our draft policy. However,      appeal' to set an inappropriately low      threatened standard along with the
 we disagree that there would be any          standard for "significant" given the       endangered standai·d in the definition of
 harmful mitigation as a result of             effect of finding that a species is       "significant," and have done so in this
  implementing the policy                      endangered or threatened throughout an    final policy.
                                              SPR, i.e., rangewide listing. For the
 E. The Threshold for "Significant"                                                       F. Quantitative Approaches or
                                              reasons discussed above, we have
    Comment (44): A number of                                                             Rebuttable Pmsumptions To Determine
                                              lowered the threshold for
 commenters supported a lower bar that                                                     Whether a Pmtion is "Significant"
                                              "significance," but we decline to adopt
 would include "threatened." Arguments this recommendation. We do not agree                  Comment (47): One commenter asked
 offered in favor of tbis include: (1) A      with the commenter who asserted that        us to rescind the draft policy and
 recommendation to apply the                  we are giving economic impacts of           instead adopt one that considers the
 precautionary principle and protect          listing species too much emphasis and       plain meaning of significance of the
 species before they become endangered        not giving conservation success enough      range in terms of the majority of the
 (when it is too late) and species            emphasis. We developed our policy by        range as measured in quantitative or
 recovery becomes more costly; and (2)        examining the Act, its legislative          numerical terms. However, most
 concern that the draft definition does       history, and case law, and the result is    commenters, including the Wisconsin
 not provide a meaningful distinction         a policy that balances the need to give     Department of Natural Resources,
 between when a species is endangered         full meaning to both "throughout all of     Hawaii Department of Land and Natural
 throughout an SPR and when a species         its range" and "throughout a significant   ResoUl'ces, and Alaska Department of
 is endangered throughout all its range       portion of its range" while affording      Fish and Game, agreed with us that a
 (citing Defenders (Lizard)).                 appropriate protections to species.         quantitative approach or rebuttable
    Response: Although we disagree with          Comment (46): Many commenters,           presumption should not be used for
 the assertion that the precautionary         including the Idaho Department of Fish      determining whether a portion of a
principle should be applied to listing        and Game, Alaska Department of Fish        species' range is significant. Many
 determinations under section 4 of the        and Game, Wisconsin Department of          commenters noted that a single metric,
Act (see CBD v. Lubchenco, 758 F.             Natural Resources, and Hawaii              percentage, or other quantitative
Supp. Zd 945, 955 (N.D. CaL 2010)), as        Department of Land and Natural              measure should not be used to establish
discussed above, this final policy adopts Resources supported the high threshold         a presumption for ident~fying an SPR.
the standard suggested by these              for "significant" in the draft policy. A    Instead, they suggested that we must
commenters. See section II. Changes          few argued that introducing the             draw upon those myriad factors specific
from the Draft Policy, above.                 consideration of whether a species is       to the species and the portion of the
    Comment (45): Two commenters              "likely to become endangered" as part      range at issue to determine whether that
stated that the threshold in tbe draft        of identifying a "significant portion"     portion meets the threshold for
policy was too high and would result in would confuse the purpose of the                 identification and review under the SPR
decreased protections for species with       identification of an SPR. Another stated    inquiry.
important populations that are facing        that the use of the endangered standard        One commenter added that, based on
significant threats. They expressed          would provide a more straightforw8l·d       research indicating variation in habitat
concern that many populations                approach for determining if a species'      quality and productivity at the scale of
important to the redundancy, resiliency, range is "significant" because it would         the species' range, percentage of range
and representation within the species        avoid adding the temporal element of        or population is an unreliable indicator
will not warrant protection. The             the threatened standard. The commenter      of biological or conservation
commenters proposed that a population also suggested that use of a higher                significance. Therefore, a rebuttable
be considered "significant" if its loss      standard lessens the risk of unnecessary    presumption would be either overly
would ''meaningfully compromise''            species listings that would result in       strict in many instances, would
redundancy, resiliency, or                   application of the Act's protections        somehow result in "shifting to the
representation for the species as a          across the species' range.                  public" an assessment the Services are
whole. Tbey suggested that this would            Response: We do not think               better equipped to make, or would be
ensUTe that all species are represented      introducing the consideration of            generally under-protective. Another
by multiple viable populations               whether a species would meet or exceed      thought using percentage of range or
distributed across the range of variation the standard for threatened as part of the     habitat as the threshold for "significant"
of that species including geographic,        threshold for "significant" confuses the    is appealing because it is more tangible
ecological, and genetic variation.           purpose of the identification of an SPR.    and objective, but admitted that it is
Another commenter agreed that the            Determining whether a portion is            likely to be impossible to develop size-
threshold was too high, and asserted         "significant" is a separate exercise from   based criteria that will work for all
that the Services are giving economic        determining whether the members of          possible scenarios. Another pointed out
impacts of listing species too much          the species in that portion meet the        that a predetermined percentage of the
emphasis and not giving conservation         status test of "endangered" or              species' overall range should not be
success enough emphasis.                     ''threatened.'' The inquiry assumes that    used to define "significant"; significant
    Response: We agree that the threshold all members in that portion are                reduction in a species' range,
should be lower than in the draft policy extirpated, without reference to a              particularly when coupled with reduced
to ensure that species with important        particular point in time. Regarding use     abundance, could be a sufficient basis

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for listing even if that portion fails to    G. Range and Historical Range                  additional support in other provisions
meet some predetermined percentage of           Comment (48): Many commenters               of the Act and other case law for the
the species' range.                           appeal'Bd to believe the policy would         policy's interpretation that "range"
                                              limit protections of a species to only the    must mean current range.
  Two other commenters noted that the                                                         Response: We appreciate the
use of size (either of a population or a      range occupied at the time of listing.
                                                                                            commenters' supportive feedback.
range) as a rebuttable presumption           Other commenters recommended we                  Comment (51): One commenter
would provide a quantitative measure          explain that "range" is not a regulatory      suggested the Services more clearly
that could be easier to apply as a first     concept.                                       make a distinction between the roles of
cut, but acknowledge that it could              Response: The Services noted in the         SPR and consideration of lost historical
ultimately complicate the issue rather       draft policy that our interpretation of       range. Further, the commenter
than streamline the process because it       the term "range" does not limit               recommended that the Services explain
would not take into account species-         application of the tools and protections      that SPR concerns the biological
specific characteristics, and determining    of the Act (76 FR 76987, pp. 76997 and        significance of a portion of currently
what is necessary to rebut the               77003-77004). However, in this final          occupied range, while loss of historical
                                             policy, we have further clarified that the    range is a factor in determining whether
presumption would be problematic.
                                             term "range" is relevant to whether the       a species is currently viable.
They concluded that the use of the size
                                             Act protects a species, but not how that         Response: We have added further
approach, and necessary size-threshold
                                             species is protected. We note that the        explanation of the roles and
determination, would be mbitrary and         protections of the Act are applied "to all
likely impossihle to apply in a                                                            relationships of SPR and lost historical
                                             individuals of the species, wherever          range in determining the status of a
consistent or systematic manner. They        found," the phrasing used in 50 CFR
agreed with us that percentage of range                                                    species.
                                             17.11(e) and 17.12(e).                           Comment (52): Many commenters
or population as a rebuttable                   Comment (49): Many commenters              believe that defining "range" as the
presumption would be inconsistent            believe that the policy would result in       current range accepts that lost historical
with case law (the Ninth Circuit has         the Services giving no consideration of       range is unrecoverable and that it would
already rejected the argument that a         loss of historical range or reasons for its   limit options going forward for recovery.
specific percentage loss of habitat          loss in our listing determinations.           Some have suggested that defining
should automatically qualify a species       Several commenters believed that              "range" as current range would exclude
for listing (Defenders (Lizard], 258 F. 3d   defining range as cmrent range would          from conservation and protection efforts
at 1143-44)).                                result in a "shifting baseline.''             any areas from which a species has been
   Response: In view of the comments         Commenters assumed that we would              extirpated.
received and the complications               establish the current range as the               Response: We explained in the draft
identified in the draft policy, we have      baseline for comparison of a species'         policy (76 FR 76987, p. 76997) and in
concluded that it is not feasible to         status without consideration of               section III.D., above, that examining a
implement a purely quantitative              historical information to provide             species' status in its cUI'rent range in no
approach. The Services specifically          context to interpret the species' current     way constrains or limits use and
contemplated the pOssibility of using a      status.                                       application of the tools ofthe Act to the
quantitative threshold for "significant"        Response: As explained in the draft        current range of the species. Such tools
when we considered uSing size as a           policy (76 FR 76987, pp. 76996-77007),        include, but are not limited to,
                                             loss of historical range, its impact on the   designation of critical habitat outside
basis for determining significance. We
                                             current and futUTe viability of the           areas occupied by the species at the
specifically rejected using size because
                                             species, and its causes are important         time it is listed; protection, restoration
a single quantitative threshold would be
                                             considerations in determining a species'      and management of habitat to allow for
unlikely to he applicable to the widely
                                             status. While the definition of "range"       natural range expansion; improvement
varying life histories, habitats, and        establishes that the question of whether      in population growth rates to allow for
needs of the species for which we            a species is endangered or threatened is      natural expansion; and translocation
conduct status reviews. We also              a forward-looking inquiry, nothing in         and reintroduction to areas outside the
specifically requested comment on the        the policy suggests that cUTrent range        current range of the species (e.g.,
possibility of developing a specific         would be used as the baseline against         California condor, black-footed ferret,
quantitative threshold for significance      which to measure whether a species is         peregrine falcon). We specifically note
that could be used as a rebuttable           endangered or threatened. In fact,            that recovering a species in some or all
presumption to streamline and simplify       because asking whether a species is           of its historical range may be necessary,
our analyses and provide for greater         currently in danger of extinction or          and that the language of the Act
transparency' (a rebuttable presumption      likely to become so is a forward-looking      indicates Congress specifically
would provide a standard quantifiable        exercise, there is no specific "baseline"     contemplated this necessity. However,
threshold for significance that would be     of comparison. As we explain above in         we have added further explanation that
applied unless certain assumptions or        section III.D., a species' current and        the term "range" is a conceptual and
conditions are not met). Most                future status is informed by past trends      analytical tool related to identifying
commenters who addressed this issue          and events and the Services agree that        threatened and endangered species and
replied that developing quantitative         information regarding historical range        plays no direct role in implementing the
thresholds (even as a rebuttable             cannot be ignored. We have further            Act to protect and recover species.
presumption) would not be feasible or        clarified the importance and relevance           Comment (53): Some commenters
useful or would be unnecessarily             of evaluating the effects of loss of          asked how range would be determined
complicated given the variety of             historical range on the current and           for listing determinations and status
circumstances, species life histories,       future viability of the species.              reviews. Some commenters requested
and variability in the types of data that       Comment (50): Many commenters              we explain how the Services would
would be available to the Services. We       supported the Services' interpretation of     address specific scenarios, such as
agree.                                       range as current range and noted              species with disjunct populations,

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 recently restored populations, captive      recovered in the wild. Our reasoning        threatened DPSs that also qualify as
 populations, or species found only in       regarding the status of captive              SPRs should not be the basis for listing
 captivity.                                  populations is further detailed at 78 FR    the entire taxonomic species of which it
   Response: The available information       33790 (June 5, 2013).                        is a part. Otherwise, the agency
 on current and historical ranges varies                                                 suggested, the result could be
                                              H. Relationship With DPS Authority
 widely among species. For example, we                                                    "unintended listings of DPSs" (which
                                                 Comment (54): One commenter             we take to mean the portions of the
 may have very detailed information for
                                              asserted that the draft policy conflates   range outside the SPR/DPS); the
 some species and more limited data for
                                              the identification of the relevant         remainder of the range presumably is
 others. Similarly, we may have detailed
                                              "species" with the determination of        one or more DPSs, for which
 information in some portions of a
                                              whether it is an "endangered species"      independent listing determinations
 species' range and very limited data in
                                              or a "threatened species." According to    should be made.
 others. There is no single method for
                                              the commenter, the fact that a                Response: We appreciate the
 defining a species' range that can be
                                              population could be protected either       constructive feedback of the
 used for all species and all situations.
                                              because a DPS is endangered or             commenters.
We describe the range, both current and
                                              threatened throughout all of its range or      Comment (56): A number of
 historical, based on the best scientific
                                              because a biological species is            commenters recommended that the
 and commercial data available. We note       endangered or threatened throughout a      Services reevaluate the DPS policy. In
that range is described in our findings       significant portion of its range does not  particular, several commenters,
 and status reviews for the purposes of       mean that either provision is              including the Wisconsin Department of
 conducting analyses of the species'          superfluous. Moreover, the commenter       Natural ResoUI'ces, suggested that the
status. As explained in section III.D.,       asserted that Congress's adoption of the   DPS policy be revised to allow DPS
above, description of a species' range        DPS concept in 1978 did not alter the      boundaries to be defined by State
 does not limit where protections of the      SPR phrase or otherwise change its         borders, or by ecoregion or ecosystem
Act apply, as the protections apply to        meaning.                                   unit boundaries, without requiring that
the species itself. The same would be           Response: We agree that the              DPSs be disjunct from one another. The
true for a species with disjunct             identification of the "species" and the     Alaska Department of Fish and Game
populations. Similarly, protections of        determination of whether it is             suggested that the Services clarify that,
the Act would be extended to newly            endangered or threatened are two           for purposes of the DPS policy, Alaska
restored populations, as the protections      different steps. Once we determine that    is separated from the contiguous 48
of the Act are applied to the species        a species meets the definition of an        States by international boundaries. One
itself, not the "range." We note that        "endangered species" or a "threatened      commenter suggested distinguishing
with regard to considering whether           species," the operative provisions of the DPS analysis from SPR analysis by
newly restored populations constitute        Act do not provide that protections only relaxing or eliminating the significance
an SPR, we would consider such               apply with respect to some members of      requirement of the DPS policy. Another
populations to be part of the range of the   the species (absent, for example, an       commenter suggested adding a fifth
species for purposes of any status           applicable rule under section 4(d) or      criterion for significance to the DPS
reviews because "range" is defined as        section 10(j) of the Act that modifies     policy (geographic representation in an
the current range of the species at the      those protections). As we discussed in     ecosystem unit), and another suggested
time of the determination (not the range     the draft policy, a species that is in     that any reevaluation of the DPS policy
defined at listing or another previous       danger of extinction throughout a          should include a notice-and-comment
determination). Whether or not a newly       significant portion of its range is an     process for formulating a more rational
restored population would be                 "endangered species." Take of an           approach to reconciling the SPR and
considered an SPR would depend on its        "endangered species" (not just of an       DPS language.
contribution to the conservation of the      endangered species where it is                 Response: Revision of the DPS policy
species. As for any other portion of a       endangered) is prohibited by section 9     is outside the scope of the current effort.
species' range, we would consider its        of the Act. Moreover, we did not assert    This policy does, however, describe the
contribution to the resiliency,              that interpreting the Act to allow         relationship between the DPS language
redundancy, and representation of the        protections solely in an SPR would         and the SPR language in the Act.
species (such considerations could           make the DPS language redundant. We            Comment (57): One commenter
include the size of the newly restored       merely asserted that doing so "creates     asserted that giving "significant"
population, its likelihood of persistence,   unnecessary tension between the SPR        different meaning in the SPR and DPS
or its contribution to the genetic           language and the DPS language" (76 FR contexts runs afoul of Supreme CoUI't
diversity of the species). Witb regard to    76987, p. 76991). Also, we did not argue precedent that statutory terms should
species found in captivity, the Services     that the addition of the DPS language in normally be given the same meaning
consider a captive population to have        the 1978 amendments to the Act             throughout a statute.
no "range" separate from that of the         changed the meaning of the SPR                 Response: We disagree. ''Significant''
species to which it belongs (captive         language. The commenter's preferred        is not a statutory term in the DPS
populations cannot be considered an          interpretation would also have created     context-"significant" is used in the
SPR). Captive members have the same          unnecessary tension with the 1973          DPS policy, not in the statute. The case
legal status as the species as a whole. In   definition of "species."                   law cited by the commenter is simply
situations where all members of the             Comment (55): Many commenters,          not applicable.
species in the wild are gone, either         including the Florida Fish and Wildlife        Comment (58): Several commenters
because they are extirpated or because,      Conservation Commission, agreed that       asserted that despite our explanation to
as a last resort, the remaining wild         the draft policy struck a reasonable       the contrary, the draft policy defines
members are captured and moved into          balance between the DPS policy and the "significant" in the exact same way as
captivity, the species remains listed as     statutory SPR language. The Wisconsin      the DPS policy because both refer to the
endangered or threatened until the           Department of Natural Resources            concept of importance. They argued that
species can be reintroduced and              appeared to agree that endangered or       this has the effect of rendering the DPS

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 language moot and illegally amending         correspond to political boundaries in           danger of extinction throughout . . . a
 the Act.                                     the absence of international borders.           significant portion of its range.''
    Response: We disagree. The fact that         Response: As we discussed in the               Comment {65): The Wisconsin
 the concept of significance in the draft     draft policy (76 FR 76987, pp. 76998-          Department of Natural Resources
 policy and the DPS policy both relate to     76999), DPSs will not often correspond          suggested defining SPR and DPS as the
 import.ance (as opposed to, for example,     to SPRs, but we determined that the             same where there is substantial overlap
 statistical significance) does not mean      policy should explain what happens if          to allow for more effective, efficient, and
 that the terms are defined identically.      they do because the Act does not               practical application of listing and
 As explained in great detail in the draft    indicate how these two distinct                 delisting efforts.
 policy, the draft policy sets a much         authorities should interact with one              Response: Although they use the same
 higher and more specific bar than the        another. Rules promulgated under               word, the DPS Policy and the SPR
 DPS policy (76 FR 76987, pp. 76998-          section 4(d) of the Act are not adequate       language have different purposes: The
 76999). In other words, although both        to address the problem, as section 4(d)        DPS policy helps define what counts as
relate to importance, under the draft         does not apply to endangered species.          a "species," and the SPR language helps
 policy a portion of the range muSt be           Comment {62): Several commenters,           determine whether a· species is
 much more important to be                    including the Alaska Department of Fish        endangered or threatened. Therefore, it
 "significant" than a population must be      and Game, stated that the draft policy         is reasonable for "significant" to have
to be significant to the taxon as a whole     should be modified to require the              different meanings in those different
under the DPS policy. This remains true       Services to determine whether a                contexts. Moreover, as discussed above
under the revised definition of               proposed SPR is encompassed by a DPS.          and in the draft policy (76 FR 76987, p.
 "significant" in this final policy.             Response: As discussed in the draft         76995), given the effect of finding a
    Comment (59): One commenter               policy, we generally will identify, as a       species to be endangered or threatened
suggested that we will not be able to list    matter of practice, relevant DPSs before       in a significant portion of its range, it is
a DPS rather than the entire species if       considering SPRs, although in some             appropriate for "significant" in that
an endangered or threatened DPS               circumstanceS a different order or scope       context to be a demanding standard.
occupies an SPR of the species, because       of analysis may be more appropriate. To        The definition of "significant" used in
the policy requiring rangewide listing       preserve flexibility, we find there would       the DPS Policy, although appropriate in
will be binding.                             be no benefit to expressly requiring this       that context, would, applied in the SPR
    Response: We disagree. The policy        in the policy.                                  context, be too low a standard, and
expressly provides that where a DPS              Comment {63): One commenter                result in the listing of many species
overlaps with an SPR only the DPS will        expressed concern that the draft policy's      with little long-term risk of extinction,
be listed.                                   discussion of DPSs would lead the               diluting the conservation efforts of the
    Comment {60): Several commenters         Services "to conduct a review that is out      Services, and imposing costs with
suggested that we should list a species      of order"-apparently considering the           relatively little conservation benefit.
rangewide even if there is a valid DPS       proper order to be to identify the             Finally, defining "significant" the same
that could be listed instead. Two of         "species" first, and then apply the            way in both contexts would tend to
these cornmenters cited the disparity        definitions of "endangered species" and        make the DPS language of the Act
between the treatment of vertebrates and     "threatened species" to the species.           irrelevant, as DPSs of a species would
invertebrates if the draft policy is            Response: As we stated in the draft         always constitute SPRs of that species.
followed, with the paradoxical result        policy, we agree that we will usually              Comment {66): Two commenters
that a similarly situated invertebrate       identify the species to be analyzed first.     thought that the discussion of the
could receive more protection than a         In fact, in OUI' draft policy, our treatment   relationship between DPSs and SPRs
vertebrate, in contravention of              ofDPSs that are also SPRs helps justify        was confusing and should include
congressional intent. Another suggested      conducting the analysis in this order,         examples or case studies. One
that because DPS and SPR inquiries           without a need to reexamine                    commenter specifically suggested the
encompass different kinds of                 endangered or threatened DPSs to               Services need to provide spatial
characteristics, they should be assessed     determine whether they also constitute         diagrams to explain the relationship of
independently.                               SPRs. Under the draft policy, no change        SPR to DPS.
   Response: As discussed in the draft       in the listing would result from that              Response: There is no static
policy (76 FR 76987, pp. 76988-76989),       additional analysis, so there would be         relationship between these concepts,
it is very difficult to harmonize the        no need for the Services to conduct it.        and not every species will have both an
various provisions of the Act and the           Comment {64): Several commenters            SPR and a DPS. Beyond the general
goals that Congress intended to pursue.      asserted that an SPR inquiry should not        framework that we have laid out, the
We conclude that the position taken in       be used in evaluating whether a DPS            relationship between DPSs and SPRs is
this policy strikes the best balance and     warrants listing. In other words, those        highly fact-specific; we do not see the
appropriately reconciles these two           commenters think that a DPS should not         value of providing additional examples
distinct authorities.                        be listed because it is endangered or          or case studies. Also, as "significance"
   Comment {61): One commenter               threatened throughout a significant            is defined differently for SPR versus
asserted that the draft policy did not       portion of its range. Another commenter        DPS, these concepts are not in tension.
provide an adequate rationale for listing    took the opposite position, and                    Comment {67): One commenter noted
only the DPS where its range is              suggested that we clarify this fact.           that the draft policy's discussion was
coextensive with an SPR of the taxon to         Response: As stated in the draft            unclear as to whether the Services
which it belongs. The commenter              policy, the same logic applies to DPSs         would give any consideration to the
argued that the rationale given is           that applies to taxonomic species and          status of the species as a whole if a DPS
undermined by the fact that section 4(d)     subspecies (76 FR 76987, p. 76998).            warrants listing. The commenter
of the Act allows the Service to tailor      Natural operation of the language of the       pointed to a number of current
restrictions for threatened species. Also,   statute leads to the conclusion that any       examples in which a DP S is listed as
the commenter suggested that, for            "species," including a DPS, can be an          endangered, and the species of which it
domestic species, DPSs are unlikely to       "endangered species" because it is "in         is a part is listed as threatened.

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    Response: We generally look at             that the Services embrace the flexibility    that we apply protections according to
 taxonomic species and subspecies              of tailoring "take" rules and reducing       the degree of threat in different portions
 before considering DPSs, and we will          regulatory bUI'dens with respect to          of a species' range. Two commenters
 always consider whether a species is in       threatened species, in response to a         believed it is fine to protect a species as
 danger of extinction (or likely to become     Presidential Order (E.O. 13563 to            endangered if it is threatened
 so in the foreseeable future) throughout      promote economic growth, innovation,         throughout all ofits range but
 all ofits range before we engage in an        competitiveness, and job creation), a        endangered throughout an SPR, but
 SPR analysis (76 FR 76987, p. 77002). In      Supreme Court ruling, and                   protective efforts should be focused on
 addition, om· revised definition of           congressional intent. The New Mexico        the portion of the range where threats
 "significant" will preclude existence of     Department of Game & Fish was                 are greatest.
 an SPR if the species is in danger of         concerned that the many different              Response: For reasons set out above
 extinction, or likely to become so in the     analyses we would need to do under the       and in the preamble of the draft policy
 foreseeable future, throughout all of its
 range. Nothing in this policy will
 change how the Services conduct the
                                              draft policy would affect the Services'
                                              Act-mandated deadlines for responses
                                              to petitions and other potential listing
                                                                                           (76 FR 76987), we cannot list an entity
                                                                                           smaller than a species (i.e., species,
                                                                                           subspecies, or DPS). Once a species is
                                                                                                                                              I
 analysis of ''species'' throughout their
 ranges. When a taxonomic species or
 subspecies is endangered in one DPS,
                                              actions.
                                                 Response: Although we do not
                                              necessarily agree with all of the
                                                                                           listed as endangered, it is listed as
                                                                                           endangered wherever found, and all of
                                                                                           the Act's section 9 prohibitions apply.
                                                                                                                                             II
and threatened throughout the rest of its     rationale provided by these                  We cannot apply different listing
range, the Services will·continue to          commenters, for the reasons described        statuses to the same species in different         I
make separate listing determinations for      above, we agree with their conclusion,       portions of its range (except to the              I
the two (or more) populations, and list
 those populations accordingly.
                                              and thus the final policy defines
                                              "significant" such that a portion cannot
                                                                                           extent that those portions of the range
                                                                                           correspond to subspecies or DPSs, i.e.,          I
   Comment (68): One commenter
suggested that we add a discussion of
                                              be significant if the species already
                                              warrants listing throughout all of its
                                                                                           are in fact different "species"). That
                                                                                           said, with the revisions incorporated
                                                                                                                                            II
the relationship of the SPR language and
NMFS' evolutionary significant unit
                                              range. Therefore, as this policy is
                                              applied, there will be no circumstance
                                                                                           into this final policy, a species that in
                                                                                           fact warrants listing as threatened             I
                                                                                                                                           I
(ESU) policy.                                 in which a species is threatened             because of its status throughout all of its
   Response: ESUs identified under            throughout all of its range and              range will, by definition, not contain
NMFS' ESU policy (56 FR 58612,                endangered throughout an SPR (see            any endangered SPRs.
November 20, 1991) are DPSs, and for          section II., above).
                                                                                                                                            I
the purposes of this policy will be              Comment (71): A commenter noted           f. Use of Best A vailable Science,
                                                                                           Appropriate Analyses, Correct
                                                                                                                                           I
treated as DPSs.
   Comment (69): Montana Fish,
Wildlife & Parks asserted that the
Services already list populations as
                                             that the most efficient use of limited
                                              Service resources is to focus first on the
                                              entire species, and to use the SPR
                                              concept only secondarily and sparingly.
                                                                                            Conclusions
                                                                                              Comment (74): Several commenters
                                                                                           stated that we should revise the draft
                                                                                                                                          II
DPSs even though they do not meet the
criteria of the DPS policy, and expressed
concern that the Services not use the
                                             Under that approach, once the Services
                                             find that a species is threatened
                                             throughout its range, the species should
                                                                                           SPR policy's current heavy and
                                                                                           litigation-inviting reliance on the
                                                                                           principles and concepts of conservation
                                                                                                                                           ',j
                                                                                                                                           !I
                                                                                                                                           I!
DPS policy to list populations that are      be listed as threatened, and an SPR-          biology in determining biological               I
notSPRs.
   Response: We disagree with
                                             based endangered listing should not be
                                             considered further.
                                                                                           significance. Conservation biology is a
                                                                                           philosophy and pseudoscience.
                                                                                                                                           In
Montana's assertion; the Services                Response: We agree with the                  Response: The Act requires that we           I"
rigorously apply the DPS criteria, and       commenter and have changed the policy         use the best available science in making        .!
list DPSs sparingly, as suggested by         in part in response to this comment.          listing determinations. The principles
Congress (Senate Report 151, 96th                Comment (72): Some commenters             and concepts of conservation biology           .I
                                                                                                                                           ·1'1




Congress, 1st Session), Moreover, the        expressed concern about a species being       are commonly accepted throughout the            I!
fact that a DPS may be imperiled in a
portion of its range that is not
                                             both threatened throughout its range
                                             and endangered throughout an SPR
                                                                                           scientific community, and make up part
                                                                                           of the best available science relevant to       ~
                                                                                                                                           II
significant will not provide a basis for     because it would be confusing to have         listing determinations. We always              I
listing the DPS.                             two statuses for the same species.            consider relevant and available species-       !i
                                                 Response: We have changed the             specific evidence as well.                     II
I. Whether a Species Can Be Both             definition of "a significant portion of its      Comment (75): One commenter stated          i!
                                                                                                                                          il
Threatened Throughout All of Its Range       range" to avoid the confusion of a            that the basis for the draft policy is
and Endangered Throughout an SPR                                                                                                          II
                                             species potentially qualifying both as        flawed in that it fails to consider the full
   Comment (70): Many commenters,            threatened throughout its range and           array of scholarly research, economic
including the Wisconsin Department of        endangered throughout an SPR.                 information, and legal considerations
NatUI'al Resources, South Dakota Game,           Comment (73): One commenter               related to the issues and effects of
Fish and Parks, and Idaho Department         suggested that, when a species is found       various policy choices legitimately
of Fish and Game, stated that, where the     to be endangered throughout an SPR,           before the Secretary.
Act would allow either an endangered         the species should be listed as                  Response: We did consider the best
or a threatened listing, the Services        endangered only in that portion of its        scientific information available as well
should favor the more flexible               range and threatened in the remainder         as recent judicial opinions relating to
threatened listing. They asserted that       of its range. This would allow more           SPR. We considered a wide variety of
the part of the draft policy supporting      flexibility to issue a rule under section     policy options and the pros and cons of
an endangered listing in those               4(d) of the Act for the species where it      each. This final policy reflects the
circumstances is undesirable over-           is only threatened. Other commenters,         Services' expert judgment as to the best
regulation that would produce needless       including the Hawaii Department of            way to interpret and apply "significant
economic dislocation. They suggested         Land and Natural Resources, suggested         portion of its range" as that phrase

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appeal'S in the Act. The commenter did       be of particular biological importance        instead identify potential SPRs and then
not offer any specific constructive          (i.e., it may be significant). However, if    broadly ask what entity (species,
suggestions that we have not already         we determine that the portion is not          subspecies, or DPS) of which it may be
considered.                                  endangered or thl'Batened there (e.g., if     a part.
                                             threats were not acting on the species in        Response: We have clarified in the
 K. Implementation in Listing                                                              policy explanation that the Services first
                                             that area), we would not analyze it
 Determinations                                                                            determine what entity meets the
                                             further.
   Comment (76): Some commenters                Comment (77): One commenter                definition of "species.''
 requested we clarify when SPR analyses suggested that we clarify that the                    Comment (81): Some commenters
 would be required. Several commenters identification of an SPR does not create            suggested that the Services should
 requested we clarify how SPRs will be . a presumption, prejudgment, or other              develop quantitative tools and standards
 identified, what criteria will be used to   determination as to whether the species       for measuring contribution to the
identify SPRs, and whether threats will      in that identified SPR warrants               viability of the species to ensure
always be used to identify SPRs.            protection under the Act as either             objective and unbiased SPR analysis.
   Response: When making a                   endangered or threatened.                     (We addressed the similar but distinct
determination according to section              Response: As we stated in the draft       issue of whether to incorporate a
4(a)(1) of the Act, the Services must       policy (76 FR 76987, pp. 76994, 77002),       quantitative threshold or rebuttable
always interpret and apply the              the determination of whether a portion        presumption as part of the definition of
definitions of "endangered species" and of the range of a species is significant is        "significant" in response to Comment
''threatened species,'' including the SPR completely separate from the                     (47}, above.)
language. We must always ensUI'e that        determination of whether a species is           Response: Our policy applies a
we are fully considering all the parts of    endangered or threatened throughout a        conceptual framework that identifies the
these definitions. We explain how and       significant portion. We have added            relationship a portion must have to the
when an SPR analysis will be conducted some language to this document to make             conservation of the species as a whole
under the approach adopted in this          this even clearer.                            rather than a specific quantitative
policy in section III.F., above. No             Comment (78}: Montana Fish,               approach such as a numerical threshold.
analysis of SPR is required when we         Wildlife & Parks asked whether certain        As with any listing determination,
find a species to be either endangered or species will be treated as exceptions to        analyses applying this framework may
threatened throughout all of its range.     this policy.                                  use quantitative methods if data are
Where the rangewide analysis does not           Response: We plan to apply this           available and allow for applying
lead to a determination that the species    policy consistently to all species, unless    appropriate methodologies. However,
is endangered or threatened, an SPR         we need to do otherwise to comply with        quantitative data and methodologies are
analysis is required. However, the level    a coUI't order.                               not required if the data available do not
of detail of analysis necessary will vary       Comment (79): Some commenters             allow for quantitative analyses. Section
according to the specific species and       expressed concern that adopting the           4(b)(1)(A) of the Act requires us to make
data under consideration. In general, a     SPR Policy will require the Services to       determinations based on the best
more detailed SPR analysis would likely undertake additional analyses that                scientific and commercial data
be needed to fully address and consider could affect timelines for completing             available. Thus, we must make
all parts of the definitions when the       determinations or otherwise affect the        determinations as to whether species are
kinds and levels of threats vary across     Services' resources. Some commenters          endangered species, threatened species,
a species' range. This is more likely to    asked for clarification of when detailed      or neither, regardless of whether the
occUI' for species with laTge ranges than   analysis of SPRs is needed. Some              data allow for quantitative analyses. In
for narrow endemics with a very small       expressed concern that the Services will      other words, we cannot defer making a
range. Narrow endemics are likely to        have to devote scarce resoUI'ces to           determination where we lack the ideal
experience the same kinds and levels of ensure consistency in interpretation.             kinds and quantity of data. Our policy
threats in all parts of their ranges, and       Response: As explained above              accommodates the wide variety of
thus, no portion would likely have an       (section III.F.), the policy outlines a       situations and types of data available.
increased level of threats and thus a       stepwise process to ensille that we              Comment (82): Several commenters
different status. Essentially, we would     engage in the level of analysis that is       Tequested that the Services provide
conduct a "screening" analysis to           appropriate for the particular species.       more detail on how the policy will be
determine whether additional analysis       This process will not only ensure that        implemented. Requests included
is needed. As a matter of definition, the   the Services are not expending                providing more detail on what kinds of
SPR does not always have to be              resources on unnecessarily detailed           data will be used to determine whether
identified according to threats. In         analyses, but also promote a consistent       a portion is significant (genetic data,
practice, a portion is most likely to be    approach to conducting the analyses.          PVAs, modeling, etc.), as well as how a
id8ntified if there is a concentration of   We cannot predict every possible              variety of specific circumstances will be
threats that could indicate the             scenario we will encounter and must           addressed and evaluated.
individuals in that portion may be          necessarily leave room for best                  Response: The Services must use and
endangered or threatened. The Services      professional judgment based on specific       base our determinations on the best
would then ask whether the portion also circumstances, but a consistent                   scientific and commercial data
may be significant. If we determine that    interpretation and stepwise analytical        available. We also must interpret and
the portion is not significant (e.g., if it process will promote a consistent             apply the definitions of "endangered
were an extremely small area), we           approach.                                     species" and "threatened species,"
would not analyze it further. The               Comment (80): Several commenters          including the SPR phrase, in all our
Services may also identify a portion for    requested we clarify that identifying the     determinations, regardless of the kind
further consideration based on              species, as defined by the Act, would be      and quality of the data or the specific
biological characteristics, such as         the first step in the process of making       circumstances. However, the same kinds
population structure or spatial             a listing determination. Some seemed          of information that have always been
distribution, that indicate a portion may concerned that the Services might               useful in determining a species' status

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 may be relevant to evaluating the             SPR. While the definitions applied on a       SPR the southern portion of the range in
 relative contribution of a portion of its     case-by-case basis prior to this final        California because of previously
 range to the viability of a species. The      policy may differ slightly from this final    identified concerns over performance of
 kinds of data include, but are not            policy's definition of SPR, our recent        rookeries in this portion. While this
 limited to, species biology and life          determinations generally illustrate how       portion of the range has poorer
 history, genetic data, population-            we would apply the analysis framework         performance compared to the rest of the
 viability analyses, species distribution      laid out in this policy. We provide           DPS, data indicate that this portion is
 and abundance data, population and            examples below.                               not in decline, nor does its poorer
 metapopulation structure, threats and            Example 1: FWS was petitioned to list      performance appear to be affecting the
 species response to threats, etc. While       Van Rossem's gull-billed tern (a              recovery of the DPS elsewhere. In other
 particular kinds of data (and especially      subspecies of gull-billed tern) and           words, it does not appear to be
 detailed, up-to-date data and                 conducted a status review to determine        endangered or threatened in that
information) may be most useful, we are        whether listing was warranted. In our         portion, and its contribution to the
 required to apply the definitions of          12-month finding (76 FR 58650,                viability of the DPS is not so important,
 ''endangered species'' and ''threatened       September 21, 2011), FWS determined           that without it, the DPS would be in
species" regardless of the kind,               that this species was not endangered or       danger of extinction now or in the
quantity, or quality of the data available.    threatened throughout all of its range.       foreseeable futlll'e. NMFS also identified
We cannot predict every possible               We next examined the question of              the California Current Ecoregion as a
circumstance or scenario we will               whether the species might be                  potential SPR. Trend and threat
encounter. This policy, therefore, lays        endangered throughout a significant           information for this portion indicate
out a broad, conceptual framework that         portion of its range. We identified two       that this portion is not in danger of
will allow the Services to evaluate a         portions of the species' breeding range        extinction or likely to become so.
wide variety of circumstances. The            that may have a greater concentration of      Because NMFS determined that the
Services have made numerous                   threats because of reductions in water         California portion was not significant,
determinations prior to this policy as to     levels that could increase nest predation      and neither the California portion nor
whether a species meets the definitions       and make the locations less suitable as       the California Current Ecoregion portion
of "endangered species" or "threatened        nesting habitat. We next examined the         was endangered or threatened, NMFS
species." These determinations span a         question of whether these portions             did not evaluate them further. NMFS
wide variety of species and                   could be SPRs by examining their              then concluded that the DPS no longer
circumstances, as well as a wide variety      contribution to the resiliency,               meets the definitions of an endangered
in the types, amount, and quality of data     redundancy, and representation of the         species or threatened species. This
and information available. We expect to       species. We determined that these two         example illustrates the process of
encounter the same variety in the future      nesting locations were not unique or          identifying portions. The first portion
and will continue to apply our expertise      biologically different from other nesting     was identified by considering
to base our determinations on the best        locations. We also concluded that, even       information that could indicate the
scientific and commercial data                if these sites were to be abandoned in        species could be endangered or
availahle.                                    the future, it is likely that the Van         threatened there (poor performance of
    Comment (83): The Arizona Game and        Rossem's gull-billed tern would move          rookeries). The second portion was
Fish Department suggested that the            and nest elsewhere because the species        identified by considering information
policy, if approved, should "more             displays low nest-site fidelity.              that could indicate that the area is
thoroughly describe how it would be           Additionally, existing and potential          important to the conservation of the
applied during ... application of the         nesting locations are distributed along a     species {an ecoregion). This example
Policy on the Evaluation of                   2,250-km (1,400-mi) stretch of the            also illustrates that we treat DPSs in the
Conservation Efforts {PECE) criteria."        species' range, such that the two             same manner as species and subspecies
    Response: Nothing in the SPR policy       locations, either individually or             when applying the SPR language in our
affects application of PECE or related        combined, would not constitute a              status determinations.
considerations. Of comse, the status of       significant portion of the total breeding        Comment (85): Several commenters
a species throughout an SPR can be            range. We therefore concluded that            suggested that visual aids such as charts
affected by conservation efforts, as can      these two nesting areas were not SPRs         or diagrams would be helpful in
its status throughout all of its range.       because their contribution to the             illustrating how the policy will be
    Comment (84): Several commenters          viability of the species is not so            implemented.
requested we provide examples for real        important that the species would be in           Response: See Figlll'es 1 and 2 in
species.                                      danger of extinction without those            section III.F., above.
    Response: The Services have               portions . .In this example, we identified       Comment (86): One commenter
continued to publish numerous                 portions based on a concentration of          suggested the Services should provide
determinations in which we apply the          threats but determined the portions           an opportunity for public comment on
definitions of ''endangered species'' and     were not SPRs and therefore did not           the potential characterization of any
"threatened species," including, as           further examine the status of the species     portion of the range as "significant" for
appropriate, the SPR language in those        in those portions.                            a particular species prior to the Services
definitions. These include 12-month              Example 2: On November 4, 2013,            making any listing or status-related
findings on petitions to list, reclassify,    NMFS published a final rule removing          determination for the SPR. Specifically,
and delist species, as well as proposed       the eastern distinct population segment       the commenter suggested the Services
and final rules to list, reclassify, and      ofthe Steller sea lion from the List of       include in their policies and procedures
delist species. The Services have been        Endangered and Threatened Wildlife            a requirement to publish a notice in the
applying an approach that is similar to       (78 FR 66139). After considering the          Federal Register prior to initiating a
this policy on a case-by-case basis when      status of the DPS throughout all of its       status review (i.e., at the 90-day finding
circumstances warrant giving some             range, NMFS next considered whether           stage on a petition or prior to
consideration to whether the species is       any portions of the DPS qualified as          conducting the annual candidate notice
endangered or threatened throughout an        SPRs. NMFS identified as a potential          of review) and prior to any proposed

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 listing of a species as endangered or      requested we clarify whether petitioners     SPRs will be defined and mapped, and
 threatened on the basis of an SPR. At a    will be required to identify SPRs m          whether areas that qualify as SPRs
 minimum, the commenter further             whether the Services will identify them.     would be subject to periodic review.
 suggested that this advance public           Response: Modifying Dill' petition            Response: To the extent commenters
 notice should include mapping,             regulations is outside of the scope of       believe the Services will map or
 identification of factors considered,      this policy. However, we agree that, if      "designate" SPRs as entities or
 identification of all studies and          petitioners intend that the Services         boundaries formalized in regulations,
 information to be considered, and an       should base their analysis on an SPR,        they misunderstand the purpose of our
 explanation as to any proposed basis for the petitioners should include as much         interpretation of the SPR language.
the identification of an SPR.               information as they have about any           Under this policy, the SPR phrase and
    Response: The commenter's               potential area of special importance so      its interpretation is used solely to
 suggestion is not consistent with the      the Services can determine whether the       determine whether a species is an
requirements of the Act and is not          area may qualify as an SPR. Such             endangered species or threatened
necessary or feasible. The statute does     petitions should include substantial         species, pursuant to the definitions in
not require the Services to engage in a     information to indicate that a particular    the Act and the requirements of section
rulemaking process to arrive at a 90-day portion may be both significant and in          4(a](1) of the Act. Once we determine
or a 12-month finding on a listing          danger of extinction or likely to become     that a species is an endangered species
petition. The statute generally requires   so. We have emphasized that, unless           or threatened species, the SPR language
an initial determination on a petition     there is evidence to suggest both prongs      has no direct effect on implementation
within 90 days of receipt, and a 12-       are met, the Services need not conduct        of the Act. If a species is an endangered
month finding (along with any proposal a detailed SPR analysis. However, the             species or threatened species because of
to list) within one year of receipt,       Services conclude that it is not
                                                                                        its status throughout an SPR, the entire
following a status review. Even if the     necessary to more specifically prescribe
                                                                                         species is listed and the Act's
Services were required to conduct          the showing that needs to be made in a
                                                                                        protections are applied to the entire
rulemaking-style activities as part of the particular petition, as the Services must
                                                                                        species, not just to the SPR. The process
review of a petition, the requirement of   evaluate each petition in context to
                                                                                        of listing a species does not "designate
relatively quick turnaround and            determine if the standard of section
                                           4(b)(3)(A) of the Act (whether the           an SPR" for the species. Once a species
relatively low "may be warranted"
                                                                                        is listed, there is no formal relevance of
standard at the 90-day stage would         petition "presents substantial scientific
                                                                                        the SPR. Of course, consistent with
make it wholly infeasible to try to seek   or commercial information indicating
                                                                                        cUITent practice, the identification of a
public comment on the identification of that the petitioned action may be
                                                                                        concentration of threats in a certain
an SPR prior to the Services completing warranted") is met. In any case, we
their analysis and announcing their        conclude that it is preferable to retain     portion of its range may be relevant in
decision to commence a status review.      the discretion to address SPR issues in      a variety of contexts, such as identifying
In any event, an SPR analysis is a part    petitions as needed in the context of        actions needed for recovery, formulating
of the overall analysis of whether a       particular circumstances, rather than        rules under section 4(d) of the Act, and
species is endangered or threatened        create a binding rule. At the initial        analyzing proposed actions under
under the Act, and no need is served by review stage (i.e., development of a 90-        section 7 of the Act. In other words, the
pre-publishing separate findings prior to day finding), the standard the Services       SPR language is an analysis tool, not an
our overall finding. Of course, if the     must apply is whether the petition           entity or a designation, and it does not
Services determine that any portion of     presents substantial information             directly result in regulations or
the range is both significant and either   indicating that the petitioned action        requirements specific to the SPR, but
endangered or threatened and propose       may be warranted. At the 12-month            may inform development of other
to list a species based on this (or to     finding stage, the Services have a           measures as discussed above, In fact,
reclassify or delis!], we will publish a   responsibility to interpret and apply the    once a species is listed, periodic review
proposed listing rule upon which the       Act's definitions, including (if a species   of the species' status (through 5-year
public will have an opportunity to         is found to be neither endangered nor        reviews or petitions, reclassifications, or
comment. At that time the public can       threatened rangewide) the SPR                delistings) will be conducted as for any
review and respond to the explanation      language, regardless whether a petition      species, and the SPR interpretation will
of the basis developed by the agency       specifically identifies any SPRs. Thus,      be applied independent of previous
and submit additional relevant             we will identify any SPRs as necessary       findings. As a species' status changes
information to be considered in            and based on the best scientific and         over time, we expect that what
development of a final listing rule.       commercial data available.                   constitutes an SPR for the species may
   Comment (87): The commenter                Comment (88): Some commenters             also change (for instance, if new
further suggested that the Services        suggested that the policy should more        populations are established, portions of
should revise their regulations            clearly articulate that determining          the range previously identified as SPRs
governing the petition process to          whether a species is endangered or           may contribute relatively less to the
prescribe strict requirements for the      threatened in a SPR requires two             viability of the species in the remainder
petitioner to provide information          separate tests and both must be met: that    of the range) and therefore will require
specifying and documenting an SPR.         the portion is "significant," and that the   new analyses as the species progresses
The commenter also recommended that snecies is endangered or threatened                 toward recovery. Tilleats may also
we modify our petition regulations to      throughout that portion.                     change over time and alter the basis for
specify that the Services will do SPR         Response: We have clarified this          listing a species or alter its status. For
analyses only when specifically            further in section III.F ., above.           example, if new threats are identified
petitioned to do so and that failure to       Comment (89): Several commenters          that affect the species throughout its
submit the requisite level of infmmation inquired as to the continuing relevance        range, it may warrant listing because it
will result in the petition being          or functioning of an SPR, such as how        is now threatened or endangered
construed to request listing on a          a spatial area to be "designated" as an      throughout all of its range and no longer
rangewide basis. Other commenters          SPR will be identified and defined, how      just in a significant portion of its range.

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    Some examples may be useful.               "endangered species" or "threatened               Comment (92): Several commenters,
 Example 1: A species that has few             species." This same process applies to          including Montana Fish, Wildlife &
 populations may be listed because it          all status determinations regardless of        PaTks, asked if we could delist a species
 was threatened throughout most                whether we are evaluating a potential          if it was recovered throughout a
 populations, and those populations            listing, or a reclassification or delisting    significant portion of its range
 ~onstituted an SPR (without those             of an already-listed species. We will          regardless of the basis for the original
 populations, the remaining populations        begin with first assessing the status of a     listing.
 would be endangered or threatened-            species throughout all of its range. If the       Response: As we noted in the
 even though with those populations            species is neither endangered nor              response to the previous comment,
 extant, the species is not threatened or      threatened throughout its range, then we       determining whether a species is
 endangered throughout all of its range).      will assess whether any portions require       "recovered" is in reality considering
 Recovery efforts reestablished several        further examination, and if so, ask            whether the species still meets the
populations, and the species                   whether the species is endangered or           definitions of "endangered species" or
 recolonized and expanded into                 threatened throughout an SPR. For              "threatened species." In evaluating
unoccupied habitat in additional areas.        example, if we are petitioned to delist        whether a species should be delisted
 The populations that were originally         .a species, we would first evaluate the         due to recovery, we do not ask whether
 considered an SPR now make up a               status of the species rangewide. If we         a species is recovered tilloughout an
 much smaller percentage of the total          determine that the species is neither          SPR; the concept of "recovery" (like
number of populations and their loss           endangered nor threatened throughout           listing itself) is applicable only at the
would no longer result in the remaining        all of its range, we would then examine        level of the species. We begin by asking
populations (that are more widespread)         the question of whether it might remain        whether the species is an "endangered
being likely to be in danger of extinction     endangered or threatened throughout           species" or "threatened species"
in the foreseeable future. Under this          any SPRs. This is identical to the            t:angewide using the same process as
scenario, the original SPR is no longer       process we undertake in considering             explained above. We could determine
an SPR because of the increased number        whether a species should be listed.             that a species is neither endangered nor
of populations and expanded species'              Comment (91): Some commenters,             threatened throughout all of its range
range. The species might then be              including Montana Fish, Wildlife &             under two circumstances: {1) Threats
proposed for delisting even though the                                                       throughout the range of the species have
                                              Parks, suggested that a species listed on
threats in what had been an SPR have                                                         been sufficiently ameliorated and all
                                               the basis of an analysis in an SPR must
not abated.                                                                                  populations of the species are secure; or
                                              be considered for delisting once
    Example 2: A species is threatened                                                        (2) some threats to the species have been
                                              recovered in the SPR that led to listing.
throughout an SPR, and the species is                                                        ameliorated and the species is secure in
therefore listed as threatened. For this         Response: We agree that significant         a portimi of its range. (In other words,
species, threats from development and         improvement in the species' status in          a species cannot be endangered or
land-use activities are acting primarily      the SPR would be relevant and                  tlrreatened throughout all of its range if
in the SPR. Over time, new threats            important to considering the species'          it is secUI'e in a portion of its range;
emerge (a new invasive plant is altering      listing status, but cannot agree with any      however, it still could be endangered or
habitat and outcompeting the species'         suggestion that the species should             threatened in another portion of its
primary host plant) that affect the           automatically be delisted in that              range.) If we examine the status of a
species throughout its entire range. We       situation. Once the species is listed, the     listed species rangewide and determine
determine during a new status review          same standards and processes apply to          it is neither endangered nor threatened
that the species is threatened                reviewing the listing regardless of            throughout all of its range, we would
throughout all of its range. The status       whether the listing was based on status        then ask whether it is endangered or
throughout the range is determinative,        throughout an SPR Thus, it is not              threatened throughout an SPR. Under
because an SPR is relevant only where         correct to think of a portion of the range     the first scenario, we would likely not
a species is neither endangered nor           as being "recovered"; the status of the        identify any portion for further SPR
threatened throughout its range.              species (and by extension whether the          analysis since no area is likely to be
Therefore, it is no longer necessary to       species is "recovered") is assessed at the     endangered or threatened (i.e., no
examine the original SPR or any other         level of the listed entity. While we           remaining unaddressed threats). Under
potential SPR. The species remains            might generally expect it to be the case       the second scenario, we would consider
listed as threatened, but now on a            that a species would no longer qualify         whether the remaining threats cause the
different basis.                              for the protectiOns of the Act once it is      species to be endangered or threatened
    Comment (90): Several commenters,         no longer facing significant threats in        throughout an SPR. We may find that
including the Arizona Game and Fish           the area analyzed as an SPRat the time         some areas of the species' range still
Department and Montana Fish, Wildlife         of listing, there could be situations          experience threats, but these areas are
& Parks, requested we clarify how the         where the status of the originally             not SPRs. In that case, we would
policy would be applied to already-           examined portion of the range improves,        conclude the species does not meet the
listed species and in delisting species.      but where other portions have become           definition of an "endangered species" or
Some recognized that we said that             less stable (see Example 2 in. our             "threatened species," and we would
''listing'' really meant all determinations   response to Comment (89}. above). Since        propose to delist the species.
under section 4(a)(1) of the Act but still    the result of listing the species after an         Comment (93}: Several commenters
believed more explanation would be            SPR evaluation is a rangewide listing,         suggested that the draft policy would
usefuL                                        we would need to consider whether the          exacerbate the problem of the "virtually
    Response: The interpretation of SPR       best available data at the time indicated      irreversible nature" of listings, and
in this policy applies to all future          that the species had become endangered         suggested rellil'lling to the position
determinations made under section             or threatened throughout any other             taken in theM-Opinion. The Wisconsin
4(a)(1) of the Act. Section 4(a)(1)           SPRs or had become endangered or               Department of NatUI'al Resources also
requires that we determine whether any        threatened overall prior to proposing to       opined that the draft policy's
species meets the definitions of an           delis!.                                        interpretation may make it more

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 difficult for species to be de listed and    information about the status of the          list and manage entire species,
 their management turned over to the          species throughout its range; only a         subspecies, or DPSs, the Services may
 States.                                      handful turned on consideration of the       not always be free to craft ideal
   Response: The Services disagree. As        species' status throughout an SPR. Only     solutions that would satisfy all
 discussed in section VI. Effects of         two final listing rules based on             stakeholders. The purposes of the Act go
 Policy, the Services anticipate there        consideration of status throughout an       beyond just recognizing where a species
 would be relatively few circumstances        SPR resulted from application of theM-       has already become imperiled. The
 in which the SPR language would              Opinion (concerning Northern Rocky           ultimate goal is to bring species to the
 change the outcome of a listing or          Mountain wolves (74 FR 15123, April 2,       point where the protections are no
 delisting determination. Furthermore,        2009) and Preble's meadow jumping           longer needed, which means managing
 some delistings have occurred since the     mouse (73 FR 39790, July 10, 2008)),         the listed entity to bring the health of
 Services have begun to apply an              and both of these have been modified or     the entity as a whole to that point. In
 analysis consistent with the one            nullified for different reasons and thus     some cases protecting members outside
 adopted here. For example, since theM-      are not subject to revision as the           the SPR may be necessary or important
 Opinion was withdrawn in May of 2011,       commenter suggests.                          to this overall goal.
 the Services have delisted, due to             We do not intend to reexamine every          Comment (97): Several commenters
 recovery, the Tennessee purple              listing determination that was made          (including the Florida Fish and Wildlife
coneflower (76 FR 46632, August 3,           while theM-Opinion was in effect.            Conservation Commission and Montana
 2011), Lake Erie watersnake (76 FR          Regulations and policies are generally       Fish, Wildlife & Parks) requested that
 50680, August 16, 2011), Concho             presumed to have prospective (forward-       the Services revise the text of the draft
 watersnake (76 FR 66780, October 27,        looking) impact only. Further,               policy itself to include additional detail
 2011), Magazine Mountain shagreen (78       consistent with the presumption of           from the discussion in the preamble as
FR 28513, May 15, 2013], Morelet's           regularity of agency decisions, all listing  to the tools and methods that would be
crocodile (77 FR 30820, May 23, 2012],       determinations are presumed consistent       used to minimize unintended
and eastern DPS of Steller sea lion (78      with the then-existing guidance. Of          consequences and avoid over-
FR 66139, November 4, 2013). A               course, anyone may petition us to            regulation, with reference to several
number of other species have been            reconsider any listing determination if     specific sections of the Act. Other
proposed to be delisted.                     there is a basis to think the result would   commenters requested we develop
   Comment (94): The Arizona Game and        be different under this final policy. It is  additional guidance to explain how the
Fish Department suggested the Services       unlikely, though, that a species that was    Services plan to use available tools to
should discuss the impact of this policy     found not to qualify for listing during      increase the efficiency of section 7
on the monitoring of species following       the time in which theM-Opinion was in       consultations for species listed on the
their removal from the Lists of              effect would be found to meet the           basis of status throughout an SPR. Some
Endangered and Threatened Wildlife           standards of this policy.                   commenters, including the Idaho Office
and Plants.                                                                              of Species Conservation, suggested that
   Response: This final policy will affect   L. Effects on Implementation of Other
                                                                                         we failed to give adequate consideration
only future listing determinations           Portions of the Act
                                                                                         to the burdens that will be caused by the
(including delistings and                        Comment (96): Some commenters           policy, particularly in relation to section
reclassifications). We do not anticipate     urged the Services to ensUI'e that, in       7 consultations and permitting under
changing existing monitoring plans as a      applying the policy, we use all available section 10 of the Act.
result of this policy. Moreover, the         tools to limit application of the statutory     Response:The role of the language in
process and standards for future post-       protections for "endangered species"        the actual policy statement is to
delisting monitoring will not change.        and "threatened species" only to those      concisely set out the fundamental
We will still direct monitoring resoUl'ces   members of the species in the SPR that      principles that constitute the Services'
first to those areas where the species       is the basis for a listing determination.   interpretation of the key phrase
had previously experienced significant       Montana Fish, Wildlife & Parks, for         "significant portion of its range." While
adverse impacts. Those areas will be         example, suggested that there needs to      we have provided discussion of issues
identified in the delisting rule. Of         be more emphasis on utilizing available regarding the need for flexibility in
course, if monitoring of a delisted          tools under the Act in a creative manner applying other portions of the Act
species leads us to conclude that a          to provide regulatory relief and other      above, we find it unnecessary to expand
species again warrants listing, including    incentives in areas where a species is      the policy statement itself to discuss
because of threats in an SPR, we may         doing well and a commitment to work         these ancillary issues. Further, we have
initiate a new listing process for that      with regulated entities to provide          adequately considered any additional
species.                                     regulatory relief.                          regulatory burdens that might result
   Comment (95): The Arizona Game and           Response: The Services are committed from this policy. We specifically
Fish Department suggested that all           to working with stakeholders to develop considered this issue in developing this
previous listing determinations made         innovative ways to further species          policy and in setting the threshold for
under the now withill·awn M-Opinion          protection consistent with the statute.     SPRs. The Services expect that the
must be reexamined. The agency               As we explained in the preamble to the      policy is unlikely to lead to many new
appeared to be concerned that we may         draft policy (76 FR 76987), the Services    listings on the basis of an SPR,
convert any existing listings to             intend to use the flexibilities of the      suggesting that it would not be a wise
rangewide listings.                          statute to tailor protections to those      use of agency resources to develop
   Response: During the time theM-           members of the species most at risk         detailed guidance at this time. As
Opinion was in effect (2007-2011), FWS       whenever possible. Where the statute        explained in section VI. Effects of
made a number of listing                     permits flexibility, the Services will use Policy, where threats vary across the
determinations, some of which resulted       it to promote conservation without          range of a species, we may use methods
in listings and some of which ended in       causing unnecessary burdens that            such as programmatic consultations,
negative findings on listing petitions.      provide no benefit to the species.          low-effect HCPs, or other methods to
Most of these listings were based on         However, because the Act requires us to streamline consultation and permitting

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 procedures for areas where the species         role all suitable habitat can play in          listed because of its status. throughout
 is relatively more secure or the effects       supporting species' recovery. However,         an SPR. However, it is important to
 of the action are smalL We expect these        while we cannot agree that areas outside       understand that the application of the
 same analyses and procedures to be             the SPR should be disqualified from the        authority to exclude areas under section
 applicable regardless of whether a             scope of areas that may meet the               4(b)(2) of the Act is discretionary rather
 species is listed because of its status        definition of ''critical habitat,'' we note    than mandatory. While the Secretary
 throughout an SPR or throughout all of         that the impacts analysis and                  must "consider" economic and other
 its range. It does not appear that             discretionary exclusions process of            relevant impacts prior to designating, he
 developing guidance in detail for              section 4(b)(2) of the Act are key             or she is not required to undertake a
 species listed on the basis of their status    mechanisms for tailoring designations to       particular method of analysis and is not
 throughout an SPR would be a valuable          the areas where conservation benefits          required to weigh benefits of exclusion
 use of our resources because all               are greatest and not outweighed by other       against benefits of inclusion. Exclusions
 consultations are driven by highly fact-       impacts. As we have indicated, we              under section 4(b)(2) are always
 specific considerations. If these issues       would expect the Secretary to consider         discretionary (see Building Industry
 in practice arise more frequently or pose      using his or her discretion to tailor          Association (BIA) v. DOC, No. C 11-
 more difficulty than expected at this          designations where threats are present         4118 PJH, 2012 WL 6002511, *5-7 (N.D.
 time, the Services will consider               in only a portion of the range.                Cal. Nov. 30, 2012) (green sturgeon)).
 developing further guidance for agency            Comment (99): Some commenters                  Comment (101): One commenter
 staff.                                         suggested that section 4(c)(1) of the Act      suggested that the Services should
    Comment (98): Some commenters               provides a basis upon which to limit the       include a statement of intent to limit
requested that the Services expressly           scope of critical habitat designations to      critical habitat designations to areas
limit designations of critical habitat for      the areas within an SPR. They argued           within the SPR in any new policy
 species listed on the basis of SPR to          that the text of section 4(c)(1) should be     regarding application of section 4(b)(2)
 avoid undue impacts to projects that           interpreted as a substantive grant of          and perhaps in the handbook.
would have effects outside the SPR.             authority to the Services to tailor a            Response: We clarified above (e.g.,
Some suggested that the Services should         critical habitat designation to those         response to Comment (100)) the role of
adopt a "high threshold" or "rebuttable         areas within the SPR.                          section 4(b)(2) of the Act in
presumption" that would limit a                   Response: Section 4(c)(1) of the Act         appropriately tailoring critical habitat
designation of critical habitat to the area     simply has no substantive bearing on           designations. At this time we do not see
within the SPR that was the basis for          the scope of critical habitat                   a need to separately address these issues
listing the species. Appearing to key off       designations. As we have explained, we        through other policies or documents not
of the distinction in the statutory            adopt the view of the courts that have         within the scope of the policy being
definition between "occupied" and              recently held that section 4(c)(1) is          adopted. If in practice there are more
"unoccupied" habitat, these                    meant to serve an informational purpose        listings on the basis of SPR than we
commenters suggested that a                    rather than substantively constraining'        currently expect, such that these issues
designation of critical habitat should         the scope of either listings or, by            arise frequently or otherwise need
first focus on the physical and biological     extension, critical habitat designations.      further clarification, we may consider
features (or primary constituent               Further, even if section 4(c)(1) had           promulgating additional guidance.
elements) inside the SPR and should            substantive meaning, the commenters               Comment (102): One cornmenter
include areas outside the SPR only upon        appear to misread the last clause of           suggested that a February 28, 2012,
a finding that the area inside the SPR         section 4(c)(1), which does not refer to       Presidential Memorandum addressing
would not satisfy the purposes of              "such portion" but refers to "such             FWS' designation of critical habitat for
critical habitat designation.                  range."                                        the northern spotted owl directed the
   Response: All provisions governing             Comment (100): One commenter                Services to exclude private lands from
designations of critical habitat,              asked that the Services confirm they           all critical habitat designations.
including the definition in section 3(5)       will exclude under section 4(b)(2) of the         Response: The commenter
of the Act, must be applied for Species        Act those areas where benefits of              misconstrues the scope and effect of the
listed on the basis of an SPR analysis in      exclusion outweigh benefits of                 cited memorandum. In any event, these
the same manner as for any other listed        inclusion, except where exclusion              issues are beyond the scope of the
species. Thus, since a listing based on        would result in extinction of the              present policy, which is focused on the
an SPR analysis is of the entire listed        species. (Another commenter                    interpretation of the "significant portion
entity, not just the members in the SPR,       acknowledged that section 4(b)(2)              of its range" language in the definitions
it would be incorrect to apply the             "enables" the Services to exclude areas        of "endangered species" and
provisions governing habitat occupied          rather than requires them.) Another            "threatened species." We have
at the time of listing to only the areas       suggested that there could never be a          separately amended the regulations
within the SPR and ignore other areas          circumstance where failure to include          governing the designation of critical
where members of the listed entity are         an area could result in extinction of the      habitat (50 CFR 424.19) to respond to
present. Also, it would not be                 species (which is the only circumstance        the memorandum (78 FR 53058, August
appropriate to categorically or                in which section 4(b)(2) prohibits             28, 2013).
presumptively foreclose designation of         excluding a specific area) and that the           Comment (103): Several commenters
areas outside the SPR, as we discussed         net benefits analysis will likely always       (including the Alaska Department of
in the preamble to the draft policy (76        lean in favor of exclusion.                    Fish and Game and Southern Nevada
FR 76987, pp. 77003-77004.). In light of          Response: We agree, as we have              Water Authority) expressed concerns
the strong conservation purpose of             indicated in our draft policy (76 FR           about how this policy was intended to
critical habitat and the definition of         76987, p. 77003) and in our response to        influence the conduct of interagency
"conservation" as meaning all tools            Comment (98}, above, that our authority        consultation under section 7(a)(2) ofthe
useful to bring a species to the point         to exclude areas fmm critical habitat          Act. Some appear to believe that the
where the protections of the Act are no        designations may be an important tool          Services intend to categorically consider
longer needed, we must consider the            in tailoring protections for a species         any action that would have an adverse

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  effect on members in an SPR to be likely     where the Services have tailored take          section 4(d] of the Act would be
 to jeopardize the listed species'             protections for threatened species, this       appropriate.
  continued existence. For example, the        would not relieve Federal agencies of             Comment (107): At least one
 Alaska Department of Fish and Game             their consultation obligations.               commenter suggested that the Services
  suggested the Services need to explain,          Comment (105): One commenter               should clarify in the final policy that
  "whether a jeopardy determination             seemed to question whether NMFS or            section 4(d) has two distinct provisions,
 would differ if the proposed project          FWS would engage in "consultation"             and that rules under the first requires a
 affected species outside the SPR as           with foreign countries in the event that       ''necessary and advisable'' finding,
 opposed to within the SPR. It also does       a species is listed rangewide even             while rules under the second
 not address whether the Services would        though only a portion of its range (and        (determining whether to apply the take
 be more likely to make a 'no jeopardy'        perhaps only insignificant portions)           prohibitiOns) do not.
 finding if a project is conducted outside     falls within the United States, its               Response: While we acknowledge that
 of the SPR with no direct impact on the       territories, or its Exclusive Economic        this has been recognized by courts as a
 individuals within the SPR."                  Zone (EEZ]. The commenter further             permissible reading of section 4(d) of
    Response: We must make                     suggested that the lack of ability to         the Act, most recently in the polar bear
 determinations under section 7(a)(2) of       apply protections outside the United          litigation, it is beyond the scope of the
 the Act based on a review of the best         States should influence how the               SPR policy to construe section 4(d] at
 available scientific and commercial data      Services apply this policy in reaching        this level of detail (see In Re Polar Bear
 assessed at the level of the entire listed    listing determinations.                       Endangered Species Act Listing And
 entity (species/subspecies/DPS). It has          Response: Section 7(a)(2) of the Act       § 4(D) Rule Litigation, 818 F.Supp.2d
 always been the case that impacts to          does not apply to foreign governments,        214, 228 (D.D.C. 2011)).
 particularly sensitive or critical            so we do not engage in "consultations"            Comment (108): The Governor of
 members of the listed entity may be           with foreign nations in the sense that        Wyoming stated that the Act's "policy
 found to appreciably reduce the               that term is used in connection with          reform needs to address implementing
 likelihood of survival or recovery of the     section 7. However, we inform affected        laws particularly prone to litigation."
 entire species, such as if those members      countries of potential listings and seek          Response: This policy is an attempt to
 are a critical breeding population. This      information in return. We also provide        address an issue that has frequently led
is very fact-specific. This policy does        some technical assistance after listing       to litigation. It is beyond the scope of
 not establish a presumption that a           when requested and feasible. In any            the current effort to comprehensively
proposed Federal action that would             event, our limited ability to regulate the    address other areas of the Act that could
 adversely affect the members in an SPR        species outside of the United States          benefit from reform.
will automatically result in a jeopardy        does not factor into either the                   Comment (109): The Arizona Game
determination under section 7(a)(2). Nor       development of this policy or individual      and Fish Department suggests that the
does this policy suggest that impacts to      listing determinations. Listing                policy, if approved, should ''more
members that are not located within the        determinations must be based solely on       thoroughly describe how it would be
SPR will automatically be found not           the best available scientific and              applied during development of
likely to jeopardize the species. We will     commercial data after taking into             Recovery Plans."
analyze each situation on its own facts.      account certain factors as specified in           Response: As discussed in section
    Comment (104): The Alaska                 section 4 of the Act. Our authority to list   III.F., above, we reiterate that we
Department of Fish and Game suggested         species worldwide has been an                 anticipate recovery planning to focus
that one of the methods available to the      acknowledged feature of the Act and its       first on ameliorating threats in the SPR.
Services to streamline consultation           precursors, without regard to our             This is consistent with current
would be to use section 4{d) rules at the     limited ability to apply the protections      practice-our traditional and reasonable
listing stage to tailor protections, and      of the Act outside of the United States,      approach, even for species not listed on
requested the Services to explain how         its territories, its EEZ, and on the high     the basis of an SPR, has been to focus
the draft policy would influence              seas. This final SPR policy will in no        on the areas where members face
issuance of section 4{d) rules.               way affect the current framework.             greatest peril. However, members of the
    Response: As discussed further in the         Comment (106): Some commenters            species outside the SPR should not be
section of this document discussing           (including the Governor of Wyoming            ignored in planning for overall species
rules issued under section 4(d) of the        and Alaska Department of Fish and             conservation and recovery.
Act (see section VI.B., below), we agree      Game) suggest that the Services should            Comment (110): One commenter
that the ability to issue section 4(d)        choose to list species as threatened          suggested the agencies need to explain
rules to tailor protections for threatened    whenever possible, instead of basing a        how implementation of the SPR policy
species may be particularly important         listing on an endangered status inside        can be harmonized with the candidate-
for species listed on the basis of an SPR     an SPR, so that the Services may take         review process and the process to
analysis. Thus, where appropriate, we         advantage of the ability to promulgate        implement FWS' settlements with
will consider whether certain activities      rules under section 4(d) of the Act.          WildEarth Guardians and the Center for
in certain areas can be exempted from             Response: We have revised the             Biological Diversity.
the take prohibition of section 9 of the      definition of "significant" in this final         Response: In reviewing whether a
Act even where those prohibitions are         policy. Under the new definition, it will     species is a candidate (or should be
generally being applied for that species.     not be possible for a sp8cies to be           removed from the candidate list], FWS
However, section 7(a)(2) creates              simultaneously classified as threatened       considers the same definitions of
independent obligations on Federal            throughout its range and endangered           "endangered species" and "threatened
agencies to avoid authorizing, funding,       throughout an SPR. Thus, the                  species," including the SPR phrase, as
or carrying out actions that would be         commenters' suggestion is no longer           we would for a proposed listing
likely to appreciably reduce the              relevant. Of course, where a species is       determination or any other status
likelihood of survival or recovery of         listed as threatened, each agency will        review. As candidate species are
listed species or to destroy or adversely     continue its practice of considering          reviewed for either proposed listing or
modify their critical habitat. Thus, even     whether a rule promulgated under              for removal from the candidate list as a

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  result of conservation actions or              and imminence of threats. In other                  Comment (114): One commenter
  changed status, FWS will apply the             words, the CUITent system, while not             suggested that the policy was contrary
  definitions of "endangered species" and        explicitly addl'8ssing ranking of a              to Executive Order 13563.
  "threatened species" using the same            species that is a candidate because it iS_',        Response: We disagree. This is not a
  process we have outlined in section            endangered or threatened throughout an           circumstance in which the Secretaries
 III. F., above. If FWS determines a             SPR, allows for considering differences          have complete discretion delegated by
 candidate species is not currently              in the magnitude and imminence of                Congress as to the scope or substance of
 endangered or threatened throughout all         threats that are likely to occur between         regulation. Here, we have determined
 of its range, we will consider whether          species that are endangered or                   that the most defensible legal
 there are any portions that may be both         threatened throughout all their range            interpretation of the Act is the one set
 (1) significant and (2] endangered or           and species that are endangered or               forth in this policy. Nothing in the
 threatened. If the species is endangered        threatened throughout an SPR.                   Executive Order suggests that agencies
 or threatened throughout an SPR, it               We noted that NMFS' definition of             should take legally unsound positions to
 would remain a candidate or be                  "candidate species" differs from that of        reduce regulation.
 proposed for listing. If it is not currently   FWS, and therefore the language above               Comment (115): One commenter
 endangered or threatened throughout all         applies only to FWS. NMFS' candidate            stated that we misrepresented the effect
 of its range and it is also not endangered     species are those petitioned species that        of the policy on small entities. The
 or threatened throughout any SPR, then          are actively being considered for listing       commenter asserted that the policy will
 FWS would remove the species from the           as endangered or threatened under the           expand listings and require small
 candidate list. This process will apply        Act, as well as those species for which          businesses to get incidental take
 to all FWS determinations, regardless of       NMFS has initiated a status review that          permits. The commenter further argued
 any settlement agreements to complete          it has announced in the Federal                  that the Services have no basis for
 such determinations-settlement                 Register (59 FR 19975, April15, 2004;            asserting that they are the only entities
 agreements require that we make a              71 FR 61022, October 17, 2006].                  affected by tbe draft policy. Similar
 determination by a date certain, but do           With regard to our authority to make          comments were made with respect to
 not alter the standards the Services must      warranted-but-precluded findings, the            State and Tribal governments, and local
 apply to those determinations.                 Services can only make those findings            governments bear the burden of section
    Comment (111): One commenter                to the extent that prioritization of             7 consultation on public works projects
 suggested that FWS should give SPR             proposals and available resources allow,         that may affect listed species. Another
 candidates a low priority under its            and expeditious progress on adding to            commenter stated that the draft policy
 listing priority guidelines, and that the      and removing species from the Lists of           would have resulted in gray wolves
 Services should make greater use of            Endangered and Threatened Wildlife               remaining listed in Montana and
their authority to make warranted-but-          and Plants can be demonstrated. To the           Wyoming, whicb would have placed
precluded findings.                             extent that a species that is a FWS             unreasonable burdens on small
    Response: FWS follows the current           candidate because it is endangered or            businesses.
listing priority guidance (48 FR 43098,         threatened throughout an SPR will tend              Response: The discussion of small-
September 21, 1983) for assigning               to have lower priority rankings than            business impacts in the draft policy did
priorities to listing actions in order to       other species, it may be more likely that        not assert that no small businesses
make the most appropriate use of the            FWS would make a warranted-but-                 would be affected; rather, it concluded
limited resources available to                  precluding finding for it.                      that no small businesses would be
implement the Act. The priority of a                                                             directly regulated. The draft policy went
species depends on the magnitude of             M. Procedural Requirements and                   on to explain that we predict that few
threats, the imminence of threats, and          Compliance With Laws                            small entities, including governments,
the taxonomic distinctness of the                  Comment ( 112): Several commenters           will even be affected because the policy
species (monotypic genus, species, or           stated that the SPR policy is a major           is likely to result in only a small number
subspecies or DPS). Under this system,          Federal action and, as such, the                of additional listings (even when
FWS assigns a ranking to a candidate            National Environmental Policy Act               pam pared to no implementation of the
species at the level of the entity              (NEPA; 42 U.S.C. 4321 et seq.) requires         SPR language at all, which is not a
considered for listing (species,                the preparation of an environmental             legally sound option]. As discussed
subspecies, or DPS]. FWS will apply             impact statement.                               below in section VII. B., a regulatory
this system to any species that is a              Response: We conducted an                     flexibility analysis is only required if a
candidate because of its endangered or          environment assessment, which                   Federal action directly regulates small
threatened status throughout an SPR.            concluded with a finding of no                  entities. The Services' current
Because the entity that would be listed         significant impact (FONSI). Under               understanding is that this position is
is the entire species (not just the SPR),       NEPA, an environmental impact                   supported by existing case law
FWS will determine the ranking with             statement is not required. See the              regarding the certification requirements
respect to the species as a whole. In           discussion of NEPA under VII. Required          under the Regulatory Flexibility Act
other words, FWS will consider the              Determinations, below, and in the               (RFA), the Small Business Regulatory
magnitude and imminence of threats to           FONSI.                                          Enforcement Fairness Act (SBREFA],
the entire species, not just the SPR. It is        Comment (113): Several commenters            and SEA's handbook, "A guide for
likely that a species that is a candidate       stated that the required determinations         Government Agencies: How To Comply
because it is endangered or threatened          (explaining compliance with various             With the Regulatory Flexibility Act
throughout an SPR will not be                   procedural requirements imposed by              (2003). However, it is the current
experiencing the same level of threats          statutes and executive orders) in the           practice of the Services to assess, to the
throughout its range, or will not be            Federal Register notice announcing the          extent practicable, these potential
experiencing threats that are currently         draft policy were inadequate.                   impacts if sufficient data are available,
acting on the entire range of the species.        Response: We disagree. Specific               whether or not this analysis is believed
Thus, such a candidate may be ranked            criticisms are addressed individually           by the Services to be strictly required by
relatively lowly based on magnitude             below.                                          the RFA. In addition, we noted

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  elsewhere in the draft policy that where        proposed energy regulations adopted by        to provide notification to the States
  a species is listed as threatened, the take     Bureau of Land Management in                  regarding particular pre listing and
  prohibitions may be tailored under              anticipation of protection of the greater     listing actions. This final SPR policy is
 section 4(d) of the Act so as not to apply       sage-grouse.                                  not a particular prelisting or listing
 throughout its range. Finally, contrary to          Response: We disagree. Although            action. Nonetheless, the SPR policy will
 the assertion of one commenter, if the           listing species under the Act can             apply to those actions, and we will
  draft policy had been applied to the            indirectly affect energy, as discussed        continue to implement the 1994 policy
 Northern Rocky Mountain DPS of gray              elsewhere, we predict that relatively few     by notifying the States of those actions.
 wolves in 2009, it is not clear what the         listing decisions will turn on                Additionally, as noted in our response
 result would have been. In any case,             application of this policy. See oUr           to Comment (5 ), we have been in close
 that point is moot due to subsequent             statement below under section VII.J.          contact with the Joint Task Force
 congressional action.                               Comment (119): One commenter               concerning this issue.
    Comment (116): One commenter                 suggested that we add a discussion of             Comment (121): One commenter
 asserted our conclusion that the draft          how we will incorporate the                    asserted that we must complete a
 policy would not have significant               Information Quality Act (IQA; Pub. L.          comprehensive evaluation of the costs
 takings implications is incorrect.               106-554) and presidential directives          that will be caused by the draft policy,
 According to the commenter, the                 into the process for evaluating species       including consideration of small
 examples of delta smelt, northern               under the SPR policy.                         businesses.
 spotted owl, and others demonstrate                 Response: The Services, in                   Response: We completed all required
 that the policy would present a baiTier         accordance with our July 1, 1994, peer        analyses; see section VII. Required
 to all reasonable and beneficial use of         review policy (59 FR 34270) and the           Determinations, below.
 private property affected by listings that      Office of Management and Budget's                 Comment (122): Several commenters
result from the policy.                          December 16, 2004, Final Information          asserted that we should be engaged in
    Response: We stand by our analysis in        Quality Bulletin for Peer Review, solicit     Administrative Procedure Act (APA; 5
 the draft policy. We are unaware of any         independent scientific review of the          U.S. C. chapter 5, subchapter II)
 court having found that a listing under         information and analyses contained in         legislative rulemaking (or "full notice
the Act imposes a taking under the Fifth         our proposed listing determinations           and comment rulemaking''), not
Amendment of the Constitution.                   under the Act. This review usually            adopting a "policy." They further
Therefore, even to the extent that this          occurs concurrently with the public           commented that the policy will have the
policy leads to the listing of a species         comment period for the proposed               effect of modifying the existing
 that would not otherwise be listed, this        action. Peer review would include             regulations, and requires a revision of
policy will not cause a taking under the        consideration of the adequacy of the           the Code of Federal Regulations.
Fifth Amendment. See our statement               data relied on, the analyses, and the            Response: Labeling a document a
below under section VII.D.                       conclusions drawn, including any              "policy" or choosing not to ii,IClude it in
    Comment (117): One commenter                 analyses of potential SPRs. In addition       the Code of Federal Regulations is not
asserted that we misstated the draft             to conducting peer review where               inconsistent with APA rulemaking. In
policy's federalism implications and            appropriate, the Services conduct pre-        fact, in promulgating this policy, the
that the policy would turn the Act into         dissemination review of information to        Services have purposefully used the
a massive land-use and zoning program           ensure compliance with applicable             processes required for APA rules,
administered by the Federal                     Information Quality Act guidelines. The       including public notice of and
Government, obviating State authority.          Services will follow the same                 opportunity for comment on the draft
Another commenter asserted that our             procedures and policies for peer review       policy, even if they may not have been
federalism conclusions are incorrect            of influential scientific documents and       required, in order to ensure full
because listing determinations have             other supporting information for all          compliance with the APA. Moreover,
great impacts on States and local               listing determinations, including those       the Services have indicated that we
communities, and the policy will create         that may be based on a species' status        intend to be bound by the policy. Thus,
a disincentive on proactive State               throughout an SPR. This SPR policy            the Services are effectively treating this
conservation.                                   does not alter those procedures and the       policy as anAPA rulemaking. We note
    Response: We disagree. h:J- some            Services are committed to conducting          that several of these comments
circumstances, listing determinations           peer review and pre-dissemination             recommended "formal" APA
can have impacts on States and local            review for all determinations as part of      rulemaking. As ''formal rulemaking'' is
communities, but, as discussed                  the process of ensuring our decisions         a technical term for a rare, trial-like
elsewhere, we predict that relatively few       are based on the best scientific and          proceeding required by statutes that
listing decisions will turn on                  commercial data available.                    require rules to be made "on the record
application of this policy, so this policy          Comment (120): Colorado Parks and         after opportunity for an agency
is likely only in rare circumstances to         Wildlife asserted that the draft policy is    hearing," 5 U.S.C. 553(c), we assume
have impacts on States and local                inconsistent with the 1994 Interagency        that these were references to "informal
communities. In any case, as we stated          Cooperative Policy Regarding the Role         rulemaking" under 5 U.S.C. 553
in the draft policy, any impacts would          of State Agencies in Endangered Species       (commonly referred to as notice-and-
not be "substantial, direct effects," the       Act Activities (59 FR 34274, July 1,          comment rulemaking).
threshold under Executive Order 13132           1994).                                            Comment (123): One commenter
(Federalism). Moreover, in no case does             Response: The 1994 policy referred to     asserted that the draft policy is
the Act, with or without this policy,           by the commenter provides guidance on         inconsistent with 50 CFR 424.10, which
supplant State authority to regulate land       how we will involve the States in             states that the Secretary may list species
use or zoning.                                  prelisting, listing, section 7                "only in accordance with the
    Comment (118}: One commenter                consultation, habitat conservation            procedures of [part 424]" and stated that
asserted that we misstate the policy's          planning, and recovery. The 1994 policy       listing a species like the western snowy
effect on energy supplies, distribution,        requires us to utilize the expertise and      plover (currently listed as a threatened
muse, and cited the example of                  solicit information from the States, and      species) as an endangered species if

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FWS determines that it is endangered          threatened throughout a significant             portion. This outcome is a permissible
throughout a significant portion of its       portion of its range, and the population        interpretation of the statute, and it
range would violate the express               in that significant portion is a valid          reflects the policy views of the
provisions of 50 CFR 424.10.                  DPS, we will list the DPS rather than the Departments of the Interior and
   Response: Nothing in the policy is         entire taxonomic species or subspecies.         Commerce.
inconsistent with the current                                                                    Listing a species when it is
regulations, as the cUITent regulations       VI. Effects of Policy
                                                                                              endangered or threatened throughout a
do not elaborate on the statutory                This policy's interpretation of the          "significant portion of its range" before
definitions of "endangered species" and       ''significant portion of its range''            it is endangered or threatened
threatened species," and, in particular,      language in the Act's definitions of           throughout all its range may allow the
are silent as to the meaning or               "endangered species" and "threatened            Services to protect and conserve species
application of ''significant portion of its   species" provides a standard for                and the ecosystems upon which they
range." The policy merely clarifies how       determining whether a species meets             depend before large-scale decline occurs
we will implement the statute under the       the definitions of ''endangered species'' throughout the entire range of the
current regulations. Therefore, no            or "threatened species." The only direct species. This may allow protection and
revision to the regulations is necessary.     effect of the policy will be to classify as    recovery of declining organisms in a
In any case, under the final policy, we       "significant" (or not) portions of the         more timely and less costly manner, and
could not determine that a species that       range of a species under consideration         on a smaller scale than the more costly
is threatened throughout all of its range,    for listing, de listing, or reclassification.  and extensive efforts that might be
like the western snowy plover, is             More uniform application of the Act's          needed to recover a species that has
endangered throughout an SPR.                 definitions of "endangered species" and reached a point that it has become
                                              "threatened species" will allow the            endangered or threatened throughout all
V. Policy                                     Services, various other government             its range.
    Consequences of a species being           agencies, private individuals and                  Once we determine that a species is
 endangered or threatened throughout a        organizations, and other interested or         endangered or threatened, the
 significant portion of its range:            concerned parties to better judge and          provisions of the Act are applied in a
    The phrase "significant portion of its    concentrate their efforts toward the           straightforward manner, regardless of
range" in the Act's definitions of            conservation of biological resources           whether the species was listed becimse
 "endangered species" and "threatened        vulnerable to extinction.                       it is endangered or threatened
species" provides an independent basis           Application of the policy may result        throughout all its range or only
for listing. Thus, there are two situations in the Services listing and protecting,          throughout a significant portion of its
 (or factual bases) under which a species throughout their ranges, species that              range.
would qualify for listing: a species may     previously we either would not have
be endangered or threatened throughout listed or would have listed in only
                                                                                             A. Designation of Critical Habitat
all of its range or a species may be         portions of their ranges. However, this            If a species is listed because it is
endangered or threatened throughout          result will occur only under a limited          endangered or threatened tluoughout a
only a significant portion of its range.     set of circumstances. Under most               significant portion of its range, the
   If a species is found to be endangered circumstances, we anticipate that the              Services will designate critical habitat
or threatened throughout only a              outcomes of our status determinations          for the species (within areas under the
significant portion of its range, the        with or without the policy will be the         jurisdiction of the United States) to the
entire species is listed as endangered or same. This comparison is true for both             maximum extent prudent and
threatened, respectively, and the Act's      the period prior to theM-Opinion, and          determinable. We will use the same
protections apply to all individuals of      the period during which FWS                    process for designating critical habitat
the species wherever found.                  implemented the M-Opinion. The                 for species regardless of whether they
    Significant: A portion of the range of   primai'Y difference when compared to           are listed because they are endangered
a species is "significant" if the species    the M-Opinion is that a species will be        or threatened throughout a significant
is not currently endangered or               listed throughout all of its range under       portion of their range or because they
threatened throughout its range, but the this policy. Another key difference is             are endangered or threatened
portion's contribution to the v1ability of that, in implementing the M-Opinion on throughout all of their range. In either
the species is so important that, without a case-by-case basis, FWS generally               circumstance, we will designate all
the members in that portion, the species interpreted "significant" as having a              areas that meet the definition of "critical
would be in danger of extinction, or         relatively lower threshold (a portion          habitat" (unless excluded pursuant to
likely to become so in the foreseeable       only had to meaningfully contribute to         section 4(b)(2) of the Act). "Critical
futUI'e, throughout all of its range.        the viability of the whole species).           habitat" includes certain "specific areas
   Range: The range of a species is          FWS's experience with implementing             within the geographical area occupied
considered to be the general                 theM-Opinion suggests that listings            by the species, at the time it is listed"
geographical area within which that          based on application of this policy will       and certain "specific areas outside the
species can be found at the time FWS         be relatively uncommon. During the             geographic area occupied by the species
or NMFS makes any particular status          time that the M-Opinion was in effect,         at the time it is listed" (16 U.S.C.
determination. This range includes           between March 2007 and May 2011,               1532(5)(A)). Thus, critical habitat
those areas used throughout all or part      FWS determined that a species should           designations may include areas within
of the species' life cycle, even if they are be listed based on its status throughout       the SPR, areas outside the SPR occupied
not used regularly (e.g., seasonal           a significant portion of its range only        by the species, and areas that are both
habitats). Lost historical range is          five times. Under this policy, in those        outside the SPR and outside the area
relevant to the analysis of the status of    instances where we list a species              occupied by the species at the time of
the species, but it cannot constitute a      because of its status throughout a             listing, as appropriate. If a species is
significant portion of a species' range.     significant portion of its range,              listed, however, as a result of threats
   Reconciling SPR with DPS authority:       protections will be applied throughout         throughov.t a significant portion of its
If the species is endangered or              the species' range, rather than just in the range, the designation of critical habitat

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may tend to focus on that portion of its      portion of the range throughout which         Management and Budget will review all
range. For example, with respect to           the species was originally determined to      significant regulations. OIRA has
portions of the range of the species not      be endangered or threatened, and may          determined that this policy is
facing relevant threats, the Secretary        include recovery actions outside the         significant.
may find that the benefits of excluding       SPR, or even outside the current range          Executive Order 13563 reaffirms the
an area from designation outweigh the         of the species. For example,                 principles ofE.O. 12866 while calling
benefits of specifying the area as critical   reintroducing a species to parts of its      for improvements in the nation's
habitat, which may lead to an exclusion       historical range outside the SPR may         regulatory system to promote
under section 4(b)(2) of the Act.             increase the species' redundancy and         predictability, to reduce uncertainty,
                                              resiliency such that the SPR no longer       and to use the best, most innovative,
 B. Rules Promulgated Under Section                                                        and least burdensome tools for
 4(d) of the Act                              meets the policy's standard for
                                              "significant" (i.e., loss of the species in  achieving regulatory ends. The
   Determining that a species is              the SPR would no longer cause the            executive order directs agencies to
threatened throughout a significant           remainder to become endangered or            consider regulatory approaches that
portion of its range will result in the       threatened).                                 reduce burdens and maintain flexibility
threatened status being applied to the                                                     and freedom of choice for the public
entire range of the species. When a            D. Sections 7, 9, ond 10 of the Act         where these approaches are relevant,
species is listed as threatened, section          Regardless of whether a species is       feasible, and consistent with regulatory
4(d) of the Act allows us to issue             listed because it is endangered or          objectives. E.O. 13563 emphasizes
regulations "necessary and advisable to        threatened throughout all of its range, or further that regulations must be based
provide for the conservation" of the           because it is endangered or threatened      on the best available science and that
species. This provision allows us to           throughout only a significant portion of the rulemaking process must allow for
tailor regulations to the needs of the         its range, the provisions of the Act apply public participation and an open
species. When a species is listed as           to the entire species. A Federal agency     exchange of ideas. We have developed
threatened because of its status               is required to consult with FWS or         this policy in a manner consistent with
throughout an SPR, we will consider the        NMFS under the jeopardy standard of         these requirements.
development of a section 4(d) rule to          section 7 of the Act if its actions may
provide regulatory flexibility and to                                                      B. Regulatory Flexibility Act
                                               affect an endangered or threatened
ensure that we apply the prohibitions of       species anywhere in its range. Jeopardy        Under the Regulatory Flexibility Act
the Act where appropriate.                     analyses will be conducted at the scale     (as amended by the Small Business
 C. Recove1y Planning and                      of the species as a whole. Where threats Regulatory Enforcement Fairness Act
                                              vary across the range of a species, we       (SBREFA) of 1996; 5 U.S.C. 601 et seq.),
Implementation                                                                            whenever    a Federal agency is required
                                              may streamline consultation processes
   Regardless of whether a species is                                                     to publish a notice of rule making for           I
                                              in areas where the species is more
listed because it is endangered or
threatened throughout all of its range, or    secure. We note that threats, population any proposed or final rule, it must
                                                                                          prepare, and make available for public        I
because it is endangered or threatened
                                              trends, and relative importance to
                                              recovery commonly vary across the           comment, a regulatory flexibility                ~
                                                                                                                                           i!
throughout only a significant portion of                                                  analysis that describes the effect of the        [
its range, the goal of recovery planning      range for many species, especially as
                                              recovery efforts progress. The Services     rule on small entities (i.e., small            II
and implementation is to bring the                                                        businesses, small organizations, and
species to the point at which it no           routinely account for this variation in
                                                                                          small government jurisdictions).                 ~
                                              our consultations. We expect to apply                                                     I
longer needs the protections of the Act.
Recovery plans must, to the maximum           the same approach for species listed
                                                                                          However, no regulatory flexibility
                                                                                          analysis is required if the head of an
                                                                                                                                         ~
extent practicable, include site-specific     because they are endangered or
                                                                                          agency certifies that the rule will not       II
                                              threatened throughout only significant
management actions and measurable,
objective criteria for determining the        portions of their ranges. Similarly,
                                                                                          have a significant economic impact on
                                                                                          a substantial number of small entities.
                                                                                                                                        I
                                              analyses for issuing permits and                                                          il
point at which the species no longer                                                      SBREFA amended the Regulatory
meets the definition of an "endangered        exemptions under section 10 of the Act                                                    !I
                                                                                          Flexibility Act to require Federal
species" or a "threatened species" (see       will apply throughout the species'          agencies to provide a statement of the        II
16 U.S. C. 1533(f)(1)(B). In other words,
the recovery plan predicts that when
those measurable, objective criteria are
                                              range, and we will use our expertise to
                                              streamline the processes and apply the
                                              appropriate level of protection for the
                                                                                          factual basis for certifying that a rule
                                                                                          will not have a significant economic         i!r
                                                                                          impact on a substantial number of small
met, the species would not be likely to       areas under consideration. In the same      entities. We are certifying that this         II
                                              way, even if a species is listed because
become an endangered species in the
foreseeable futUI'e either throughout all     it is endangered or threatened
                                                                                          policy will not have a significant
                                                                                          economic effect on a substantial number
                                                                                                                                       I
of its range or throughout a significant      throughout a significant portion of its     of small entities. The following              !I
portion of its range. As with recovery        range, the prohibitions under section 9     discussion explains our rationale.
                                              of the Act will apply throughout the
planning and implementation for
species that are endangered or
threatened throughout all of their
                                              species' range for endangered species,

                                              pursuant to section 4(d) of the Act for
                                                                                              This policy establishes binding
                                                                                          requirements for NMFS and FWS in
                                              and as established by rules promulgated making listing determinations under the         I 'I

                                                                                                                                       li
                                                                                                                                       !I
ranges, a variety of actions may be                                                       Endangered Species Act. NMFS and
necessary to recover species that are         species listed as threateried.              FWS will apply this policy in                i,,l
                                                                                                                                        ,,
endangered or threatened throughout an        VII. Required Determinations                determining whether a species meets
                                                                                                                                       !i,,
SPR. Recovery actions should focus on                                                     the Act's definitions of ''endangered
removing threats to the species, and are      A. Regulatory Planning and Review           species" or "threatened species."            ji
thus likely to be focused on those areas      (E.O.s 12866 and 13563]                     However, based on agency experience,         II,,
where threats have been identified.              Executive Order 12866 provides that      we predict application of this poliGy       !i
However, recovery efforts are not             the Office of Information and Regulatory will affect our determinations in only a        '
constrained to just the significant           Affairs (OIRA) in the Office of             limited number of circumstances,            j
                                                                                                                                      [I
                                                                                                                                      :i,,
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                                                                                                                   Ex 14-0777         II
                                                                                                                                      ~
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 resulting in only a small number of           that this policy will not impose a cost       G. Government-to-Government
 additional species listed under the Act        of $100 million or more in any given         Relationship With Tribes
 and application of the Act's protective       year on local or State governments or            In accordance with the President's
 regulations. Moreover, a regulatory           private entities. A Small Government          memorandum of April 29, 1994,
 flexibility analysis is only required if a    Agency Plan is not required. As               ''Government-to-Government Relations
 Federal action directly regulates small       explained above, small governments            with Native American Tribal
 entities; it is not sufficient that the       will not be affected because the policy       Governments" (59 FR 22951, May 4,
 action merely affects a small entity in       would not place additional                    1994), Executive Order 13175, the
 some indirect manner. The Services'           requirements on any city, county, or          Department of the Interior Manual
 current understanding is that this            other local municipalities.                   Chapter 512 DM 2, and the Department
 position is supported by existing case
                                                  This policy will not produce a Federal     of Commerce Amezican Indian and
 law regarding the certification
 requirements under the Regulatory             mandate on State, local, or tribal            Alaska Native Policy(March 30, 1995),
                                               governments or the private sector of          we have considered possible effects on
 Flexibility Act (RFA), the Small
 Business Regulatory Enforcement               $100 million or greater in any year; that     federally recognized Indian tribes and
 Fairness Act (SBREFA), and SEA's              is, it is not a "significant regulatory       have determined that there are no
 handbook, "A guide for Government             action'" under the Unfunded Mandates          potential adverse effects ofissuing this
Agencies: How To Comply With the               Reform Act. This policy imposes no            policy. As noted above, we cannot
Regulatory Flexibility Act (2003).             obligations on State, local, or tribal        reasonably predict those species for
However, it is the current practice of the     governments.                                  which we will receive petitions to list,
 Services to assess, to the extent                                                           delist, or reclassify, or whether a
                                               D. Takings (E.O. 12630)                       species' specific circumstances would
practicable, these potential impacts if
sufficient data are available, whether or                                                    result in us listing a species based on its
                                                  In accordance with Executive Order         status throughout an SPR. We, therefore,
not this analysis is believed by the           12630, this policy will not have
Services to be strictly required by the                                                      cannot predict which entities, including
                                               significant takings implications. This       federally recognized Indian tribes, will
RFA.                                           policy will not pertain to "taking" of
   We cannot reasonably predict those                                                       be affected by listing a species as
                                               private property interests, nor does it       endangered or threatened based on its
species for which we will receive              directly affect private property. A
petitions to list, delist, or reclassify, or                                                status throughout an SPR or the extent
                                               takings implication assessment is not        of those impacts. Given our experience
whether a species' specific
                                               required because this policy (1) will not    implementing the Act, we predict that
circumstances would result in us listing
                                               effectively compel a property owner to       few if any entities, including tribes, will
a species based on its status throughout
                                               suffer a physical invasion of property       be affected. However, the Act requires
an SPR. We, therefore, cannot predict
which entities (other than the Services)       and (2) will not deny all economically       that we give notice of and seek comment
could even potentially be affected,            beneficial or productive use of the land     on any proposal to list, delist, or
much less directly regulated, by listing       or aquatic resoUI"ces. This policy will      reclassify any species prior to making a
a species as endangered or threatened          substantially advance a legitimate           final decision. Our proposed rules to
based on its status throughout an SPR or       government interest (conservation and        list, delist, or reclassify species indicate
the extent of those potential impacts.         recovery of endangered and threatened        the types of activities that may be
Nonetheless, and given the reasons             species) and will not present a barrier to   affected by resulting regulatory
discussed in this document under               all reasonable and expected beneficial       requirements of the Act. Any potentially
section VI. Effects of Policy and our          use of private property.                     affected federally recognized Indian
experience implementing the Act, we                                                         tribes would be notified of a proposed
                                               E. Federalism (E.O. 13132)
expect that few, if any, entities would be                                                  determination and given the
indirectly affected in any way, and none         In accordance with Executive Order         opportunity to review and comment on
would be directly regulated.                   13132, we have considered whether this       the proposed rules.
   Moreover, NMFS and FWS are the              policy will have significant Federalism      H. PapeTwork Reduction Act
only entities that are bound, and              effects and have determined that a
therefore directly regulated, by this          federalism summary impact statement is         This policy does not contain any new
policy, and they are not small entities        not required. This policy pertains only      collections of information that require
under the Regulatory Flexibility Act. As       to determinations to list, delist, or        approval by Office of Management and
discussed above, no other entities are                                                      Budget (OMB) under the Paperwork
                                               reclassify species under section 4 of the
directly regulated by this policy.                                                          Reduction Act. This policy will not
                                               Act, and will not have substantial direct
Therefore, this policy will not have a                                                      impose recordkeeping or reporting
                                               effects on the States, on the relationship
significant economic effect on a                                                            requirements on State or local
                                               between the Federal Government and
substantial number of small entities.                                                       governments, individuals, businesses, or
                                               the States, or on the distribution of
                                                                                            organizations. An agency may not
C. Unfunded Mandates Refmm Act (2              power and responsibilities among the
                                                                                            conduct or sponsor, and a person is not
U.S. C. 1501 et seq.)                          various levels of government.
                                                                                            required to respond to, a collection of
   In accordance with the Unfunded             F. Civil Justice Refmm (E.O. 12988)          information unless it displays a
Mandates Reform Act (2 U.S.C. 1501 et                                                       currently valid OMB control number.
seq.):                                           This policy does not unduly burden
   On the basis of information contained       the judicial system and meets the            I. National EnviTonmental Policy Act
in the B. Regulatory Flexibility Act           applicable standards provided in               We have analyzed this policy in
section, above, this policy will not           sections 3(a) and 3(b)(2) of the Executive   accordance with the criteria of the
''significantly or uniquely'' affect small     Order 12988. This policy clarifies how       National Environmental Policy Act
governments. We have determined and            the Services will make determinations        (NEPA), the Department of the Interior
certify pursuant to the Unfunded               to list, delist, and reclassify species      Manual (318 DM 2.2(g) and 6.3(D)), and
Mandates Reform Act, 2 U.S.C. 1502,            under section 4 of the Act.                  National Oceanic and Atmospheric

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Administration (NOAA) Administrative       f. Energy Supply, Distribution or Use       Services Program, U.S. Fish and
Order 216-6, and prepared an               (E.O. 13211}                                Wildlife Service, 4401 N. Fairfax Drive,
environmental assessment documenting         Executive Order 13211requires             Arlington, VA 22203, and the National
our analysis. The environmental            agencies to prepare Statements of           Marine Fisheries Service's Endangered
assessment presents the purpose of and     Energy Effects when undertaking             Species Division, 1335 East-West
need for this SPR policy, the proposed     actions that significantly affect energy    Highway, Silver Spring, MD 20910.
action and alternatives, and an            supply, distribution, and use. This
                                                                                       Authorily
evaluation of the effects of the           policy is not expected to affect energy
alternatives under the requirements of     supplies, distribution, and use.              We are taking this action under the
NEPA, as implemented by the Council        Therefore, this action is a not a           authority of the Endangered Species Act
on Environmental Quality regulations       significant energy action, and no           of1973, as amended (16 U.S.C.1531 et
(40 CFR 1500 et seq.) and according to     Statement of Energy Effects is required.    seq.).
the Department of the Interior's NEPA      References Cited                              Dated: June 18, 2014,
procedures. In our analysis of.the
                                             A complete list of all references cited   Dan Ashe,
probable environmental impacts of this     in this document is available on the
SPR policy on the human environment,                                                   Director, U.S. Fish and Wildhfe Service.
                                           Internet at http:/lwlivw.regulations.gov
we have determined that there will be      under Docket Number FWS-R9-ES-                Dated: June 19, 2014.
no significant impacts or effects caused   2011-0031 or upon request from the          Samuel D. Rauch III,
by this SPR policy. The environmental      Ecological Services Program, U.S. Fish
assessment, as well as the finding of no                                               Deputy Assistant Administrator for
                                           and Wildlife Service (see FOR FURTHER       Regulatory Programs, National Marine
significant impact (FONSI), is available   INFORMATION CONTACT).
                                                                                       Fisheries Service,
for public inspection at http://
www.regulations.gov at Docket No.          Authors                                     [FR Doc. 2014-15216 Filed 6-27-14; 11:15 am]

FWS-R9-ES-2011-0031.                         The primary authors of this policy are    BILLING CODE 4310-55-P
                                           the staff members of the Ecological




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                                                                                                                     Ex 14-0779
No Shepard’s Signal™
As of: June 24, 2015 6:12 PM EDT


                          Animal Legal Def. Fund v. United States Dep't of Agric.
                                       United States Court of Appeals for the Eleventh Circuit
                                                       June 15, 2015, Decided
                                                            No. 14-12260

Reporter
2015 U.S. App. LEXIS 10036
                                                                      the license did not necessarily include renewal of the license; [2]-
ANIMAL LEGAL DEFENSE FUND, ORCA NETWORK,                              Agency's regulations establishing
PEOPLE FOR THE ETHICAL TREATMENT OF ANIMALS,                          an administrative license renewal process which did not include a
INC., HOWARD GARRETT, SHELBY PROIE, PATRICIA                          requirement for showing compliance with the AWA constituted a
SYKES, KAREN MUNRO, Plaintiffs — Appellants, SHELBY                   reasonable policy choice balancing the conflicting congressional
PROIE, PATRICIA SYKES, Plaintiffs, versus U.S.                        aims of animal welfare and due process for licensees, and the
DEPARTMENT OF AGRICULTURE, SECRETARY, U.S.                            regulations properly provided enforcement mechanisms through
DEPARTMENT            OF     AGRICULTURE,       ELIZABETH             inspections, suspensions, and revocations by the agency.
GOLDENTYER, in her official capacity as Eastern Regional
Director of the United States of Agriculture Animal and Plant         Outcome
Health     Inspection    Service, MARINE        EXHIBITION
CORPORATION, d/b/a/ Miami Seaquarium, Defendants —                    Judgment affirmed.
Appellees.
                                                                      LexisNexis® Headnotes
Prior History: [*1] Appeal from the United States District Court
for the Southern District of Florida. D.C. Docket No. 1:13-cv-         Business & Corporate Compliance > ... > Governments > Agriculture &
20076-JAL.                                                             Food > Animal Welfare Act

Disposition: AFFIRMED.                                                HN1 The United States Department of Agriculture (USDA) has
                                                                      adopted a mechanism to achieve substantive compliance with
                                                                      animal welfare standards. The USDA regulations provide for
Core Terms                                                            random, unannounced inspections to verify substantive
                                                                      compliance with the Animal Welfare Act, 7 U.S.C.S. § 2131 et
license, renewal, animal, regulations, license renewal, exhibitor,
                                                                      seq. When violations are discovered, either through inspections or
licensee, inspections, district court, requirements, issuance,
                                                                      third-party complaints, the USDA can charge an exhibitor of
suspend, annual, enforcement proceeding, violating, termination,
                                                                      animals and seek to suspend or revoke its license after requisite
agency's, exhibited, legislative history, agency's action, judicial
                                                                      due process. USDA must provide notice to the exhibitor by filing
review, deference, notice, revoking a license, anniversary,           a complaint before an administrative law judge (ALJ) who
facilities, spoken, promulgated, random, subject matter
                                                                      conducts a hearing in accordance with detailed rules of
jurisdiction
                                                                      administrative practice. The ALJ's decision is then subject to
                                                                      judicial review exclusively in the United States Court of Appeals.
Case Summary
                                                                       Business & Corporate Compliance > ... > Governments > Agriculture &
Overview                                                               Food > Animal Welfare Act

HOLDINGS: [1]-The statutory requirement than an exhibitor of          HN2 The Animal Welfare Act (AWA), 7 U.S.C.S. § 2131 et seq.,
an orca comply with the standards of the Animal Welfare Act           prohibits exhibitors from exhibiting any animals unless they have
(AWA), 7 U.S.C.S. § 2131 et seq., for issuance of a license to        obtained a license from the Secretary of Agriculture and such
exhibit animals did not unambiguously require a showing of            license shall not have been suspended or revoked. 7 U.S.C.S. §
compliance upon annual renewals of the license, since issuance of     2134. No such license shall be




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                                                           Jessica Blome                                                Ex 14-0780
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                                                     2015 U.S. App. LEXIS 10036, *1
issued until the exhibitor shall have demonstrated that his facilitiesfor renewal is obligated to make her animals, premises, facilities,
comply with the standards promulgated by the Secretary. 7             vehicles, equipment, other premises, and records available for
U.S.C.S. § 2133. In addition to this statutory command, the AWA       inspection to ascertain the applicant's compliance with the
vests the U.S. Department of Agriculture (USDA) with the              standards and regulations. 9 C.F.R. § 2.3(a). USDA's
authority to promulgate such rules, regulations, and orders as he     administrative renewal scheme facilitates these inspections by
may deem necessary in order effectuate the purposes of the            requiring a licensee to promptly notify USDA by certified mail of
statute. 7 U.S.C.S. § 2151. Pursuant to this section, USDA has        any change in the name, address, management, or substantial
adopted comprehensive renewal regulations that combine purely         control or ownership of his business or operation, or of any
administrative requirements, random inspections, and                  additional sites, within 10 days of any change. 9 C.F.R. § 2.8. In
discretionary enforcement proceedings.                                addition to random inspections, any interested person may submit
                                                                      information to USDA regarding alleged violations by a licensee. 7
  Business & Corporate Compliance > ... > Governments > Agriculture & C.F.R. § 1.133(a)(1). In response, USDA can choose to
  Food > Animal Welfare Act                                           investigate the submission if, in the opinion of the agency, such an
                                                                      investigation is justified by the facts. 7 C.F.R. § 1.133(a)(3).
HN3 The Animal Welfare Act, 7 U.S.C.S. § 2131 et seq., defines
an "exhibitor" as any person exhibiting any animals, which were Business & Corporate Compliance > ... > Governments > Agriculture &
purchased in commerce or the intended distribution of which Food > Animal Welfare Act
affects commerce, or will affect commerce, to the public for
compensation. 7 U.S.C.S. § 2132(h).                                   HN6 Under the supplemental rules of procedure of the Animal
                                                                      Welfare Act (AWA), 7 U.S.C.S. § 2131 et seq., the U.S.
  Business & Corporate Compliance > ... > Governments > Agriculture & Department of Agriculture (USDA) may suspend a license
  Food > Animal Welfare Act                                           temporarily for 21 days upon written notification before an
                                                                      opportunity for notice and hearing if USDA has reason to believe
HN4 On or before the expiration date of his or her one-year
                                                                      a licensee has violated or is violating the AWA. 9 C.F.R. § 4.10.
license, an exhibitor of animals must submit a completed If, on the basis of inspections or the receipt of third-party
application form to the appropriate U.S. Department of
                                                                      information, USDA chooses to suspend a license for more than 21
Agriculture (USDA) regional office fulfilling three, purely
                                                                      days, impose a civil penalty, or terminate a license, USDA must
administrative criteria. 9 C.F.R. § 2.1(d). First, the exhibitor
                                                                      afford notice and a hearing in an enforcement proceeding. 9
certifies by signing the application form that, to the best of her
                                                                      C.F.R. § 2.12. An interested person who submits a third-party
knowledge or belief, she is compliant and will continue to comply
                                                                      complaint to the agency shall not be a party to any proceeding
with all Animal Welfare Act, 7 U.S.C.S. § 2131 et seq., animal which may be instituted as a result thereof. 7 C.F.R. § 1.133(a)(4).
wildlife standards. 9 C.F.R. § 2.2(b). Second, the exhibitor pays
an annual fee calculated according to USDA's fee schedule that Business & Corporate Compliance > ... > Governments > Agriculture &
varies according to the number of animals owned, held, or Food > Animal Welfare Act
exhibited. 9 C.F.R. § 2.6. Third, the exhibitor submits an annual
report detailing the number of animals owned, held, or exhibited. HN7 The U.S. Department of Agriculture (USDA) initiates
9 C.F.R. § 2.7(d). So long as an exhibitor meets these three enforcement proceeding for a violation of animal welfare
criteria, even if her facility fails to comply with animal wildlife standards by filing a complaint with the USDA Hearing Clerk, 7
standards on the license expiration date, USDA must grant her a C.F.R. § 1.133(b)(1), who assigns the case to an administrative
renewal. § 2.2(b). Otherwise, the license automatically terminates law judge (ALJ) that conducts the proceeding according to formal
due to expiration. 9 C.F.R. § 2.5(b).                                 rules of evidence and procedure, 7 C.F.R. § 1.133-51. Unless a
                                                                      licensee subject to an ALJ's adverse decision appeals to a Judicial
  Business & Corporate Compliance > ... > Governments > Agriculture & Officer appointed by the Secretary of Agriculture, that decision
  Food > Animal Welfare Act                                           becomes a final order. 7 C.F.R. § 1.145(i). Finally, the licensee
                                                                      may appeal an order that is final for the purposes of judicial
HN5 Unlike the purely administrative procedure for renewing a
                                                                      review to the United States Court of Appeals of the circuit in
license, the mechanism of the U.S. Department of Agriculture
                                                                      which she resides or has her principal office, or in the United
(USDA) for suspending or terminating licenses due to animal States Court of Appeals for the District of Columbia Circuit. 7
welfare violations depends on random inspections and
                                                                      U.S.C.S. § 2149(c); 28 U.S.C.S. § 2343.
enforcement proceedings. Each applicant




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 Civil Procedure > ... > Jurisdiction > Subject Matter Jurisdiction >    Administrative Law > Judicial Review > Standards of Review >
 General Overview                                                        Deference to Agency Statutory Interpretation

 Civil Procedure > Appeals > Standards of Review > De Novo Review
                                                                   HN12 A court affords deference to certain agency interpretations
HN8 An appellate court reviews questions of subject matter because if Congress has explicitly left a gap for the agency to fill,
                                                                   there is an express delegation of authority to the agency to
jurisdiction de novo.
                                                                   elucidate a specific provision of the statute by regulation. Unlike
  Civil Procedure > Appeals > Summary Judgment Review > Standards courts, who are not experts in the field, and are not part of either
  of Review                                                        political branch of the Government, agencies possess invaluable
                                                                   technical expertise and, by virtue of their accountability to the
  Civil Procedure > Appeals > Standards of Review > De Novo Review
                                                                   President, are a proper forum to make policy choices based on
  Civil Procedure > Judgments > Summary Judgment > Evidentiary unresolved competing interests.
 Considerations
                                                                         Administrative Law > Judicial Review > Standards of Review >
 Civil Procedure > ... > Summary Judgment > Entitlement as Matter of
                                                                         Deference to Agency Statutory Interpretation
 Law > General Overview
                                                                         Governments > Legislation > Interpretation
HN9 An appellate court reviews a summary judgment ruling de
novo, applying the same legal standards used by the district court.     HN13 When reviewing an agency's construction of a statute it
In conducting this examination, the appellate court views the           administers, a court first decides whether Congress has directly
materials presented and all factual inferences in the light most        spoken to the question at issue. If the intent of Congress is clear,
favorable to the nonmoving party. Summary judgment is                   that is the end of the matter; for the court, as well as the agency,
appropriate where there is no genuine issue as to any material fact     must give effect to the unambiguously expressed intent of
and the movant is entitled to judgment as a matter of law. Fed. R.      Congress. To decide if the intent of Congress is clear, the court
Civ. P. 56(a).                                                          employs traditional tools of statutory construction. These include
                                                                        examination of the text of the statute, its structure, and its stated
  Administrative Law > Judicial Review > Reviewability > Jurisdiction & purpose. As with any question of statutory interpretation, the court
  Venue                                                                 begins by examining the text of the statute to determine whether
  Administrative Law > Judicial Review > Reviewability > Preclusion     its meaning is clear. This is because the court presumes that
                                                                        Congress said what it meant and meant what it said.
HN10 5 U.S.C.S. § 702 provides that any person suffering legal
wrong because of agency action, or adversely affected or Business & Corporate Compliance > ... > Governments > Agriculture &
aggrieved by agency action within the meaning of a relevant Food > Animal Welfare Act
statute, is entitled to judicial review thereof. This provision is
                                                                        HN14 See 7 U.S.C.S. § 2133.
inapplicable, however, to the extent agency action is committed to
agency discretion by law. 5 U.S.C.S. § 701(a)(2). Whether an
                                                                          Governments > Legislation > Interpretation
agency action is reviewable under § 701(a)(2) is a matter of
subject matter jurisdiction.                                            HN15 In the absence of a statutory definition, a court looks to the
                                                                        common usage of words for their meaning.
 Administrative Law > Judicial Review > Reviewability > Preclusion
                                                                         Governments > Legislation > Interpretation
HN11 5 U.S.C.S. § 701(a)(2) precludes Administrative Procedure
Act review whenever the statute under which the agency acts is          HN16 Whether a statutory term is unambiguous does not turn
drawn so that a court would have no meaningful standard against         solely on dictionary definitions of its component words. Rather,
which to judge the agency's exercise of discretion—that is, where       the plainness or ambiguity of statutory language is determined by
a court would have no law to apply. Due to the general                  reference to the language itself, the specific context in which that
unsuitability for judicial review of agency decisions to refuse         language is used, and the broader context of the statute as a whole.
enforcement, a presumption arises that such decisions are               In expounding a statute, a court must not be guided by a single
committed to agency discretion by law and thus unreviewable.            sentence or member of a sentence, but look to the provisions of
                                                                        the whole law, and to its object and policy.




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                                                                       for an initial license, and, in the case of a license renewal, the
 Business & Corporate Compliance > ... > Governments > Agriculture & annual license fee has been received by the appropriate Animal
 Food > Animal Welfare Act                                           Care regional office on or before the expiration date of the license.

HN17 See 7 U.S.C.S. § 2149.                                             Business & Corporate Compliance > ... > Governments > Agriculture &
                                                                        Food > Animal Welfare Act
 Governments > Legislation > Interpretation
                                                           HN24 According to 9 C.F.R. § 2.3(a), each applicant shall
HN18 Where Congress knows how to say something but chooses demonstrate his or her compliance with the standards under the
not to, its silence is controlling.                        Animal Welfare Act, 7 U.S.C.S. § 2131 et seq., and each applicant
                                                           for an initial license or license renewal shall make itself available
 Governments > Legislation > Interpretation
                                                           for inspection.
HN19 When the words of Congress are clear, a court need not
                                                                        Administrative Law > Judicial Review > Standards of Review > Rule
resort to legislative history, and the court certainly should not do
                                                                        Interpretation
so to undermine the plain meaning of the statutory language.
                                                                       HN25 Under well-established administrative law, courts defer to
 Administrative Law > Judicial Review > Standards of Review > an agency's consistent interpretation of its own regulation, which
 Deference to Agency Statutory Interpretation
                                                                     becomes of controlling weight unless it is plainly erroneous or
HN20 The question for a court is whether an agency's answer is inconsistent with the regulation. Such deference is due
                                                                     particularly when the agency has made a written interpretation of
based on a permissible construction of the statute. Where
                                                                     the regulation or has maintained a long-standing policy on the
Congress has expressly delegated authority to the agency to
                                                                     subject.
elucidate the meaning of the statute through regulation, those
regulations are given controlling weight unless arbitrary,
                                                                       Business & Corporate Compliance > ... > Governments > Agriculture &
capricious, or manifestly contrary to the statute. If the agency's
                                                                       Food > Animal Welfare Act
construction of the statute is reasonable in light of the policies
committed to its care by the statute, the court may not substitute HN26 The administrative renewal process of the U.S. Department
its own construction of the statutory provision. The court's duty is of Agriculture (USDA) requires a licensee to submit an
to decide whether the agency's construction is a reasonable one in application fulfilling three requirements: (1) a certification that, to
light of the statutory scheme.                                       the best of applicant's knowledge and belief, he or she is in
                                                                       compliance with the animal welfare regulations and standards and
 Administrative Law > Judicial Review > Standards of Review > agrees to continue to comply with the regulations and standards, 9
 Deference to Agency Statutory Interpretation
                                                                      C.F.R. § 2.2(b); (2) payment of an annual fee, 9 C.F.R. § 2.6(c);
                                                                      and (3) submission of an annual report, 9 C.F.R. § 2.7(d).
HN21 An after-the-fact rationalization of agency action—an
explanation developed for the sole purpose of defending in court      Compliance    with Animal Welfare Act, 7 U.S.C.S. § 2131 et seq.,
                                                                      standards is not a condition precedent for renewal. After obtaining
the agency's acts—is not entitled to deference.
                                                                      an initial license, licensees are subject to random inspections, 9
  Civil Procedure > Appeals > Record on Appeal                        C.F.R. § 2.3, and USDA may bring enforcement proceedings to
                                                                      suspend or revoke a license, 9 C.F.R. § 2.5; 7 U.S.C.S. § 2149.
HN22 Fed. R. App. P. 10(e)(2) states that if anything material to
either party is omitted from or misstated in the record by error or Administrative Law > Judicial Review > Standards of Review >
accident, the omission or misstatement may be corrected by the General Overview
court of appeals.
                                                                      HN27 An agency decision is harmless when a mistake of the
                                                                      administrative body is one that clearly had no bearing on the
  Business & Corporate Compliance > ... > Governments > Agriculture &
  Food > Animal Welfare Act                                           procedure used or the substance of the decision reached.

HN23 Under 9 C.F.R. § 2.1(c)(2), a license to exhibit animals will Counsel: For Animal Legal Defense Fund, Plaintiff - Appellant:
be issued when the applicant has paid the application fee of $10 Katherine Anne Meyer, Meyer Glitzenstein &
and the annual license fee indicated in 9 C.F.R. § 2.6 to the
appropriate Animal Care regional office




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Crystal, Washington, DC; Jared Goodman, Esq., Delcianna                      CA; Laura Maria Gonzalez Marques, Holland & Knight, LLP,
Winders, Esq., Foundation to Support Animal Protection,                      Miami, FL.
Washington, DC; Paul Joseph Schwiep, Coffey Burlington, PL,
Miami, FL; Matthew Daniel Strugar, PETA Foundation, Los                      Judges: Before HULL, BLACK and MELLOY,*
Angeles, CA; Courtney Elena Vaudreuil, McKenna Long &
Aldridge, LLP, Los Angeles, CA.                                              Opinion by: BLACK

For Orca Network, People For The Ethical Treatment of Animals,               Opinion
Inc., Howard Garrett, Karen Munro, Plaintiffs - Appellants:
Katherine Anne Meyer, Meyer Glitzenstein & Crystal,                          BLACK, Circuit Judge:
Washington, DC; Paul Joseph Schwiep, Coffey Burlington, PL,
Miami, FL; Matthew Daniel Strugar, PETA Foundation, Los                      The Animal Legal Defense Fund, Orca Network, People for the
Angeles, CA; Courtney Elena Vaudreuil, McKenna Long &                        Ethical Treatment of Animals, Inc., Howard Garrett, and Karen
Aldridge, LLP, Los Angeles, CA.                                              Munro (collectively, ALDF)1 appeal the district court's grant of
                                                                             summary judgment in favor of the United [*3]                 States
For U.S. Department of Agriculture, Secretary, U.S. Department               Department of Agriculture; Tom Vilsack, in his official capacity
of Agriculture, Defendants - Appellees: Amit Agarwal, Anthony                as Secretary of the United States Department of Agriculture; and
Erickson-Pogorzelski, Wifredo A. Ferrer, Kathleen Mary Salyer,               Elizabeth Goldentyer, in her official capacity as Eastern Regional
U.S. Attorney's Office, Miami, FL; Charles Michael O'Connor,                 Director of the United States Department of Agriculture Animal
U.S. Department of Justice, Antitrust Division, [*2] San                     and Plant Health Inspection Service (collectively, USDA). ALDF
Francisco, CA.                                                               argues the district court erred in ruling USDA's decision to renew
                                                                             Marine Exhibition Corporation d/b/a Miami Seaquarium's
For ELIZABETH GOLDENTYER, in her official capacity as                        (Seaquarium) license did not violate the Animal Welfare Act
Eastern Regional Director of the United States of Agriculture                (AWA), 7 U.S.C. §§ 2131-59. According to ALDF, USDA may
Animal and Plant Health Inspection Service, Defendant -                      not renew a license when USDA knows an exhibitor is
Appellee: Anthony Erickson-Pogorzelski, Wifredo A. Ferrer,                   noncompliant with any animal welfare standards on the
Kathleen Mary Salyer, U.S. Attorney's Office, Miami, FL;                     anniversary of the day USDA originally issued the license.2
Charles Michael O'Connor, U.S. Department of Justice, Antitrust
Division, San Francisco, CA.                                    Congress has prescribed what an exhibitor must do to obtain
                                                                issuance of a license in the first instance, but Congress has not
For Marine Exhibition Corporation, d.b.a.: Miami Seaquarium, spoken precisely to the question of license renewal under the
Defendant - Appellee: William P. Horn, James H. Lister, Birch AWA. USDA in turn has adopted comprehensive renewal
Horton Bittner & Cherot, PC, Washington, DC; Amit Agarwal, regulations. USDA's renewal scheme requires Seaquarium to
U.S. Attorney's Office, Miami, FL; Jose Angel Casal, Holland & submit a form summarily certifying its regulatory compliance, a
Knight, LLP, Miami, FL; Thomas A. Cohen, Law Offices of fee, and an annual report setting forth the number of exhibited
Thomas A. Cohen, Mill Valley,                                   animals. No annual inspection occurs. Given the thousands [*5]
                                                                of exhibitors across the

* The Honorable Michael J. Melloy, United States Circuit Judge for the Eighth Circuit, sitting by designation.

1 Pursuant to Federal Rule of Appellate Procedure 42(b), Appellants moved to dismiss the appeal as to Shelby Proie and Patricia Sykes, on the basis
that Proie's current employment prohibits her from being involved in the litigation and Sykes is now deceased. This Court granted the motion to
dismiss the appeal without prejudice as to Proie and dismissed the appeal of Sykes as moot. Proie and Sykes are therefore no longer parties to this
appeal.
2 There is some confusion arising from USDA's characterization of ALDF's argument. USDA [*4] believes ALDF has argued the license renewal

scheme is unlawful "because the regulations do not require a demonstration of compliance with the AWA prior to renewal." (USDA Response Brief
at 2.) In its reply brief, though, ALDF clarifies that it "make[s] no such argument," and does not seek annual inspections of exhibitor facilities. (ALDF
Reply Brief at 1.) Rather, ALDF "challenge[s] the USDA's specific decision to renew the license of Seaquarium despite evidence that the facility is in
violation of several Welfare Act standards." (Id.) (emphasis removed). For the purposes of this appeal, we assume, without deciding, that USDA
renewed the license despite knowing there was evidence Seaquarium was violating several AWA standards.




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country and its limited resources, USDA conducts license renewal ultraviolet radiation as she floats along the water's surface. As
through a purely administrative procedure.                           sunscreen, Seaquarium applies a black-colored zinc oxide on
                                                                     Lolita's skin. The effect of this sunscreen on Lolita's physiology is
HN1 USDA has adopted a different mechanism to achieve unknown. ALDF alleges Seaquarium's failure to provide Lolita
substantive compliance with animal welfare standards. The with adequate sun cover violates 9 C.F.R. § 3.103(b)'s
USDA regulations provide for random, unannounced inspections requirement to afford adequate protection from the weather or
to verify substantive compliance with the AWA. When violations direct sunlight to marine animals kept outdoors.
are discovered, either through inspections or third-party
complaints, the USDA can charge Seaquarium and seek to Lolita's tank is oblong-shaped with a 5 feet 2 inches wide,
suspend or revoke its license after requisite due process. USDA crescent-shaped concrete platform that extends from the bottom
must provide notice to Seaquarium by filing a complaint before of the tank through the surface of the water. Lolita's trainers stand
an administrative law judge (ALJ) who conducts a hearing in on this platform during her performances. Her tank measures 80
accordance with detailed rules of administrative practice. The feet by 60 feet. The concrete platform leaves an unobstructed
ALJ's decision is then subject to judicial review exclusively in the circular pool of 80 feet by 35 feet. ALDF alleges Lolita's tank is
United States Court of Appeals.                                      smaller than the 48 feet minimum horizontal standard permitted
                                                                     by agency regulation. See id. § 3.104(b) (providing cetaceans in
USDA's licensing regulations constitute a reasonable policy captivity must be given a pool of water with a minimum
choice balancing the conflicting congressional aims of due horizontal dimension of at least "two times the average adult
process and animal welfare, and the AWA licensing scheme is length" of the [*8] species).
entitled to deference by this court. We therefore affirm. As
explained below, assuming Seaquarium violated a substantive Orcas are primarily social in the wild and travel in large groups.
AWA standard, the remedy in this case lies not in the Lolita has not interacted with another orca since Hugo, who was
administrative license [*6] renewal scheme, but in USDA's power also captured off the coast of Washington State, died in March
to initiate an enforcement proceeding. USDA has the 1980. Lolita instead shares her tank with Pacific white-sided
discretionary enforcement authority to revoke a license due to dolphins. ALDF alleges these dolphins are not "biologically
noncompliance. Only Congress, not this Court, possesses the related" to her, as prescribed by 9 C.F.R. § 3.109.
power to limit the agency's discretion and demand annual,
substantive compliance with animal welfare standards.                B. Renewal of Seaquarium's License

I. BACKGROUND3                                                              Seaquarium received an AWA license from USDA. Each April
                                                                            since the issuance of the license, USDA has renewed
A. Lolita                                                                   Seaquarium's license before its one-year expiration date. On
                                                                            February 16, 2012, before the expiration of Seaquarium's license
Lolita is a 20-feet long, 7000 pound Orcinus orca4 held in                  in April 2012, ALDF sent a letter to USDA alleging Seaquarium
captivity at Seaquarium. In 1970, Ted Griffin, the first person to          exhibited Lolita in violation of 9 C.F.R. §§ 3.103(b), 3.104(b),
swim with an orca in a public exhibition, captured Lolita in                and 3.109. ALDF stated Lolita's living conditions were inhumane
Whidbey Island's Penn Cove, off the coast of Washington State.              and the renewal of Seaquarium's license would be unlawful. In a
Lolita was approximately three to six years old and a member of             March 28, 2012 letter, Goldentyer responded to ALDF's letter,
the Southern Resident L Pod. Seaquarium purchased Lolita, and               stating USDA intended to renew Seaquarium's exhibitor license
she has lived there since September 24, 1970. Lolita performs               because it found Seaquarium was in "compliance with the
each day in an event called the "Killer Whale and Dolphin Show."            regulations and standards, and none of the other criteria for
                                                                            license denial under Section 2.11 or 2.12 are applicable." USDA
Lolita lives in a tank which is surrounded by stadium seating. The          renewed Seaquarium's license on April 21, 2012.
stadium covering leaves Lolita exposed to

3 We recount the facts in the light most favorable to USDA.

4 The Orcinus orca is colloquially known by the misnomer "killer whale." The creature is not actually a whale; rather, it is the world's largest member
of the dolphin family called Delphinidae. Both whales and dolphins are members of an entirely aquatic group of mammals known as cetaceans. For
the sake [*7] of scientific accuracy, we refer to Lolita as an orca.




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                                                                          administrative renewal scheme facilitates these inspections by
C. License Renewal [*9] Regulations                                       requiring a licensee
                                                                          to "promptly notify [USDA] by certified mail of any change in the
HN2 The AWA prohibits exhibitors5 from exhibiting any animals             name, address, management, or substantial control or ownership
unless they "have obtained a license from the Secretary and such          of his business or operation, or of any additional sites, within 10
license shall not have been suspended or revoked." 7 U.S.C. §             days of any change." Id. § 2.8. In addition to random inspections,
2134. "[N]o such license shall be issued" until the exhibitor "shall      any interested person may submit information to USDA regarding
have demonstrated that his facilities comply with the standards           alleged violations by a licensee. 7 C.F.R. § 1.133(a)(1); see also 9
promulgated by the Secretary." Id. § 2133. In addition to this            C.F.R. § 4.1 (applying USDA's Uniform Rules of Practice for
statutory command, the AWA vests USDA with the authority to               adjudicatory proceedings to section 19 of the AWA (codified at 7
"promulgate such rules, regulations, and orders as he may deem            U.S.C. § 2149)). In response, USDA can choose to investigate the
necessary in order effectuate the purposes" of the statute. 7 U.S.C.      submission if, in the opinion of the agency, such an investigation
§ 2151. Pursuant to this section, USDA has adopted                        is "justified by the facts." 7 C.F.R. § 1.133(a)(3).6
comprehensive renewal regulations that combine purely
administrative requirements, random inspections, and HN6 Under the AWA's supplemental rules of procedure, USDA
discretionary enforcement proceedings.                                may suspend a license temporarily for 21 days upon written
                                                                      notification before an opportunity for notice and hearing if USDA
HN4 On or before the expiration date of his or her one-year has reason to believe a licensee has violated or is violating the
license, an exhibitor must submit a completed application form to AWA. 9 C.F.R. § 4.10. If, on the basis of [*12] inspections or the
the appropriate USDA regional office fulfilling three, purely receipt of third-party information, USDA chooses to suspend a
administrative criteria. See 9 C.F.R. § 2.1(d). First, the exhibitor license for more than 21 days, impose a civil penalty, or terminate
certifies [*10] by signing the application form that, to the best of a license, USDA must afford notice and a hearing in an
her knowledge or belief, she is compliant and will continue to enforcement proceeding. Id. § 2.12 (stating "license may be
comply with all AWA animal wildlife standards. Id. § 2.2(b). terminated during the license renewal process . . . after a hearing
Second, the exhibitor pays an annual fee calculated according to in accordance with the applicable rules of practice"). An
USDA's fee schedule that varies according to the number of interested person who submits a third-party complaint to the
animals owned, held, or exhibited. Id. § 2.6. Third, the exhibitor agency "shall not be a party to any proceeding which may be
submits an annual report detailing the number of animals owned, instituted as a result thereof." 7 C.F.R. § 1.133(a)(4).
held, or exhibited. Id. § 2.7(d). So long as an exhibitor meets these
three criteria, even if her facility fails to comply with animal HN7 USDA initiates the enforcement proceeding by filing a
wildlife standards on the license expiration date, USDA must complaint with the USDA Hearing Clerk, id. § 1.133(b)(1), who
grant her a renewal. See id. § 2.2(b) (stating "[USDA] will issue a assigns the case to an ALJ that conducts the proceeding according
license" after applicant fulfills administrative requirements). to formal rules of evidence and procedure, see id. § 1.133-51.
Otherwise, the license automatically terminates due to expiration. Unless a licensee subject to an ALJ's adverse decision appeals to a
Id. § 2.5(b).                                                         Judicial Officer appointed by the Secretary of Agriculture, that
                                                                      decision becomes a final order. Id. § 1.145(i). Finally, the licensee
HN5 Unlike the purely administrative procedure for renewing a may appeal an order that is final for the purposes of judicial
license, USDA's mechanism for suspending or terminating review to the United States Court of Appeals of the circuit in
licenses due to animal welfare violations depends on random which she resides or has her principal office, or in the District of
inspections and enforcement proceedings. Each applicant for Columbia Circuit. 7 U.S.C. § 2149(c); 28 U.S.C. § 2343.
renewal is obligated to make her "animals, premises, facilities,
vehicles, equipment, other premises, and records available for D. ALDF's Complaint
inspection . . . to ascertain the applicant's [*11] compliance with
the standards and regulations." Id. § 2.3(a). USDA's On August 22, [*13] 2012, ALDF filed a complaint against
                                                                      USDA for declaratory and injunctive relief in the United

5 HN3 The AWA defines an "exhibitor" as "any person . . . exhibiting any animals, which were purchased in commerce or the intended distribution of
which affects commerce, or will affect commerce, to the public for compensation." 7 U.S.C. § 2132(h).
6 It is during this time period, when USDA discovers evidence of AWA violations, that USDA undertakes the cooperative enforcement measures
described infra at Section III(B)(2)(b).




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States District Court for the Northern District of California. The   Congress had not spoken to the precise question of license
complaint alleged Seaquarium houses Lolita in conditions that        renewal under the AWA because the text and legislative history
violate the AWA's standards for granting a license pursuant to 7     were silent as to the requirements and procedure for renewal.
U.S.C. §§ 2133-34. ALDF alleged USDA acted unlawfully by (1)         Accordingly, USDA was free to implement its own administrative
renewing Seaquarium's license in April 2012 and (2) routinely        renewal scheme.
renewing Seaquarium's AWA license each year. Pursuant to 5
U.S.C. § 706(2)(A), (C) of the Administrative Procedure Act         Under Chevron Step Two, the district court concluded USDA's
(APA), ALDF requested the district court to set aside the USDA's    renewal process was a permissible construction of the statute.
April 2012 decision to renew Seaquarium's license, award            USDA had adopted a purely administrative renewal scheme
reasonable attorneys' fees and costs, and grant any further relief  requiring a licensee to submit a certification of regulatory
deemed just and proper. The Northern District of California         compliance, payment of an annual fee, and submission of an
granted Seaquarium's motion to intervene and USDA's 28 U.S.C.       annual report detailing the number of animals owned, held, or
§ 1404(a) motion to transfer the case to the Southern District of   exhibited during the prior year. This administrative scheme was
Florida.                                                            coupled with a random, unannounced inspection program that,
                                                                    according to USDA, secured AWA compliance more efficiently
E. Motion for Summary Judgment                                      than an annual inspection program. Accordingly, the district court
                                                                    held USDA's decision to renew Seaquarium's license despite
USDA moved for summary judgment. USDA argued ALDF alleged noncompliance with animal welfare standards did not
confused the issuance of a license with the annual renewal of a violate 7 U.S.C. § 2133. ALDF filed a timely notice of appeal.
license. While 7 U.S.C. § 2133 requires a demonstration of
compliance with the Secretary's standards before "such license II. STANDARD OF REVIEW
shall be issued," USDA asserted the AWA is silent as to any
requirements for renewal of a license [*14] already issued. Since HN8 "We review questions of subject matter jurisdiction de
the AWA did not explicitly address renewal, USDA promulgated novo." Yunker v. Allianceone Receivables Mgmt., Inc., 701 F.3d
administrative renewal regulations to fill this statutory gap. USDA 369, 372 n.2 (11th Cir. 2012) (italics omitted). HN9 "We review a
argued these regulations are a permissible construction of the summary judgment ruling de novo, [*16] applying the same legal
AWA.                                                                standards used by the district court." See Johnson v. Bd. of
                                                                    Regents of Univ. of Ga., 263 F.3d 1234, 1242 (11th Cir. 2001). In
In response, ALDF asserted the AWA's animal welfare conducting this examination, we view the materials presented and
compliance requirement unambiguously applies to initial licenses all factual inferences in the light most favorable to the nonmoving
and license renewals; therefore, USDA violated § 2133 when it party. See Adickes v. S. H. Kress & Co., 398 U.S. 144, 157, 90 S.
renewed the license despite Seaquarium's alleged failure to Ct. 1598, 1608, 26 L. Ed. 2d 142 (1970). Summary judgment is
comply with applicable AWA standards. Further, USDA's appropriate where "there is no genuine issue as to any material
distinction between an issuance and a renewal was simply a post fact and the movant is entitled to judgment as a matter of law."
hoc litigation strategy not entitled to deference. ALDF also Fed. R. Civ. P. 56(a).
claimed USDA's interpretation was an unreasonable construction
of the statute because it would render the entire licensing scheme III. DISCUSSION
"virtually meaningless." Exhibitors like Seaquarium could keep
receiving licenses even if USDA knows they are blatantly A. Judicial Reviewability
violating AWA standards.
                                                                    Before discussing the merits of the district court's summary
F. District Court Order                                             judgment motion, we address a threshold issue regarding this
                                                                    Court's subject matter jurisdiction over the present controversy.
The district court granted summary judgment to USDA. The See Scarfo v. Ginsberg, 175 F.3d 957, 960 (11th Cir. 1999)
district court did not request or examine the administrative record ("[P]arties cannot waive subject matter jurisdiction, and we may
because the material facts were not in dispute and the only consider subject matter jurisdiction claims at any time during
contested issue was a pure question of law. Applying the two-step litigation.").
framework of Chevron U.S.A., Inc. v. Natural Resources Defense
Council, Inc., 467 U.S. 837, 104 S. Ct. 2778, 81 L. Ed. 2d 694 ALDF brings this suit for judicial review of USDA's agency
(1984), the district [*15] court ruled                              action pursuant to 5 U.S.C. § 702. HN10 Section 702




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provides that any "person suffering legal wrong because of              "meaningful standard[s]" against which to judge USDA's exercise
agency action, or adversely affected or aggrieved by agency             of discretion. See id. at 821, 105 S. Ct. at 1655 We accordingly
action within the meaning of a relevant statute, is entitled to         hold USDA's renewal of Seaquarium's April 2012 license is a
judicial review thereof." Id. This provision is inapplicable,           final agency action subject to judicial review under § 706(2).
however, to the extent "agency action is committed to agency
discretion by law." Id. § 701(a)(2). Whether an agency action is        B. AWA Requirements for License Renewal
reviewable under § 701(a)(2) is a matter [*17] of subject matter
jurisdiction. See Lenis v. United States AG, 525 F.3d 1291, 1293-       To determine whether USDA's decision to renew Seaquarium's
94 (11th Cir. 2008); but see Sierra Club v. Jackson, 648 F.3d 848,      license in April 2012 must be set aside as unlawful under 5 U.S.C.
853-54, 396 U.S. App. D.C. 297 (D.C. Cir. 2011) (holding agency         § 706(2), we evaluate the merits of USDA's interpretation of the
decisions excluded from judicial review by § 701(a)(2) are not          AWA's licensing requirements. In doing so, we apply the two-
justiciable because relief cannot be granted, but courts still retain   step framework formulated [*19] in Chevron, U.S.A., Inc. v.
subject matter jurisdiction over such controversies).                   Natural Resources Defense Council, Inc., 467 U.S. 837, 104 S. Ct.
                                                                        2778, 81 L. Ed. 2d 694 (1984). HN12 Under Chevron, we afford
HN11 The Supreme Court has held § 701(a)(2) precludes APA               deference to certain agency interpretations because "[i]f Congress
review whenever the statute under which the agency acts "is             has explicitly left a gap for the agency to fill, there is an express
drawn so that a court would have no meaningful standard against         delegation of authority to the agency to elucidate a specific
which to judge the agency's exercise of discretion"—that is,            provision of the statute by regulation." Id. at 843-44, 104 S. Ct. at
where a court would have "no law to apply." Heckler v. Chaney,          2782. Unlike courts, who "are not experts in the field, and are not
470 U.S. 821, 830-31, 105 S. Ct. 1649, 1655, 84 L. Ed. 2d 714           part of either political branch of the Government," agencies
(1985) (internal quotation marks omitted). Due to the general           possess invaluable technical expertise and, by virtue of their
unsuitability for judicial review of agency decisions to refuse         accountability to the President, are a proper forum to make policy
enforcement, a presumption arises that such decisions are               choices based on unresolved "competing interests." Id. at 865-66,
committed to agency discretion by law and thus unreviewable. Id.        104 S. Ct. at 2793.
at 832, 105 S. Ct. at 1656 (holding "an agency's decision not to
take enforcement action should be presumed immune from 1. Chevron Step One
judicial review under § 701(a)(2)"); see also Conservancy of Sw.
Fla. v. U.S. Fish & Wildlife Serv., 677 F.3d 1073, 1084 (11th Cir. HN13 When reviewing an agency's construction of a statute it
2012) (same).                                                       administers, we first decide whether Congress has directly spoken
                                                                    to the question at issue. Id. at 842, 104 S. Ct. at 2781. "If the
The presumption of unreviewability does not apply to this case. intent of Congress is clear, that is the end of the matter; for the
ALDF does not seek an injunction requiring USDA to initiate court, as well as the agency, must give effect to the
enforcement proceedings against Seaquarium.7 Instead, ALDF unambiguously expressed intent of Congress." Id. at 842-43, 104
seeks a judicial order setting aside USDA's affirmative decision to S. Ct. at 2781.
renew Seaquarium's license in April 2012. This case is about an
"affirmative [*18] act of approval under a statute," Heckler, 470 To decide if the intent of Congress is clear, we employ traditional
U.S. at 831, 105 S. Ct. at 1655, in particular, USDA's affirmative tools of statutory construction. See id. at 843 n.9, 104 S. Ct. at
decision to renew Seaquarium's license in April 2012. See id. at 2781 n.9. These include "examination of the text of the statute, its
832, 105 S. Ct. at 1656 (stating an agency's refusal to act "does structure, and its stated purpose." Miami—Dade Cnty. v. EPA,
not infringe upon areas that courts often are called upon to 529 F.3d 1049, 1063 (11th Cir. 2008). "As with any question of
protect," as opposed to affirmative agency action that "itself statutory interpretation, we begin by examining [*20] the text of
provides a focus for judicial review, inasmuch as the agency must the statute to determine whether its meaning is clear." Harry v.
have exercised its power in some manner").                          Marchant, 291 F.3d 767, 770 (11th Cir. 2002) (en banc). This is
                                                                    because "we presume that Congress said what it meant and meant
USDA's decision was not committed to agency discretion by law what it said." Id. (quotation omitted).
so as to render it unreviewable. The AWA provides

7 Both parties acknowledge that if ALDF sought an injunction requiring the agency to initiate an enforcement proceeding against Seaquarium, this
Court would lack subject matter jurisdiction.




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                                                                         a license "come out" or "go out," [*22] one could "restore to
a. Statutory language                                                    fullness" a license that has already
                                                                         "come out" or "gone out." In fact, that is precisely the type of
The precise question before us is whether USDA may renew a               licensing regime USDA has established under the AWA. USDA
license even if it knows an exhibitor is not compliant with AWA          makes a license "go out" once an applicant has met the
standards governing "the humane handling, care, treatment, and           requirements for an issuance. After USDA makes the license go
transportation of animals," 7 U.S.C. § 2143(a)(1), on the                out, it remains "valid and effective" unless the licensee fails to
anniversary of the date USDA originally issued the license. For          comply with the administrative renewal process. See 9 C.F.R. §
example, if USDA issues a license on January 1, 2010, and                2.5(a) (stating a "license issued under this part shall be valid and
USDA knows an exhibitor is violating an AWA standard when                effective" unless "revoked or suspended pursuant to section 19 of
the clock strikes 12:01am on January 1, 2011, may USDA still             the Act"). No license is given out during the renewal process;
renew the license? To answer whether Congress has directly               instead, the exhibitor maintains the same license number. Based
spoken to this question, we turn to the plain language of 7 U.S.C.       on our analysis of § 2133 standing alone, we cannot conclude
§ 2133, which provides:                                                  Congress has spoken to the precise question at issue.

    HN14 The Secretary shall issue licenses to dealers and          HN16 Whether a statutory term is unambiguous, however, does
    exhibitors upon application therefor in such form and manner    not turn solely on dictionary definitions of its component words.
    as he may prescribe and upon payment of such fee established    Rather, "[t]he plainness or ambiguity of statutory language is
    pursuant to 2153 of this title: Provided, That no such license  determined by reference to the language itself, the specific context
    shall be issued until the dealer or exhibitor shall have        in which that language is used, and the broader context of the
    demonstrated that his facilities comply with the standards      statute as a whole." Robinson v. Shell Oil Co., 519 U.S. 337, 341,
    promulgated by the Secretary pursuant to [*21] section 2143 of  117 S. Ct. 843, 846, 136 L. Ed. 2d 808 (1997). "In expounding a
    this title . . . .                                              statute, we must not be guided by a single sentence or member of
                                                                    a sentence, [*23] but look to the provisions of the whole law, and
The parties dispute whether the word "issue" unambiguously to its object and policy." United States v. Heirs of Boisdore, 49
encompasses the word "renew."                                       U.S. (8 How.) 113, 122, 12 L. Ed. 1009 (1850). Examination of
                                                                    the whole AWA statute strengthens USDA's argument that
"Issue" is not defined in the AWA. HN15 In the absence of a
                                                                    Congress did not unambiguously require compliance with animal
statutory definition, "we look to the common usage of words for welfare standards on the date of license renewal.
their meaning." Consol. Bank, N.A., Hialeah, Fla. v. U.S. Dep't of
Treasury, Office of Comptroller of Currency, 118 F.3d 1461, In particular, Congress's enactment of the AWA's § 2149
1464 (11th Cir. 1997). "Issue" is defined, in the sense enforcement provision severely undermines the assertion
linguistically relevant to the circumstances here, as "to come out, Congress conditioned license renewal on an exhibitor's
go out," "to proceed or come forth from a usually specified compliance with AWA standards on the anniversary of the date
source," or "to cause to appear or become available by officially USDA originally issued the license. The heading of § 2149 is
putting forth or distributing or granting or proclaiming or "Violations by licensees." See Almendarez-Torres v. United
promulgating." Webster'S New International Dictionary 1201 (3d States, 523 U.S. 224, 234, 118 S. Ct. 1219, 1226, 140 L. Ed. 2d
ed. 1976).8                                                         350 (1998) ("[T]he title of a statute and the heading of a section
                                                                     are tools available for the resolution of a doubt about the meaning
The word "renew" is also not defined in the AWA, nor does it
                                                                     of a statute." (internal quotation marks omitted)). As the heading
even appear anywhere in the statute. "Renew" means "to make
                                                                     suggests, § 2149 spells out the adjudicative process for punishing
new again," "to restore to fullness or sufficiency," or "to grant or
                                                                     a licensee, i.e., one who already holds a license, see Webster'S
obtain an extension of." Id. at 1922.
                                                                     New International Dictionary 1304 (3d ed. 1976) (defining
                                                                     licensee as "a licensed person"). Section 2149(a) says:
Comparing these two definitions, we conclude the plain meaning
of "issue" does not necessarily include "renew." Rather than make
                                                                        HN17 If the Secretary has reason to believe that any person
                                                                        licensed as a dealer, exhibitor, or operator of an

8We have chosen to use a 1976 dictionary because it is more contemporaneous to the 1966 enactment of the AWA than a modern edition. See
Taniguchi v. Kan Pac. Saipan, Ltd., U.S. , 132 S. Ct. 1997, 2003 n.2, 182 L. Ed. 2d 903 (2012) (using "contemporaneous dictionaries" to elucidate
meaning of statutory term).




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  auction sale subject to section 2142 of this title, has violated or   "license issued" may be "renewed for additional 5-year periods");
  is violating any provision of this chapter, or any of the rules       47 U.S.C. § 1421(b)(2) (describing "renewal" of "initial license").
  [*24] or regulations or standards promulgated by the Secretary
  hereunder, he may suspend such person's license temporarily,          HN18 "Where Congress knows how to say something but
  but not to exceed 21 days, and after notice and opportunity for       chooses not to, its silence is controlling." [*26] In re Haas, 48
  hearing, may suspend for such additional period as he may             F.3d 1153, 1156 (11th Cir. 1995), abrogated on other grounds by
  specify, or revoke such license, if such violation is determined      In re Griffith, 206 F.3d 1389 (11th Cir. 2000). Congress could
  to have occurred.                                                     have unequivocally conditioned license renewal upon
                                                                        demonstrated compliance with AWA standards on the
Subsection (c) authorizes judicial review of final USDA                 anniversary of license issuance, but chose instead to limit § 2133's
enforcement orders exclusively in the United States Courts of           language to issuance alone. On this question, "more important
Appeals.                                                                than what Congress said" in § 2133 "is what Congress left
                                                                        unsaid." See Gonzalez v. Reno, 212 F.3d 1338, 1348 (11th Cir.
If § 2133 mandated the revocation of a license whenever USDA            2000). Since the AWA does not mandate a renewal procedure at
thinks the exhibitor has failed to demonstrate compliance on an         all, much less prescribe the "particulars of that procedure," id.,
anniversary date, the due process protections afforded to licensees     Congress has conferred USDA the discretion to implement an
in § 2149 would be mere surplusage. See Babbitt v. Sweet Home           administrative renewal scheme for AWA licenses.
Chapter of Cmtys. for a Great Or., 515 U.S. 687, 698, 115 S. Ct.
2407, 2413, 132 L. Ed. 2d 597 (1995) ("A reluctance to treat            In sum, the plain language of the statute shows Congress has not
statutory terms as surplusage supports the reasonableness of the        directly spoken to whether USDA can renew a license despite
Secretary's interpretation."). To revoke a license, USDA would          knowing that an exhibitor is noncompliant with animal welfare
not need to bring an enforcement proceeding against a licensee;         standards on the anniversary of the day USDA originally issued
the agency could patiently bide its time until the license              the license. The terms "issue" and "renew" have distinct
anniversary rolled around, then immediately revoke the license          meanings; § 2149's due process protections would be meaningless
for failure to demonstrate compliance. The exhibitor would have         if we adopted ALDF's interpretation; and Congress's silence
no right to a hearing, nor would she have a right to appeal the         regarding renewal is controlling.
denial of her renewal application. In light of the protracted time
often necessary [*25] to litigate a final agency decision through an    b. Legislative history
appeal, USDA would have no reason to initiate any enforcement
                                                                        HN19 When, as here, the words of Congress are clear, "we need
proceedings against licensees. Surely Congress did not enact §
                                                                        not resort to legislative history, and we certainly should not do so
2149 to lull licensees into relying on due process protections that
                                                                        to undermine the plain meaning [*27] of the statutory language."
do not actually exist.
                                                                        Harris v. Garner, 216 F.3d 970, 976 (11th Cir. 2000) (en banc).
Moving beyond the AWA itself, a survey of § 2133's relationship         We nonetheless examine the AWA's legislative history because it
to the whole United States Code shows issuing a license is not          is consistent with our conclusion that Congress has not spoken
unambiguously the same as renewing one. See Green v. Bock               directly to the question of license renewal. See id. at 977
Laundry Mach. Co., 490 U.S. 504, 528, 109 S. Ct. 1981, 1994,            (discussing legislative history consistent with plain meaning);
104 L. Ed. 2d 557 (1989) (Scalia, J., concurring) (remarking a          United States v. Fields, 500 F.3d 1327, 1330 (11th Cir.2007)
statute should be understood in a manner "most compatible with          ("[W]e look to the legislative history of the statute to determine
the surrounding body of law into which the provision must be            whether Congress provided any guidance concerning its intent.").
integrated—a compatibility which, by a benign fiction, we               Like the statutory language itself, the most striking feature of the
assume Congress always has in mind"). Whereas Congress did              AWA's legislative history is its almost total silence regarding
not explicitly address renewal in the AWA, Congress has                 renewal.
demonstrated an ability to address renewal when it intends to do
                                                                        As with the current statute, none of the prior versions of the AWA
so. See, e.g., 7 U.S.C. § 85 (stating Secretary "may refuse to
                                                                        mention license renewal. Congress enacted the AWA in 1966. See
renew . . . any license"); 12 U.S.C. § 5105(a) (discussing
                                                                        Laboratory Animal Welfare Act, Pub. L. No. 89-544, 80 Stat. 350
"minimum standards for license renewal"); 16 U.S.C. § 808
                                                                        (1966). Section 3 stated the "Secretary
(setting forth detailed renewal process); 46 U.S.C. § 7106(a)
(stating




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shall issue licenses to dealers upon application therefor in such     standards but declined to do so when enacting the AWA. Under
form and manner as he may prescribe," provided that "no such          these particular circumstances, however, we decline to infer any
license shall be issued until the dealer shall have demonstrated      such conclusion when (1) neither the bill nor a subsequent version
that his facilities comply with the standards promulgated by the      were enacted into law, (2) the bill was proposed in the 87th rather
Secretary pursuant to section 13 of this Act." Id. § 3, 80 Stat. at   than 89th Congress, (3) and Rep. Moulder did not hold office
351. Also like the current version of the AWA, Congress               after the 87th Congress, see MOULDER, Morgan Moore,
authorized USDA to suspend a license through enforcement              Biographic Directory of the U.S. Congress [*30] ,
proceedings safeguarded by notice, hearing, [*28] and appeal. Id.     http://bioguide.congress.gov/scripts/biodisplay.pl?index=M00104
§ 19, 80 Stat. at 352. The word renewal is conspicuously absent,      5 (last visited March 28, 2015). The connection between Rep.
and the topic is omitted from the bill's congressional reports. See   Moulder's bill introduced in subcommittee and the AWA's
generally H.r. Rep. No. 89-1848 (1966) (Conf. Rep.); S. Rep. No.      passage in 1966 is simply too attenuated to divine Congress's
89-1281 (1966).                                                       intent.

Subsequent amendments never discussed license renewal or              The second exception to the legislative silence regarding AWA
fundamentally altered the scheme for revoking licenses. See           license renewal appears in Rep. George E. Brown, Jr. of
Animal Welfare Act of 1970, Pub. L. No. 91-579, 84 Stat. 1560;        California's remarks inserted into the Congressional Record on
Animal Welfare Act Amendments of 1976, Pub. L. No. 94-279,            June 13, 1995. See 141 Cong. Rec. E1239-40 (1995) (statement
90 Stat. 417; Food Security Act of 1985, Pub. L. No. 99-198, §§       of Rep. George E. Brown, Jr.). According to Rep. Brown, who
1751-59, 99 Stat. 1354, 1645-50; Food, Agriculture,                   was "intimately involved in the 1985 amendments to the Animal
Conservation, and Trade Act of 1990, Pub. L. No. 101-624, §           Welfare Act,"
2503, 104 Stat. 3359, 4066-68; Farm Security and Rural
Investments Acts of 2002, Pub. L. No. 107-171, §§ 10301-05, 116         It was clearly the intent of Congress that facilities should come
Stat. 134, 491-94. In sum, Congress has never squarely addressed        into compliance before being issued the initial registrations, and
the precise question at issue.                                          that license renewals should be withheld where licenses have
                                                                        been suspended or revoked or in instances where facilities are
The parties' and our independent research have revealed only two        not in compliance with the provisions of the act.
exceptions to this legislative silence. The first exception appears
in H.R. 3556, 87th Cong. § 10-11 (as reported by S. Comm. on          Id. ALDF argues Rep. Brown's statement shows Congress
Interstate and Foreign Commerce, Sept. 28-29, 1962), an               unambiguously intended to withhold any license—whether an
unenacted bill sponsored by Rep. Morgan M. Moulder of                 issuance or renewal—from an out-of-compliance applicant.
Missouri in 1962. This unenacted bill would have required
persons conducting animal research to obtain a "letter of             Rep. Brown's statement lacks persuasive force. Though the
qualification," id. § 10, similar to a "license" under the current    Congressman may have assisted in crafting the 1985 amendments
statute. Interestingly, the letter would be "valid for no more than   to the AWA, those amendments made no alterations [*31] to the
one [*29] year," but would "be renewed by the Commissioner if         AWA's licensing provisions. Furthermore, Congress passed the
renewal is requested, subject to the requirements for an original     1985 amendments 19 years after 1966—the year Congress
letter of qualification." Id. § 11. Thus, Rep. Moulder's bill         enacted the AWA language relevant to this appeal. Rep. Brown's
contemplated a renewal procedure as to individual letters of          opinion provides negligible insight into Congress's intent. See
qualification conditioned upon annual compliance. By contrast,        Chrysler Corp. v. Brown, 441 U.S. 281, 311, 99 S. Ct. 1705, 1722,
with regard to the "certificate of compliance" issued to the          60 L. Ed. 2d 208 (1979) ("The remarks of a single legislator . . .
laboratory itself, the bill established no separate compliance        are not controlling in analyzing legislative history.").
requirement for renewal. Id. § 7-9, 12. Section 15 instead
                                                               In addition to legislative silence, USDA's regulatory actions since
established a method for suspending or revoking a certificate of
                                                               the AWA's passage in 1966, combined with Congress's inaction,
compliance through notice via mail and publication in the Federal
                                                               further suggest Congress has not spoken directly to the precise
Register. Id. § 15.
                                                               question under consideration. "Ordinarily, and quite
Considered alone, the bill's text lends credence to USDA's appropriately, courts are slow to attribute significance"
argument that Congress considered whether to condition license
renewal upon annual compliance with animal welfare




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to legislative acquiescence. See Bob Jones Univ. v. United States,    history, we find Congress has not spoken directly to whether the
461 U.S. 574, 600, 103 S. Ct. 2017, 2032, 76 L. Ed. 2d 157            AWA prohibits USDA from renewing a license when USDA
(1983). Here, however, one can draw an inference of ambiguity,        knows an exhibitor has failed to comply with the standards
however minimal, from Congress's inaction.                            governing the humane handling, care, treatment and
                                                                      transportation of animals on the anniversary date of his or her
USDA has drawn a lengthy and unerring distinction between license. Accordingly, we proceed to Chevron Step Two.
AWA license issuance versus renewal. USDA promulgated its
first regulations interpreting the AWA on February 24, 1967. See 2. Chevron Step Two
Laboratory Animal Welfare, 32 Fed. Reg. 3270 (Feb. 24, 1967).
Section 2.4 was titled "Issuance of licenses," and USDA could not HN20 Under Chevron Step Two, the question for this Court is
"issue[]" a license absent a prior demonstration of compliance. Id. "whether the agency's answer is based on a permissible
at 3271. By contrast, § 2.8 was titled "Renewal and termination." construction of the statute." Chevron, 467 U.S. at 843, 104 S. Ct.
Id. In order to renew a license and avoid automatic termination, a at 2782. Because Congress has expressly delegated authority to
licensee [*32] had to fulfill two purely administrative annual USDA to elucidate the meaning of 7 U.S.C. § 2133 through
requirements: (1) file a form documenting specified dollar regulation, those regulations "are given controlling weight unless
receipts and (2) pay a renewal fee. Id.                               arbitrary, capricious, or manifestly contrary to the statute." Id. at
                                                                      843-44, 104 S. Ct. at 2782. If USDA's construction of the statute
The significance of the contrast between § 2.4 (issuance) and § is reasonable in light of the policies committed to its care by the
2.8 (renewal) is highlighted by § 2.5, titled "Duration of license." AWA, this Court may not substitute its own construction of the
Id. Section 2.5 laid out three, independent methods by which a statutory provision. Id. at 845, 104 S. Ct. at 2783. Our duty is to
license may be terminated. Id. First, under subsection (a), a decide whether USDA's [*34] construction is a reasonable one in
license could be "revoked or suspended" for failure to comply light of the statutory scheme. Id.
with AWA standards after notice, hearing, and appeal. Id. Second,
under subsection (b), a license could be "automatically a. Post hoc rationalization
terminated" pursuant to § 2.8, which governs renewal. Id. Third,
under subsection (c), a license could be "voluntarily terminated" We initially address ALDF's assertion that USDA's license
upon the licensee's request. Id. It has thus been clear since 1967 renewal scheme is not entitled to Chevron deference because
that USDA regulations do not authorize automatic termination for USDA's view is merely a litigation Case: 14-12260 Date Filed:
failure to comply with animal welfare standards. Automatic 06/15/2015 Page: 29 of 40 30position and not a reasoned
termination occurs only if a licensee fails to meet its purely interpretation of the AWA. HN21 "An after-the-fact
administrative obligations.                                           rationalization of agency action—an explanation developed for
                                                                      the sole purpose of defending in court the agency's acts"—is not
Subsequent versions of the regulations have maintained this entitled to deference. Gonzalez, 212 F.3d at 1350; see also
distinction. See, e.g., Animal Welfare, 54 Fed. Reg. 36123-01 Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168,
(Aug. 31, 1989); Animal Welfare, Licensing and Records, 60 Fed. 83 S. Ct. 239, 246, 9 L. Ed. 2d 207 (1962) ("The courts may not
Reg. 13893-01 (Mar. 15, 1995); Animal Welfare, Inspection, accept appellate counsel's post hoc rationalizations for agency
Licensing, and Procurement of Animals, 69 Fed. Reg. 42089-01 action."). ALDF raises two reasons why USDA's interpretation is
(July 14, 2004). Despite this nearly half-century old interpretation, merely a post hoc rationalization. We address each in turn.
the legislative history does not disclose any serious attempt to
overturn [*33] USDA's 1967 rulemaking. Congress's legislative First, ALDF argues Goldentyer's March 28, 2012 letter
acquiescence adds weight to USDA's proposition that 7 U.S.C. § demonstrates USDA, prior to this litigation, considered
2133 is ambiguous as to license renewal.                              demonstrated compliance a statutory prerequisite for AWA
                                                                      license renewal.9 The letter says USDA intended to renew
After applying the traditional canons of statutory interpretation to Seaquarium's exhibitor license because it found Seaquarium was
both the relevant text and legislative                                in "compliance with the regulations and standards, and

9Though ALDF mentioned Goldentyer's letter in its complaint and briefing before the district court, ALDF never submitted the letter itself into this
Court's record. ALDF filed a motion with this Court to supplement the record with the letter from Goldentyer. ALDF asks us to admit the letter
pursuant to Federal Rule of Appellate Procedure 10(e)(2) or, in the alternative, this Court's equitable powers.




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none of the other criteria for license denial under Section 2.11 or says a "license renewal" is "issued," thus contradicting USDA's
2.12 are applicable." Contrary to ALDF's protestations, the [*35] interpretation that "issue" in 7 U.S.C. § 2133 does not apply to
letter does not prove USDA's interpretation of 7 U.S.C. § 2133 is renewal.
a post hoc litigation position.10
                                                                      The other [*38] allegedly inconsistent regulation is § 2.3(a).
As discussed above, USDA first articulated its license renewal HN24 According to § 2.3(a), "[e]ach applicant" shall demonstrate
policy not during this litigation, [*37] but in 1967. See Laboratory his or her compliance with the AWA standards, and "[e]ach
Animal Welfare, 32 Fed. Reg. 3720, 3721, §§ 2.4-2.5 (Feb. 24, applicant for an initial license or license renewal" shall make itself
1967) (setting independent requirements for license issuance available for inspection. ALDF argues this subsection establishes
versus renewal). While Goldentyer's letter "may not harmonize that renewal applicants, just like initial applicants, are required to
perfectly" with earlier USDA interpretations, Gonzalez, 212 F.3d comply with AWA standards before USDA makes any licensing
at 1350, this is not a case where the agency's position is "wholly decision.
unsupported by regulations, rulings, or administrative practice,"
Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 212, 109 S. Ct. ALDF reads too much significance into these two (and the USDA
468, 473-74, 102 L. Ed. 2d 493 (1988). Put another way, one admits) poorly drafted regulatory subsections. HN25 Under well-
paragraph, from one letter, from one regional administrator, does established administrative law, courts defer to an agency's
not outweigh an agency's statutory interpretation embodied in consistent interpretation of its own regulation, "which becomes of
notice-and-comment rulemaking for nearly fifty years.                 controlling weight unless it is plainly erroneous or inconsistent
                                                                      with the regulation." Bowles v. Seminole Rock & Sand Co., 325
Second, ALDF contends USDA's interpretation is inconsistent U.S. 410, 414, 65 S. Ct. 1215, 1217, 89 L. Ed. 1700 (1945). Such
with its own regulations. ALDF trains its attention on two deference is due particularly when the agency "has made a written
regulations: 9 C.F.R. § 2.1(c)(2) and § 2.3(a).                       interpretation of the regulation or has maintained a longstanding
                                                                      policy on the subject." McKee v. Sullivan, 903 F.2d 1436, 1438
HN23 Under § 2.1(c)(2), a license will be issued when the n.3 (11th Cir. 1990). The regulations issued in 1967 establish
"applicant has paid the application fee of $10 and the annual USDA has long adhered to the interpretation that issuance and
license fee indicated in § 2.6 to the appropriate Animal Care renewal are separate processes, and compliance with AWA
regional office for an initial license, and, in the case of a license standards is not a prerequisite to renewal. See Laboratory Animal
renewal, the annual license fee has been received by the Welfare, 32 Fed. Reg. 3720 (Feb. 24, 1967) (differentiating
appropriate Animal Care regional office on or before the between issuance and renewal of licenses). USDA is therefore
expiration date of the license." ALDF argues the regulation           entitled [*39] to significant deference in interpreting the meaning
                                                                      of §§ 2.1(c)(2) and 2.3(a) within the AWA regulatory framework.

We deny the motion to supplement pursuant to Rule 10(e)(2). HN22 The Rule states "[i]f anything material to either party is omitted from or
misstated in the record by error or accident, the omission or misstatement may be corrected" by the court of appeals. Supplementation under Rule
10(e)(2) is not warranted because the parties never presented the letter to the district court, nor did they inadvertently omit the letter from the record.
See Ross v. Kemp, 785 F.2d 1467, 1474 (11th Cir. 1986) ("Because the information in the affidavits was not before the district court in any form, and
because neither of the parties relied on the evidence at an earlier point in the proceedings, Fed. R. App. P. 10(e) is inapplicable . . . .").

We also decline to admit the letter pursuant to our equitable powers because its admission would not establish beyond any doubt the proper [*36]
resolution of the pending issues. See CSX Transp., Inc. v. City of Garden City, 235 F.3d 1325, 1330 (11th Cir. 2000) ("A primary factor which we
consider in deciding a motion to supplement the record is whether acceptance of the proffered material into the record would establish beyond any
doubt the proper resolution of the pending issues."). With regard to the post hoc litigation argument explained infra, this letter alone does not
outweigh the USDA's statutory interpretation embodied in notice-and-comment rulemaking for nearly fifty years. With regard to the administrative
record issue explained infra in footnote 13, the district court did not err in disregarding the administrative record because examining the record would
have been pointless. Supplementing the record with the letter would thus not substantially aid the resolution of the issues on appeal.
10 Although we deny the motion to supplement the record, we still take notice and consider those portions of the letter quoted in ALDF's complaint.
Again, we assume, without deciding, that USDA renewed the license despite knowing there was evidence Seaquarium was violating several AWA
standards. See supra footnote 2.




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                                                                         414, 65 S. Ct. at 1217. USDA's explanations of these provisions'
As USDA explains, § 2.1(c)(2) is a payment timing provision; the         intended meaning and relationship to the whole regulatory
regulation specifies the moment in time at which an applicant            framework are imminently reasonable. [*41] These regulations
satisfies the licensing requirements after submitting his or her fee.    thus do not render USDA's interpretation of 7 U.S.C. § 2133 a
Prior to 2004, § 2.1(c)(2) did not mention renewal and required          mere post hoc litigation position.
the application fee to "clear[] normal banking procedures." See
Animal Welfare, 54 Fed. Reg. 36123-01, 36148 (Aug. 31, 1989).            b. Reasonableness of agency interpretation
Responding to comments from the public, in 2004 USDA
eliminated the requirement for bank clearance and instead                Having found USDA's interpretation of the AWA license renewal
imposed a penalty for bounced checks. Animal Welfare,                    scheme is entitled to deference, we turn to whether that
Inspection, Licensing, and Procurement of Animals, 69 Fed. Reg.          interpretation is reasonable under Chevron Step Two. We
42089-01, 42091 (July 14, 2004). To accomplish this objective,           conclude USDA's interpretation—which does not condition
USDA added a new clause mentioning "license renewal" to                  renewal on compliance with animal welfare standards on the
clarify the bank clearance requirement no longer applied to either       anniversary of the license issuance date—is a reasonable one. The
initial or renewal licenses. See id. Viewed this way, USDA's             USDA's renewal scheme is a sensible policy choice that balances
interpretation of § 2.1(c)(2) is reasonable. This is especially so       the competing demands of due process and animal welfare.
when there is no indication in the rulemaking record USDA
intended, through this minor amendment, to reverse its four-             HN26 USDA's administrative renewal process requires a licensee
decade long policy of distinguishing between license issuance and        to submit an application fulfilling three requirements: (1) a
renewal. Cf. Whitman v. Am. Trucking Ass'ns, 531 U.S. 457, 468,          certification "that, to the best of applicant's knowledge and belief,
121 S. Ct. 903, 909-10, 149 L. Ed. 2d 1 (2001) (a lawmaking              he or she is in compliance with the regulations and standards and
entity "does not alter the fundamental details of a regulatory           agrees to continue to comply with the regulations and standards,"
scheme in vague terms or ancillary provisions—it does [*40] not,         9 C.F.R. § 2.2(b); (2) payment of an annual fee, id. § 2.6(c); and
one might say, hide elephants in mouseholes").                           (3) submission of an annual report, id. § 2.7(d).11 See Rules and
                                                                         Regulations, Department of Agriculture, Animal Welfare;
Additionally, USDA proffers that § 2.3(a) does not condition             Licensing and Records, 60 Fed. Reg. 13893-01, 13894 (Mar. 15,
license renewal on demonstrated compliance with AWA                      1995) (creating three renewal requirements). Compliance with
standards. Rather, § 2.3(a) affirms that initial and renewal             AWA standards is not a condition precedent for renewal.
applicants have an ongoing legal duty to maintain compliance and         Compare 9 C.F.R. § 2.2(b) (stating USDA "will renew" [*42] a
submit to random inspections. Violation of this duty can result in       license after fulfilling administrative requirements), with id. §
enforcement proceedings. We find this to be a plausible                  2.3(b) (stating applicant for "initial license" shall "demonstrate
interpretation of § 2.3(a). Subsection (b), unlike subsection (a),       compliance with regulations and standards . . . before [USDA]
applies only to initial applicants and requires a demonstration of       will issue a license"). After obtaining an initial license, licensees
compliance "before [USDA] will issue a license." USDA's                  are subject to random inspections, id. § 2.3, and USDA may bring
credible interpretation of § 2.3(a) is supported by the rulemaking       enforcement proceedings to suspend or revoke a license, id. § 2.5;
record. During its 1989 notice-and-comment rulemaking, USDA              7 U.S.C. § 2149.
deleted the phrase "before a license will be issued" from a
proposed 1987 rule to illuminate that renewal is not conditioned USDA's construction of the AWA's license renewal process was
on prior demonstrated compliance. See Animal Welfare             "a reasonable policy choice for the agency to make." Chevron,
Regulations, 54 Fed. Reg. 10835-01, 10840 (proposed Mar. 15,     467 U.S. at 845, 104 S. Ct. at 2783. USDA's administrative
1989).                                                           renewal scheme furthers the AWA's competing goals of
                                                                 promoting animal welfare and affording due process to licensees.
While USDA deserves no plaudits for its regulatory Purely administrative renewal keeps USDA's records up-to-date,
draftsmanship, the two regulatory subsections cited by ALDF fail and then allows the agency to protect animal welfare through
to render USDA's license renewal interpretation "plainly random,
erroneous or inconsistent," Bowles, 325 U.S. at

11As an exhibitor, Seaquarium's annual reports must "set forth in his or her license renewal application and annual report the number of animals
owned, held, or exhibited by him or her, including those which are leased, during the previous year or at the time he signs and dates the report,
whichever is greater." 9 C.F.R. § 2.7(d).




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unannounced inspections. Given its limited resources, USDA                   according to USDA's experience administering the AWA,
could not annually inspect the facilities of every zoo, aquarium or          revoking a license for a minor infraction does not always promote
[*43] other exhibitor across the country,12 or initiate license              maximum animal welfare. Animal Welfare, Inspection, Licensing,
termination proceedings for every violation, no matter how minor.            and Procurement of Animals, 69 Fed. Reg. 42089-01, 42094 (July
USDA has exercised its "broad discretion to choose how best to               14, 2004). Due to the threat of USDA enforcement and the
marshal its limited resources and personnel to carry out its                 imposition of sanctions less severe than revocation, exhibitors are
delegated responsibilities." See Massachusetts v. EPA, 549 U.S.              incentivized to rectify violations within a short time window. See
497, 527, 127 S. Ct. 1438, 1459, 167 L. Ed. 2d 248 (2007). At the            id. According to the USDA, this brand of cooperative
same time, the exclusive use of enforcement proceedings to                   enforcement "has been more effective than enforcement actions
suspend or revoke licenses for noncompliance fosters Congress's              for each citation." Id. Since USDA issues numerous citations to
intent to protect licensees from arbitrary agency action, as                 exhibitors for minor violations that do not directly or immediately
codified at 7 U.S.C. § 2149. USDA's interpretation restrains the             impact animal welfare, it is "unrealistic and counterproductive" to
agency from using the renewal process as a means to bypass                   risk the stressful release or transfer or animals by making license
licensees' right to notice, a hearing, and an appeal.                        renewal contingent on demonstrated compliance. See id.

ALDF also claims the renewal process is unreasonable because,                The AWA licensing regulations embody a reasonable
according to the agency's regulations, USDA is obligated to                  accommodation of the conflicting policy interests Congress has
renew a license even if USDA knows the licensee is failing to                delegated to the USDA. The regulations are entitled to Chevron
comply with the AWA standards. USDA's "rubber-stamping"                      deference, and USDA therefore did not act arbitrarily or
licensing scheme thus allegedly sanctions animal abuse in direct             capriciously by renewing Seaquarium's license.13
contravention of congressional intent.
                                                                 IV. CONCLUSION
ALDF overlooks that, after granting a license renewal, USDA
retains the authority under its regulations to suspend or revoke Administration of the AWA standards involves a subject matter
[*44] a license for noncompliance. Indeed,                       that is "technical, complex, and dynamic." Nat'l

12As of 2004, USDA regulated over 2,500 exhibitors possessing AWA licenses. Animal Welfare, Inspection, Licensing, and Procurement of
Animals, 69 Fed. Reg. 42089-01, 42099 (July 14, 2004).
13 ALDF raises one additional issue. ALDF argues the district court erred in failing to require production [*45] of the administrative record to
determine whether USDA's decision to renew the April 2012 license was "arbitrary, capricious, [or] an abuse of discretion." 5 U.S.C. § 706(2)(A).
ALDF contends Goldentyer's letter shows USDA granted the April 2012 license renewal because it found Seaquarium's facilities complied with
AWA standards. Assuming the agency was not required to ensure Seaquarium's compliance with AWA standards before renewing the license,
USDA's finding that Seaquarium was in compliance should, ALDF urges, still be reviewed upon remand to the district court. Under the Chenery
doctrine, "[w]hen an administrative decision is based on inadequate or improper grounds, a reviewing court may not presume that the [agency] would
have made the same decision on other, valid grounds." Am. Pub. Transit Ass'n v. Lewis, 655 F.2d 1272, 1278, 211 U.S. App. D.C. 42 (D.C. Cir.
1981); see SEC v. Chenery Corp. (II), 332 U.S. 194, 196, 67 S. Ct. 1575, 1577, 91 L. Ed. 1995 (1947); SEC v. Chenery Corp. (I), 318 U.S. 80, 88, 63
S. Ct. 454, 459, 87 L. Ed. 626 (1943).

There is no need to remand this case to the district court for additional fact finding because the agency's alleged error was harmless. HN27 An agency
decision is harmless "when a mistake of the administrative body is one that clearly had no bearing on the procedure used or the substance of decision
reached." U.S. Steel Corp. v. EPA, 595 F.2d 207, 215 (5th Cir. 1979) (quotation omitted) (binding authority because in Bonner v. City of Prichard,
661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), this Court adopted as binding precedent all decisions of [*46] the former Fifth Circuit handed down
prior to close of business on September 30, 1981); see 5 U.S.C. § 706 (when reviewing agency action "due account shall be taken of the rule of
prejudicial error").

ALDF has conceded Seaquarium fulfilled the only three licensing renewal criteria required by law: (1) filing a certification of compliance, (2) paying
a fee, (3) and submitting an annual report. Because there is no factual dispute about whether USDA correctly found Seaquarium satisfied all licensing
requirements, the district court had no reason to examine the administrative record. Directing the district court to scrutinize the administrative record
to evaluate whether USDA complied with a fictitious legal requirement would be the height of pointlessness. Salt River Project Agric. Improvement
& Power Dist. v. United States, 762 F.2d 1053, 1060, n.8, 246 U.S. App. D.C. 74 (D.C. Cir. 1985) ("When it is clear that based on the valid findings
the agency would have reached the same ultimate result, we do not improperly invade the administrative province by affirming.").




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Cable & Telecomms. Ass'n v. Gulf Power Co., 534 U.S. 327, 339,  seek lies not in the federal courts, but in the halls of Congress. Our
122 S. Ct. 782, 789, 151 L. Ed. 2d 794 (2002). Tasked by        democratically elected leaders
Congress to perform the difficult job of reconciling the inherently
                                                                alone have the authority to limit USDA's license-renewal
conflicting interests of due process and animal welfare, USDA   discretion in this matter and to demand annual, substantive
has exercised [*47] its expertise to craft a reasonable license compliance with animal welfare standards. While we are sensitive
renewal scheme based on a permissible construction of the AWA.  to the plight of Lolita and other animals exhibited across this
USDA has acted within the bounds of Congress's delegated        country, we cannot say USDA violated the AWA by renewing
authority.                                                      Seaquarium's license through its purely administrative scheme.
                                                                For the foregoing reasons, we must affirm the district court's grant
As long as USDA refuses to initiate a discretionary enforcement of summary judgment to USDA.
proceeding, the remedy ALDF and Lolita's legion of supporters
                                                                AFFIRMED.




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